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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 1 of 313 PageID #: 435




      STATE OF MISSOURI

                                                    ED100807
      vs.


      JEFFREY WEINHAUS




                                     VOLUME 2
             BEFORE THE HONORABLE JUDGE KEITH SUTHERLAND
                      TRANSCRIPT OF TRIAL TESTIMONY
                          TAKEN OCTOBER 9TH, 2013




                     REPORTED BY KIM WROCKLAGE, CCR




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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 2 of 313 PageID #: 436
                                  Weinhaus, Vol. 2                          241




  1            IN THE CIRCUIT COURT OF FRANKLIN COUNTY
  2                           STATE OF MISSOURI
  3
  4   STATE OF MISSOURI,
  5                     PLAINTIFF,               ED100807

  6   vs.                                 No. 12AB-CR02409-01
  7   JEFFREY WEINHAUS,
  8                       DEFENDANT.
  9
10                  Volume 2, Trial Testimony taken at the
11    Franklin County Justice Center, 401 E. Main Street,
12    Union, in the County of Franklin, State of Missouri,
13    on the 9th day of October, 2013, before Kim
14    Wrocklage, CCR.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 3 of 313 PageID #: 437
                                  Weinhaus, Vol. 2                          242




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  2
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24
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 4 of 313 PageID #: 438
                                  Weinhaus, Vol. 2                          243




  1                         INDEX OF EXAMINATION
  2                                 Voir Dire
  3   On Behalf of the State                          Page 29,      Line 25
  4   On Behalf of the Defendant                      Page 77,      Line 20
  5
  6                           Opening Statement
  7   On Behalf of the State                          Page 151, Line 3
  8   On Behalf of the Defendant                      Page 157, Line 17
  9
10                              Sergeant Folsom
11    Direct Examination by Mr. Parks                 Page 166, Line 17
12    Continued Direct by Mr. Parks                   Page 205, Line 16
13    Cross Examination by Mr. Eastwood               Page 249, Line 5
14    (Vol. 2)
15
16                                 Matthew Fox
17    Direct Examination by Mr. Parks                 Page 192, Line 14
18    Cross Examination by Mr. Eastwood               Page 198, Line 3
19    Redirect Examination by Mr. Parks               Page 204, Line 17
20
21                      Corporal Mertens (Volume 2)
22    Direct Examination by Mr. Parks                 Page 374, Line 22
23    Cross Examination by Mr. Eastwood               Page 397, Line 17
24    Redirect Examination by Mr. Parks               Page 445, Line 12
25    Recross Exam by Mr. Eastwood       Page 447, Line 17
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 5 of 313 PageID #: 439
                                  Weinhaus, Vol. 2                          244




  1                   INDEX OF EXAMINATION CONTINUED
  2
  3                         Sergeant Perry Smith
  4   Direct Examination by Mr. Parks                 Page 450, Line 11
  5   Cross Examination by Mr. Eastwood               Page 460, Line 21
  6
  7                          Corporal Jeff White
  8   Direct Examination by Mr. Parks                 Page 482, Line 24
  9   Cross Examination by Mr. Eastwood               Page 493, Line 18
10    Redirect Examination by Mr. Parks               Page 531, Line 5
11    Recross Exam by Mr. Eastwood                    Page 532, Line 14
12
13                         Marty Leach (Volume 3)
14    Direct Examination by Mr. Eastwood Page 563, Line 4
15    Cross Examination by Mr. Parks                  Page 573, Line 20
16    Redirect Exam by Mr. Eastwood                   Page 576, Line 2
17    Recross Examination by Mr. Parks                Page 578, Line 16
18    Further Direct by Mr. Eastwood                  Page 580, Line 11
19
20                              Steve Everhart
21    Direct Examination by Mr. Combs                 Page 581, Line 14
22    Cross Examination by Mr. Parks                  Page 591, Line 2
23    Redirect Examination by Mr. Combs               Page 592, Line 19
24
25
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 6 of 313 PageID #: 440
                                  Weinhaus, Vol. 2                          245




  1                   INDEX OF EXAMINATION CONTINUED
  2
  3                              Heather Clark
  4   Direct Examination by Mr. Eastwood Page 593, Line 22
  5   Cross Examination by Mr. Parks                  Page 601, Line 3
  6
  7                            Closing Argument
  8   By Mr. Parks                Page 614, Line 11
  9   By Mr. Eastwood             Page 622, Line 4
10    By Mr. Parks                Page 637, Line 2
11
12                               Guilt Verdict
13    By Judge Sutherland Page 650, Line 17
14
15                 Opening Statement Punishment Phase
16    By Mr. Parks                Page 664, Line 5
17    By Mr. Eastwood             Page 664, Line 21
18
19                     Testimony by Sergeant Folsom
20    By Mr. Parks                Page 665, Line 6
21
22                  Testimony by Judy Kropf Weinhaus
23    By Mr. Eastwood             Page 671, Line 19
24
25
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 7 of 313 PageID #: 441
                                  Weinhaus, Vol. 2                          246




  1                   INDEX OF EXAMINATION CONTINUED
  2
  3                Closing Argument Punishment Phase
  4   By Mr. Parks                Page 676, Line 17
  5   By Mr. Eastwood             Page 678, Line 6
  6   By Mr. Parks                Page 679, Line 25
  7
  8                           Sentencing Verdict
  9   By Judge Sutherland Page 682, Line 8
10
11
12
13
14
15
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17
18
19
20
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23
24
25
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 8 of 313 PageID #: 442
                                  Weinhaus, Vol. 2                          247




  1                     INDEX OF EXHIBITS ADMITTED
  2   State's Exhibit
  3   1 - You Tube Video w/o Captions, Pg. 170
  4   1A- You Tube Video with Captions, Pg. 170
  5   2 - Search Warrant, Pg. 178
  6   3 - Photo of Gun/Holster, Pg. 181
  7   4 - Photo of Gun, Pg. 181
  8   5 - Photo of Command Center, Pg. 183
  9   6 - Photo Contents of Drawer, Pg. 186
10    7 - Photo Individual Items, Pg. 186
11    8 - Photo of Pills in Case, Pg. 186
12    11- Photo of Marijuana Bag, Pg. 214
13    13- Diagram of Scene, Pg. 211
14    14- Photo of Scene from End of Parking Lot, Pg. 233
15    15- Watch Video, Pg. 233
16    16- Photo Position of Cars, Pg. 233
17    17- Photo Driver's Side of Cars, Pg. 233
18    18- Photo Behind Green Car, Pg. 233
19    19- Photo Passenger's Side of White Car, Pg. 233
20    20- Photo Markers for Shell Casings, Pg. 453, Vol. 2
21    21- Photo Holster, Pg. 453, Vol. 2
22    22- Photo Pistol/Holster, Pg. 453, Vol. 2
23    23- Photo of 22 Clipped to Box, Pg. 453, Vol. 2
24    24- Photo of Barrel of Shotgun, Pg. 453, Vol. 2
25    25- Photo of Shotgun Covered in Back Seat, Pg. 453
                    Wrocklage Reporting, LLC
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                                                                                    Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 9 of 313 PageID #: 443
                                  Weinhaus, Vol. 2                          248




  1              INDEX OF EXHIBITS ADMITTED CONTINUED
  2
  3   State's Exhibit
  4   26- Photo of Shotgun After Recovery, Pg. 453, Vol. 2
  5   27- Pistol and Holster, Pg. 225, Vol. 1
  6   31- Lab Report, Pg. 197, Vol. 1
  7   32- Statement by Marty Leach, Page 575, Vol. 3
  8
  9   Defendant's Exhibit
10    B- Notarized Statement by Mr. Leach, Pg. 577, Vol. 3
11
12
13
14
15
16
17
18
19
20
21
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25
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 10 of 313 PageID #: 444
                                  Weinhaus, Vol. 2                           249




  1               JUDGE SUTHERLAND:           Is Sergeant Folsom ready
  2    to take the stand again.             We concluded your direct
  3    examination yesterday afternoon.               This will begin
  4    cross examination.
  5               CROSS EXAMINATION OF SERGEANT FOLSOM
  6    QUESTIONS BY MR. EASTWOOD:
  7         Q     Thank you, Your Honor.             Good morning,
  8    Sergeant Folsom.
  9         A     Good morning, sir.
 10         Q     What did you do today or yesterday or the
 11    days before this trial to prepare for your testimony
 12    for this trial?
 13         A     I read the reports that were written, as
 14    well as some of my deposition, and reviewed the
 15    videos again.
 16         Q     This was the deposition that I took of you?
 17         A     Yes, sir.
 18         Q     And you've been deposed before, have you?
 19         A     Yes, sir.
 20         Q     So you're familiar with the process and how
 21    it works?
 22         A     Yes, sir.
 23         Q     And that you were under oath when you take a
 24    deposition?
 25         A     Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 11 of 313 PageID #: 445
                                  Weinhaus, Vol. 2                           250




  1         Q     And when I took your deposition, we reviewed
  2    some of the reports in this case.               We reviewed the
  3    report that you made; is that right?
  4         A     I believe so, yes, sir.
  5         Q     And you also reviewed a report that Perry
  6    Smith made, he's a Highway Patrolman who was the
  7    investigator into the shooting of Jeff Weinhaus; is
  8    that correct?
  9         A     Yes, sir.
 10         Q     And you had a chance to review those
 11    reports?
 12         A     Yes, sir.
 13         Q     And you told me at the time that you thought
 14    they were pretty accurate and complete; is that fair
 15    to say?
 16         A     Yes, sir.
 17         Q     And you also told me that you wouldn't
 18    change anything, at least to your mind; is that
 19    correct?
 20         A     Yes, sir.
 21         Q     And you also told me that you didn't think
 22    there were any omissions, glaring omissions from the
 23    reports; is that correct?
 24         A     I don't remember us using the word
 25    omissions, but I said that I wouldn't change
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 12 of 313 PageID #: 446
                                  Weinhaus, Vol. 2                           251




  1    anything, that they seemed to be a fair and accurate
  2    representation of what was said.
  3         Q     Well, let me ask you now then.              To your mind
  4    was anything missing?
  5         A     Not that I recall, no, sir.
  6         Q     Nothing big?
  7         A     No, sir.
  8         Q     Nothing important, okay.            Did you talk with
  9    Mr. Parks before you gave your testimony yesterday?
 10         A     Yesterday, yes, sir.
 11         Q     What did you talk about?
 12         A     We talked about the case and the order of
 13    the witnesses and basically how the trial was going
 14    to go and some things about the courthouse.                   And we
 15    had a meeting before that about my testimony.
 16         Q     Did you talk about the strategy for the
 17    prosecution of Jeff Weinhaus?
 18               MR. PARKS:      Objection, Your Honor, that
 19    calls for conclusion based upon the witness and gets
 20    into the trial strategy of the prosecutor.
 21               JUDGE SUTHERLAND:           Sustained.
 22         Q     (By Mr. Eastwood) Did you talk with
 23    Mr. Parks about what testimony you gave yesterday
 24    before you gave that testimony?
 25         A     We talked about the investigation and what
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 13 of 313 PageID #: 447
                                  Weinhaus, Vol. 2                           252




  1    happened yesterday, yes, sir.
  2         Q     Sergeant Folsom, how long have you been with
  3    the Highway Patrol?
  4         A     I came on in January of 1997, so 16 plus
  5    years.
  6         Q     And before that I think you testified
  7    yesterday you were in the military?
  8         A     Yes, sir.
  9         Q     You were a military police officer?
 10         A     Yes, I had three basic positions while I was
 11    in the military, three different positions.
 12         Q     And I think you also yesterday, correct me
 13    if I'm wrong, you also termed yourself to be a body
 14    guard; is that fair to say?
 15         A     I was assigned to another Department of
 16    Defense agency for a year.               I was also on the
 17    personal security detail for the Secretary of
 18    Defense, as well as the Joint Chairman Chief of
 19    Staff, Colin Powell, during my time in the military.
 20    I served a little over a year on that detail.
 21         Q     What type of training did you have for that
 22    type of work as a body guard for those officials?
 23         A     Mostly close interpersonal security
 24    training, different types of formations, convoys,
 25    movements, advanced driving techniques, often to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 14 of 313 PageID #: 448
                                  Weinhaus, Vol. 2                           253




  1    where we took -- the people that we protected were
  2    in hostile regions, so we had a lot of specific
  3    training on driving as well as hand-to-hand
  4    interpersonal type skills and combat, if you will.
  5         Q     What type of hand to hand stuff?
  6         A     Mostly in our job we did a lot of disarming
  7    techniques.       We also did a lot of practice drills
  8    and moving the protected person or basically
  9    stepping in front of a person with a weapon.
 10         Q     And presumably because sometimes people want
 11    to kill these U.S. Government officials; is that
 12    fair to say?
 13         A     Yes, sir.
 14         Q     What's your current rank with the Highway
 15    Patrol?
 16         A     I'm a sergeant.
 17         Q     How long have you had that position?
 18         A     I believe since 2005.
 19         Q     Is it fair to say you are Corporal Mertens'
 20    supervisor?
 21         A     Yes, sir.
 22         Q     How long have you been his supervisor?
 23         A     I think -- I believe my partner retired
 24    January 1 of 2006, and I became his supervisor then.
 25         Q     So when you say your partner, were you
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 15 of 313 PageID #: 449
                                  Weinhaus, Vol. 2                           254




  1    working with Corporal Mertens before then as well?
  2         A     No, I worked with an individual named
  3    Sergeant Ralph O'Rourke, who was my supervisor.
  4         Q     How long have you been with Corporal
  5    Mertens?
  6         A     I believe, and you'd have to check with him,
  7    but I believe we've been together five or six years
  8    now.
  9         Q     Are you currently on active duty with the
 10    Highway Patrol?
 11         A     I'm currently employed by the Highway
 12    Patrol; however, I'm on extended medical leave at
 13    the moment.
 14         Q     How long have you been on extended medical
 15    leave?
 16         A     Basically since this incident.
 17         Q     Are you working a desk job at all?
 18         A     No, there has been no job provided for me.
 19         Q     Are you allowed to wear a Highway Patrol
 20    uniform when you're on leave?
 21         A     No, sir, I'm not.
 22         Q     Are you allowed to carry a gun?
 23         A     I do not carry a gun.
 24         Q     And that's ever since you shot Jeff
 25    Weinhaus?
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 16 of 313 PageID #: 450
                                  Weinhaus, Vol. 2                           255




  1         A     Yes, sir.
  2         Q     Have you ever been disciplined by the
  3    Highway Patrol?
  4         A     I received a written reprimand from Captain
  5    Replogle at the time, yes, sir.
  6         Q     Do you have any discipline on your law
  7    enforcement license from the State of Missouri?
  8         A     No, sir.
  9         Q     And you're not still carrying a gun?
 10         A     I do not carry a gun, no, sir.
 11         Q     I want to turn now to the case that we're
 12    here for today, which is it fair to say it's almost
 13    three cases, there's a You Tube case, there's the
 14    house visit case and there's the MFA gas station
 15    case?
 16         A     Yes, sir.
 17         Q     Let's start in time, we'll start first with
 18    the You Tube video.          I know the jury saw that video
 19    yesterday, they saw two versions of it.                 They saw
 20    one with captions or what You Tube technically calls
 21    annotations and one without captions.                And what
 22    version did you review of that video?
 23         A     Initially?
 24         Q     Yes, sir.
 25         A     Initially I reviewed the first version with
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 17 of 313 PageID #: 451
                                  Weinhaus, Vol. 2                           256




  1    no captions after I received the call from Judge
  2    Parker.
  3         Q     And when you reviewed that video, did you
  4    ever hear Jeff Weinhaus state Judge Kelly Parker's
  5    name on that video?
  6         A     No, sir, I did not.
  7         Q     No mention of Judge Parker by name?
  8         A     No, sir, not to my knowledge.
  9         Q     Who gave you that pod cast or we would call
 10    it a pod cast, is that fair to say we'll call it a
 11    pod cast?
 12         A     Yes, sir.
 13         Q     Who gave you that pod cast?
 14         A     I found it on You Tube where they told me I
 15    could find it.
 16         Q     You just went online and it was there?
 17         A     Yes, sir.
 18         Q     Do you recall how many views it had?
 19         A     No, sir.
 20         Q     I think the one we saw yesterday had over
 21    7,000 views, do you disagree with that?
 22         A     I do not disagree with it but I do not
 23    recall any number.
 24         Q     And then when did you see the pod cast with
 25    captions?
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 18 of 313 PageID #: 452
                                  Weinhaus, Vol. 2                           257




  1         A     On Saturday, which I believe was the 18th, I
  2    reviewed the pod cast Monday morning with the FBI
  3    and it was probably Monday around 9:30 a.m., which
  4    would be the 20th, and I saw the captions then.
  5         Q     And these dates, could you refer, let the
  6    jury know what month and year we're talking about?
  7         A     August.
  8         Q     Of?
  9         A     2012, sorry.
 10         Q     Just so we're all clear.            And when you saw
 11    the video that had captions, did you make any
 12    investigation into why one video had captions and
 13    one did not?
 14         A     No, I didn't make any investigation into why
 15    one had them or not.          I just made sure we had copies
 16    of both.      I contacted our forensic computer unit and
 17    I had them download from the Internet copies of both
 18    so we could receive them and hold them for evidence.
 19         Q     Did you make any investigation into who put
 20    those captions on the video?
 21         A     No, sir, I did not.            We just saved the
 22    videos as they were.
 23         Q     You don't know who put the captions on the
 24    video, do you?
 25         A     No, sir, I do not.
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 19 of 313 PageID #: 453
                                  Weinhaus, Vol. 2                           258




  1         Q     Did you make any investigation into who had
  2    access or privileges to post to the Bulletinman
  3    account on You Tube?
  4         A     No, sir.
  5         Q     Do you know if anyone else from the Highway
  6    Patrol did?
  7         A     I know that Sergeant J. Pragman documented
  8    the things on the website and accessed the website,
  9    but he'd probably have to answer that.                 I know he
 10    did some investigating into the website itself but I
 11    did not.
 12         Q     That's Sergeant J. Pragman?
 13         A     Yes, sir, he's with the Missouri State
 14    Highway Patrol forensic computer unit.
 15               JUDGE SUTHERLAND:           How do you spell that?
 16               THE WITNESS:       P-R-A-G-M-A-N OR M-E-N, I
 17    believe, sir.
 18         Q     (By Mr. Eastwood) Is he in Jeff City or
 19    Rolla?
 20         A     He's in Jeff City.
 21         Q     That's kind of the headquarters?
 22         A     Yes, sir, and he's mentioned in the reports.
 23         Q     Did you make any investigation into how many
 24    versions of the You Tube video, and I guess when I
 25    say versions, the two versions, the one with the
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 20 of 313 PageID #: 454
                                  Weinhaus, Vol. 2                           259




  1    captions and one without the captions, were posted
  2    online at that time in August of 2012?
  3         A     No, sir, I did not.
  4         Q     Now, based on just your experience and
  5    common sense, do you agree that You Tube is a public
  6    website that basically anyone with an Internet
  7    connection can go to?
  8               MR. PARKS:      Objection, Your Honor, we're
  9    getting into our motion in limine, I believe.
 10               JUDGE SUTHERLAND:           Overruled, he can answer.
 11               THE WITNESS:       I do believe a You Tube site
 12    can be accessed by anyone with an Internet access
 13    anywhere.
 14         Q     (By Mr. Eastwood) From home, the library,
 15    anywhere?
 16         A     Yes, sir, to my knowledge.
 17         Q     It's kind of a public place online?
 18         A     Yes, sir.
 19         Q     Did you make any investigation into whether
 20    either version of the pod cast, the one with the
 21    captions, the one without the captions, was ever
 22    sent by Jeff to Judge Parker in any form?
 23         A     To my knowledge Judge Parker never received
 24    anything from Mr. Weinhaus.
 25         Q     So he never, to your knowledge, Jeff never
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 21 of 313 PageID #: 455
                                  Weinhaus, Vol. 2                           260




  1    mailed a CD-Rom or printed out a transcript or
  2    anything like that and sent it directly to the
  3    Judge?
  4         A     To my knowledge he did nothing of that
  5    nature.
  6         Q     And nothing in the Highway Patrol
  7    investigation would show that to your knowledge?
  8         A     No, there was nothing that showed that.
  9         Q     Did you investigate whether Jeff Weinhaus
 10    had any cases or proceedings in front of Judge Kelly
 11    Parker?
 12         A     As part of my investigation I accessed
 13    Casenet and I looked at past and previous cases
 14    involving Jeff Weinhaus and I did not see any active
 15    cases.
 16         Q     So did you investigate -- so no cases in
 17    front of Judge Parker?
 18         A     To my knowledge there were no cases in front
 19    of Judge Parker.
 20         Q     Did you investigate whether anyone in Jeff's
 21    family or his friends or associates or people in his
 22    life had a case or proceeding in front of Judge
 23    Parker?
 24         A     No, sir, I did not.
 25         Q     Do you know or did you investigate whether
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 22 of 313 PageID #: 456
                                  Weinhaus, Vol. 2                           261




  1    any case in front of Judge Parker, whether Jeff had
  2    a stake in the outcome, and if you want me to
  3    clarify that question, I can.
  4         A     Please do so.
  5         Q     Do you know of any case in front of Judge
  6    Parker in August of 2012 where Jeff might get money
  7    from the case if it went one way or the other?
  8         A     No, I did not know of any such agreement or
  9    motivation or anything of that nature.
 10         Q     Do you know of any case before Judge Parker
 11    where someone that Jeff knew might lose their
 12    liberty, might go to jail?
 13         A     No, I did not know anything about any of the
 14    cases that Judge Parker had before him.
 15         Q     Did you know if Jeff ever posted online a
 16    map of Judge Parker's home or his courthouse?
 17         A     Not to my knowledge.
 18         Q     Do you know if he ever posted even an
 19    address for that online?
 20         A     Not to my knowledge, I didn't see any type
 21    of address or anything.
 22         Q     Now you've watched the video a few times;
 23    right?
 24         A     Yes, sir.
 25         Q     And so I'm not going to play it for the jury
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 23 of 313 PageID #: 457
                                  Weinhaus, Vol. 2                           262




  1    again right now, if we can avoid it, just because I
  2    think we've seen it a couple of times and I want to
  3    move things along here, but as I watched the video,
  4    Jeff Weinhaus never actually states that he would
  5    execute Judge Parker; is that correct?
  6         A     I do not recall that he stated he would
  7    execute anyone.
  8         Q     I think he said a jury of Judge Parker's
  9    peers would try and execute him; is that fair to
 10    say?
 11         A     That would be fair to say.
 12         Q     So not Jeff, a jury of his peers?
 13         A     That is the way I recall it being stated in
 14    the video, yes, sir.
 15         Q     In the course of your investigation --
 16    strike that.
 17           Sergeant Folsom, do you think that context
 18    matters in speech?
 19               MR. PARKS:      Objection, Your Honor, calls for
 20    speculation on the part of the witness.
 21               JUDGE SUTHERLAND:           Sustained.
 22         Q     (By Mr. Eastwood) Well, when you were
 23    investigating Jeff Weinhaus' You Tube video, did you
 24    think it mattered where the statement was made,
 25    whether it was made online or whether it was made
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 24 of 313 PageID #: 458
                                  Weinhaus, Vol. 2                           263




  1    say to Judge Parker's face?
  2         A     I did not think it mattered where the
  3    statement occurred, as Judge Parker felt threatened
  4    by it.
  5               MR. EASTWOOD:        Move to strike the last
  6    portion of that testimony.               I think that's hearsay?
  7               JUDGE SUTHERLAND:           Motion to strike is
  8    denied, go ahead.
  9         Q     (By Mr. Eastwood) Do you know if Jeff ever
 10    did make the statement directly to Judge Parker?
 11         A     I have no knowledge that Jeff ever spoke to
 12    anyone.
 13         Q     Do you know if Jeff ever had knowledge that
 14    Judge Parker heard his You Tube broadcast?
 15         A     I know that I talked to him during the time
 16    that some judicial officials, I did mention Judge
 17    Parker by name, felt threatened, and we talked about
 18    the video when I was at his house.
 19         Q     So you told Jeff that Judge Parker had heard
 20    the video?
 21         A     Yeah, as well as some other people.
 22         Q     To your mind is there a difference between
 23    Jeff sending Judge Parker an email that says I'm
 24    going to execute you versus making a public video
 25    that says if you don't resign in a month, you'll be
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 25 of 313 PageID #: 459
                                  Weinhaus, Vol. 2                           264




  1    put on trial by a jury of your peers and executed in
  2    terms of your evaluation of the threat?
  3         A     Yes, there is a difference in my opinion.
  4         Q     And would you agree that it's a lot more
  5    serious for Jeff to send an email directly to Judge
  6    Parker and say I'm going to execute you?
  7         A     Yes, sir.
  8         Q     A lot more threatening?
  9         A     Yes, sir.
 10         Q     The video doesn't say how or when anyone
 11    would actually execute Judge Parker; right?
 12         A     The only date referred to is the September
 13    17th date in the video.
 14         Q     But it's pretty vague on the details of this
 15    threat, is that fair to say, other than the date?
 16         A     Yes, sir, it is very vague.
 17         Q     And normally in your custom and practice as
 18    a law enforcement officer, when you make an
 19    investigation, you look into things like means,
 20    motive, opportunity; right?
 21         A     Yes, sir.
 22         Q     And did you know of any means or motive or
 23    opportunity that Jeff Weinhaus personally had to
 24    execute Judge Parker?
 25         A     I did not know what his motivation was or
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 26 of 313 PageID #: 460
                                  Weinhaus, Vol. 2                           265




  1    his actual means.         I just saw what I saw on the You
  2    Tube video and was asked to investigate it.
  3         Q     And normally means, motive and opportunity,
  4    those things are really important in a criminal
  5    investigation; right?
  6         A     Yes.
  7         Q     Did you ever hear the joke what do you call
  8    100,000 lawyers at the bottom of the sea, answer, a
  9    good start?
 10         A     Yes, my wife is an attorney, so I've heard a
 11    lot of lawyer jokes.
 12         Q     Do you think that's a threat?
 13         A     No, sir.
 14         Q     Why not?
 15         A     It's a comedy, a joke that everyone has
 16    heard lots of times.
 17         Q     Do you think that some people could think
 18    that Jeff's video was a joke?
 19         A     I think there probably are some people who
 20    would think it was a joke; however, I think the
 21    majority of people who view that people were
 22    offended.
 23         Q     When you say the majority, how many people
 24    did you talk to about this video?
 25         A     Several, more than 20.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 27 of 313 PageID #: 461
                                  Weinhaus, Vol. 2                           266




  1         Q     Let's turn next to the day that you visited
  2    Jeff's home in Piney Park.               Who lives in that house?
  3         A     To my knowledge, sir, Judy Kropf, which was
  4    Jeff's wife, and I believe he had another family
  5    member, a son, that maybe stayed there off and on as
  6    well as Jeff.
  7         Q     So three people?
  8         A     Three people, yes, sir.
  9         Q     I think his son's name is Levi, does that
 10    sound right?
 11         A     It could possibly be.
 12         Q     And when you went to his house that day, his
 13    wife was home; is that correct?
 14         A     Yes, sir, she was.
 15         Q     Was his son there?
 16         A     No, there was no one else home except for
 17    Judy Kropf and Mr. Weinhaus.
 18         Q     And when you searched the house, do you
 19    recall how many bedrooms there were?
 20         A     I do not recall from memory.             There were
 21    multiple rooms that weren't being used as bedrooms
 22    that could be, I guess, classified as a bedroom.
 23         Q     So how many, do you remember anything?
 24         A     I know there's at least one bedroom
 25    downstairs and maybe two upstairs. There were some
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 28 of 313 PageID #: 462
                                  Weinhaus, Vol. 2                           267




  1    rooms that had clutter pretty heavily in them that
  2    possibly could have been bedrooms, but to me they
  3    just looked like storage.
  4         Q     This was in the basement?
  5         A     Upstairs.
  6         Q     And you said there was also a bedroom in the
  7    basement?
  8         A     Yes, sir.      There appeared to be a bedroom in
  9    the basement on the far left side.
 10         Q     Did you look inside that bedroom?
 11         A     Yes, sir.
 12         Q     Was it cluttered too?
 13         A     It contained a small bed and some tennis
 14    shoes and a dresser.          Looked more like a teenager's
 15    room.
 16         Q     Teenage boy's bedroom?
 17         A     Yes, sir.
 18         Q     And that was in the basement?
 19         A     Yes, sir.
 20         Q     Now I want to talk about this basement for a
 21    minute.     When you go out to the house, was the
 22    door -- was there a door to the basement?
 23         A     I don't recall there being a door.               There
 24    was just a set of stairs that went down into the
 25    basement from my knowledge.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 29 of 313 PageID #: 463
                                  Weinhaus, Vol. 2                           268




  1         Q     And was the basement locked or secured in
  2    some way from the rest of the house?
  3         A     No, I do not believe that it was secured in
  4    any manner.
  5         Q     And I know yesterday you were calling the
  6    basement the command center; is that correct?
  7         A     Yesterday I called a portion of the basement
  8    the command center.
  9         Q     And in your custom and experience, it's not
 10    uncommon for people to have different names for
 11    their basement or at least part of their basement;
 12    right?
 13         A     In my experience I guess no, people call
 14    their basement what they want to.
 15         Q     Some guys call it a man cave?
 16         A     Yes, sir.
 17         Q     Bear pit?
 18         A     Yes, sir.
 19         Q     Or they call it a bunker?
 20         A     Right.
 21         Q     People have a lot of funny names for their
 22    basement or part of their basement?
 23         A     Right.
 24         Q     It's not uncommon to have a rec room or den
 25    down there?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 30 of 313 PageID #: 464
                                  Weinhaus, Vol. 2                           269




  1         A     No, sir, it's not.
  2         Q     Place to hang out?
  3         A     Yes.
  4         Q     With friends and family?
  5         A     Yes.
  6         Q     So in your experience basements are really
  7    part of the common area of the house; right?
  8         A     I guess in my opinion it depends on what
  9    kind of basement it is.            Some are finished or
 10    unfinished, but I'd say a finished basement would
 11    definitely be some type of a common area.
 12         Q     In this basement there was a bedroom, maybe
 13    that's not a common area but maybe the rest of the
 14    area is a common area?
 15         A     Yes, sir.
 16         Q     Now, I believe you testified yesterday that
 17    you found computer equipment both upstairs and
 18    downstairs in the house, the main floor and the
 19    basement level; is that correct?
 20         A     Yes, sir, I did.
 21         Q     And did you seize all of that equipment?
 22         A     Yes, sir, I did.
 23         Q     In your experience as a law enforcement
 24    officer and just as a human being, are computers at
 25    home often shared by family members?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 31 of 313 PageID #: 465
                                  Weinhaus, Vol. 2                           270




  1         A     I believe they are, yes, sir.
  2         Q     Multiple people can use one computer; right?
  3         A     Yes, sir.
  4         Q     And you don't know who used the computers
  5    that you -- who else in Jeff's family uses the
  6    computers that you seized; right?
  7         A     No, sir, I do not.
  8         Q     There was no investigation whether his wife
  9    or teenage son also uses this; right?
 10         A     No, there was no investigation into who used
 11    what computer.
 12         Q     It's also pretty common to store things in a
 13    basement in your experience?
 14         A     Yes, sir, very common.
 15         Q     Now I want to turn to some of the drug
 16    paraphernalia that was found.
 17               MR. EASTWOOD:        Bob, are the photos up there
 18    from yesterday?        May I approach, Your Honor?
 19               JUDGE SUTHERLAND:           Sure.
 20         Q     (By Mr. Eastwood) I want to hand you what is
 21    Exhibit 6, I'll show the jury that.                And this is a
 22    picture, as you'll see in a minute, of what I
 23    believe you called drug paraphernalia; is that
 24    correct to say?
 25         A     Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 32 of 313 PageID #: 466
                                  Weinhaus, Vol. 2                            271




  1         Q     And then they have a postage scale there;
  2    right?
  3         A     I'm not sure what kind of scale it is.                 It
  4    just appears to be a scale.
  5         Q     Is it a modern scale or an old fashioned
  6    scale?
  7         A     I would have no idea, sir.            It's just a
  8    scale to me.
  9         Q     It doesn't appear to be an electronic scale,
 10    does it?
 11         A     No, sir, it is not.
 12         Q     In your experience drug dealers use
 13    electronic scales?
 14         A     In my experience they use whatever they
 15    have.
 16         Q     But this could be a scale for measuring
 17    postage?
 18         A     A scale for measuring anything.
 19         Q     Could be a scale for measuring flour; right?
 20         A     Yes, sir.
 21         Q     It's not a digital scale; right?
 22         A     To my knowledge, no.
 23         Q     It's not an electronic scale?
 24         A     To my knowledge, no, it is not.
 25         Q     The technology is old enough here this could
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 33 of 313 PageID #: 467
                                  Weinhaus, Vol. 2                           272




  1    have been Jeff's grandmother's scale; right?
  2         A     Possibly, yes, sir.
  3         Q     And is a postage scale an unusual thing to
  4    have next to a desk in a home office?
  5         A     A postage scale?
  6         Q     Yes.
  7         A     I would say more than likely not.
  8         Q     Not unusual?
  9         A     Not unusual.
 10         Q     You might use it to weigh a piece of mail so
 11    you know how many stamps to put on it?
 12         A     Yes, sir.
 13         Q     I want to turn next to September 11th, 2012,
 14    the day at the gas station.               Before that day, you
 15    knew Jeff was upset by the seizure of your
 16    computers; right?
 17         A     By the seizure of his computers, yes, sir, I
 18    knew he was upset.
 19         Q     When I say his computers, for all we know
 20    they could be his family's computers; right?
 21         A     Yes.
 22         Q     Jeff threatened to sue you; right?
 23         A     Yes, sir.
 24         Q     He emailed you directly and asked who your
 25    lawyer was and said he was going to sue you for
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 34 of 313 PageID #: 468
                                  Weinhaus, Vol. 2                           273




  1    violating his civil rights for free speech?
  2         A     I don't remember the free speech part.                 I
  3    just remember he said he was going to sue me.
  4         Q     Sue you for money?
  5         A     He just said sue.
  6         Q     Well, you didn't think he was going to try
  7    to get you locked up; right?
  8         A     He later called my work and accused me of
  9    stealing items from his home, so I don't know what
 10    his motivation was.
 11         Q     So he did call your work and denounced you
 12    by name to your colleagues; right?
 13         A     Yes, sir.
 14         Q     Denounced you to your boss; right?
 15         A     Yes, sir.
 16         Q     And somehow, without the computer equipment,
 17    he also managed to make a You Tube video and upload
 18    it to the Internet and mentioned you by name?
 19         A     Yes, he mentioned he rented a computer on
 20    those videos.
 21         Q     And in those videos, in some of them he's
 22    actually calling the Highway Patrol and denouncing
 23    you by name; right?
 24         A     Yes, sir.
 25         Q     Talking about you're attacking his free
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 35 of 313 PageID #: 469
                                  Weinhaus, Vol. 2                           274




  1    speech rights?
  2         A     Yes, sir.
  3         Q     By seizing his computers?
  4         A     Yes, sir.
  5         Q     So whose idea then was it for you, of all
  6    people from the Highway Patrol, to serve the arrest
  7    warrant?
  8         A     It was not my idea.            I made it very, very
  9    clear to my chain of command that I wanted to be
 10    removed from the investigation because of the
 11    threats that Jeffrey had made towards me and because
 12    I felt that he was personally agitated with me for
 13    taking his computers; however, the members of my
 14    chain of command had a meeting and they decided that
 15    I would follow their orders and that I would bring
 16    Jeffrey in by the 17th.            It was absolutely not my
 17    idea and I believe it was not an appropriate thing
 18    to do.
 19         Q     So which of your commanding officers told
 20    you that you had to serve that arrest warrant?
 21         A     On September 10th?
 22         Q     Yes, sir.
 23         A     Lieutenant Sean Satterfield was in charge of
 24    our division, and he made the decision with my
 25    supervisor, Lieutenant George Nolls, that I would
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 36 of 313 PageID #: 470
                                  Weinhaus, Vol. 2                           275




  1    either take Weinhaus into custody before the 17th or
  2    that I would make arrangements to put a device on
  3    him or his wife's car.            We even made arrangements to
  4    find out where his wife worked, and we had actually
  5    made some plans to start surveillance on Jeff until
  6    the 17th if I was not able to get him arrested.
  7         Q     Is it legal to put a tracking device on a
  8    car?
  9         A     They were going to obtain a warrant and put
 10    one on there, yes, sir.
 11         Q     What were they going to go after his wife
 12    for, what crime or potential crime?
 13         A     I just believe they wanted to monitor every
 14    vehicle that he had access to in case they went near
 15    the courthouse.
 16         Q     When you say Lieutenant Sean Satterfield was
 17    your superior, wasn't the Satterfield family one of
 18    the people criticized by Jeff on the You Tube video?
 19         A     Yes, sir, he was.
 20         Q     Do you think it's fair to say the
 21    Satterfields had a personal bone to pick with Jeff?
 22               MR. PARKS:      Objection, calls for
 23    speculation.
 24               JUDGE SUTHERLAND:           Yeah, sustained.
 25         Q     (By Mr. Eastwood) But the Satterfields were
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 37 of 313 PageID #: 471
                                  Weinhaus, Vol. 2                           276




  1    in the video?
  2         A     Yes, sir, he was, and his family.
  3         Q     And he's the one that made you go serve the
  4    arrest warrant?
  5         A     Yes, sir, he did.
  6         Q     Someone who threatened you personally?
  7         A     Yes, sir, he did.
  8         Q     You've been with the Highway Patrol
  9    obviously for a while now.               Is it normal procedure
 10    for a trooper who is the subject of personal
 11    criticism and attack by a suspect to be the one to
 12    go serve the arrest warrant?
 13         A     No, it is absolutely not policy to do that.
 14         Q     That would put you in an unusual position;
 15    right?
 16         A     It placed me in a grave situation where I
 17    was the one that was going to have to take him into
 18    custody knowing that he was personally upset with
 19    me, whereas a neutral person probably could have
 20    talked to him better without agitating him, in my
 21    opinion.
 22         Q     Jeff didn't apparently have a bone to pick
 23    with Corporal Mertens; right?
 24         A     No, sir, he did not, to my knowledge.
 25         Q     Why didn't he have Mertens serve the arrest
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 38 of 313 PageID #: 472
                                  Weinhaus, Vol. 2                           277




  1    warrant?
  2         A     I was told that I would take care of this
  3    personally and that I was the one who started this
  4    investigation and that I would be the one to take
  5    care of this.
  6         Q     You were going to take care of this?
  7         A     Yes, sir.
  8         Q     You also had back-up at the scene though;
  9    right?
 10         A     I had back-up from two FBI agents.               I had no
 11    other back-up.
 12         Q     Not Highway Patrol back-up?
 13         A     I had two marked units; however, I was told
 14    specifically prior to that not to involve the
 15    members from the DDCC unit from Troop C.
 16         Q     So you had the FBI as the back-up.               Why
 17    didn't you have the FBI serve the arrest warrant?
 18         A     It was a state warrant that I had applied
 19    for and that I filled out the affidavit, and
 20    therefore I was directed to serve the warrant, so I
 21    served the warrant.
 22         Q     So the FBI could not serve the warrant?
 23         A     I do not know their technical procedures.                  I
 24    do not believe that they're in the habit of serving
 25    state warrants. They would normally serve a federal
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 39 of 313 PageID #: 473
                                  Weinhaus, Vol. 2                           278




  1    warrant.
  2         Q     Why were they providing back-up to a state
  3    warrant service?
  4         A     They had been involved in the Weinhaus
  5    investigation from the beginning, and I'm stationed
  6    in Rolla.      It is not unusual for them to back me up
  7    as mutual aid law enforcement request or for me to
  8    back them up on an investigation.               So you're talking
  9    about a relationship of working with the FBI that
 10    dates back 10, 15 years.
 11         Q     In fact we went through this yesterday, you
 12    don't normally serve warrants in Franklin County;
 13    right?
 14         A     I've never served a warrant in Franklin
 15    County other than this warrant.
 16         Q     This is the first time?
 17         A     Yes, sir.
 18         Q     And in fact these FBI agents, they also are
 19    out of Rolla; right?
 20         A     Yes, sir.
 21         Q     So they're also not, to your knowledge,
 22    providing back-up in Franklin County?
 23         A     I believe that their area does cover
 24    Franklin County.         They're stationed in a substation,
 25    if you will, out of the St. Louis office, and I
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 40 of 313 PageID #: 474
                                  Weinhaus, Vol. 2                           279




  1    believe that they do cover from Rolla, from the
  2    Phelps County line, which is the eastern district of
  3    the FBI, all the way into the inner City of St.
  4    Louis where the regular FBI office covers.
  5         Q     Now Sergeant, are you aware of a statutory
  6    requirement in Missouri that members of the Highway
  7    Patrol notify the sheriff of the county --
  8               MR. PARKS:      Objection.         Your Honor, may we
  9    approach?
 10               JUDGE SUTHERLAND:           Yes.
 11                      (BENCH CONFERENCE BEGINS)
 12               MR. PARKS:      Judge, this has been covered in
 13    the Motion to Suppress and the Court has ruled in
 14    the State's favor.         I feel that this would just be
 15    irrelevant to get into it now because it has no
 16    bearing on the case.
 17               MR. EASTWOOD:        It goes to the witness's
 18    credibility because he testified in his deposition
 19    that he contacted the sheriff's office, and I have a
 20    letter from Sheriff Toelke saying my office was
 21    never contacted.         I think it's a matter fair for
 22    impeachment.
 23               JUDGE SUTHERLAND:           It was brought up
 24    yesterday on direct.          He did testify that he
 25    contacted the sheriff's office, so it's a fair
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 41 of 313 PageID #: 475
                                  Weinhaus, Vol. 2                           280




  1    subject.
  2               MR. EASTWOOD:        He opened the door.
  3               JUDGE SUTHERLAND:           Of cross, yeah.
  4                        (BENCH CONFERENCE ENDS)
  5               JUDGE SUTHERLAND:           Overruled.
  6         Q     (By Mr. Eastwood) Sergeant, are you aware of
  7    a statutory requirement in Missouri that the sheriff
  8    of the county be notified when you serve a search
  9    warrant.
 10         A     Yes, sir, I am.
 11         Q     And when you served the search warrant to --
 12    on Jeff Weinhaus' house, did you notify the sheriff
 13    for Franklin County?
 14         A     I did not notify him prior to me serving the
 15    warrant, and that was my fault.
 16         Q     So you did not follow Missouri Law?
 17         A     I did not notify him prior to serving the
 18    warrant.      I had no cell phone reception when I got
 19    back to Jeffrey's house.             When I received the
 20    warrant, I called members of my chain of command and
 21    let them know a local officer was driving the car,
 22    and when we got back to the house, I had no cell
 23    signal and I didn't have any of the numbers of
 24    anyone in Franklin County because I don't normally
 25    work here.      Once I served the warrant and we got
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 42 of 313 PageID #: 476
                                  Weinhaus, Vol. 2                           281




  1    back to where we had cell signal, it was then that I
  2    contacted Mike Maruschak from the FBI, who he had
  3    been in contact with the Franklin County Sheriff's
  4    Department earlier in the day and let him know.
  5         Q     Didn't you testify yesterday that you did
  6    contact the sheriff?
  7         A     I contacted the sheriff's office immediately
  8    when I received the arrest warrant, not the search
  9    warrant.
 10         Q     Who did you talk to in the sheriff's office?
 11         A     When I received the search or the arrest
 12    warrant, sir?        When I received the search warrant
 13    later, I talked to the sheriff and apologized to him
 14    and Subke for not notifying him in a timely manner,
 15    and then when I received the search warrant, I
 16    talked to a major in their department.
 17         Q     Do you remember the major's name?
 18         A     I don't remember from memory but it's in the
 19    case file.
 20         Q     Did you notify them prior to serving the
 21    arrest warrant?
 22         A     Yes, sir.      When I left this courthouse, I
 23    went right downstairs where I had full signal out
 24    front, Scott Mertens was with me.               I contacted the
 25    sheriff's department, explained who I was and what I
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 43 of 313 PageID #: 477
                                  Weinhaus, Vol. 2                           282




  1    needed assistance with, and they informed me that
  2    they were too busy and had too many calls pending to
  3    assist me, and they felt like I could serve the
  4    warrant myself.
  5         Q     So to your mind you followed Missouri Law
  6    with the arrest warrant but not with the search
  7    warrant?
  8         A     With the search warrant I did fail to notify
  9    the sheriff in a timely manner.               Now he knew we were
 10    here looking for Jeff, but he did not know that I
 11    had applied for the warrant.
 12         Q     He knew that you were looking for Jeff the
 13    day of the search warrant?
 14         A     Yes, the day of the search warrant he knew
 15    that -- the FBI had spoken with him as well as other
 16    folks.     I hadn't spoke with him directly.
 17               MR. EASTWOOD:        Permission to approach, Your
 18    Honor?
 19               JUDGE SUTHERLAND:           Yes.
 20         Q     (By Mr. Eastwood) I have a letter here --
 21               MR. PARKS:      I'm going to object at this
 22    time.     May we approach?
 23               JUDGE SUTHERLAND:           Yes.
 24                      (BENCH CONFERENCE BEGINS)
 25               MR. EASTWOOD: This goes to the witness's
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 44 of 313 PageID #: 478
                                  Weinhaus, Vol. 2                           283




  1    credibility.       It's a letter from the sheriffs saying
  2    we were not aware a search warrant was issued.
  3               MR. PARKS:      It's from the sheriff and the
  4    sheriff isn't here to testify as to the foundation
  5    of the letter.        It's not a letter addressed to him.
  6               MR. EASTWOOD:        It's addressed to the
  7    defendant and it's absolutely fair for impeachment.
  8    Foundation has been laid.
  9               MR. PARKS:      There's no foundation laid for a
 10    letter written by the sheriff.
 11               MR. EASTWOOD:        The sheriff is in the back, I
 12    can have him come up and do a foundation right now.
 13               JUDGE SUTHERLAND:           Objection is sustained.
 14               MR. EASTWOOD:        So I can't impeach him with
 15    this?     May I make an Offer of Proof later?
 16               JUDGE SUTHERLAND:           Yes.
 17               MR. EASTWOOD:        Thank you, Your Honor.
 18                        (BENCH CONFERENCE ENDS)
 19         Q     (By Mr. Eastwood) Whose idea was it to meet
 20    Jeff at the MFA gas station?
 21         A     It was my idea, sir.
 22         Q     And why did you not pick him up at his house
 23    earlier that day when you noticed his car there?
 24         A     I did not want to go back to his house.                 It
 25    was tactically not a good -- you had to come in a
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 45 of 313 PageID #: 479
                                  Weinhaus, Vol. 2                           284




  1    long driveway, it was isolated, there was only one
  2    way in and one way out, and I knew how his front
  3    door situation was with the bushes and no easy way
  4    to move from the door, and Jeff had put a You Tube
  5    video on You Tube stating that he -- after I
  6    searched his home, he put a You Tube video on
  7    stating he should have shot me in the head when I
  8    was there and that if he'd have been 10 years
  9    younger, that's what he would have done.                  So in
 10    addition to him calling my employer and other
 11    things, I just felt like if I contacted him at home,
 12    especially with him saying he was on Def-Con 4 with
 13    his guns loaded, that that would provoke some type
 14    of confrontation and I didn't feel safe going there.
 15         Q     I didn't see this video where he said he'd
 16    put a bullet in your head, but are you aware of any
 17    investigation into Jeff for threatening you?
 18         A     There was none.
 19         Q     No charges ever filed for threatening you?
 20         A     No, sir.
 21         Q     So you say that Jeff said he was going to
 22    put a bullet in your head, but no one in law
 23    enforcement ever decided to do anything about that?
 24         A     Not in the law enforcement agency that I
 25    work for, no, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 46 of 313 PageID #: 480
                                  Weinhaus, Vol. 2                           285




  1         Q     Now you said you didn't want to go to his
  2    house because it was too secluded, were you scared?
  3         A     I was nervous about going back to his house
  4    because I did not know his mental status at that
  5    moment, and I knew that he was severely agitated at
  6    me and I felt like if I went back to his house and
  7    knocked on the door, there was going to instantly be
  8    a confrontation.
  9         Q     Why didn't you have Jeff come to a police
 10    station?
 11         A     Me not being from the area and only knowing
 12    where the courthouse was, I wanted to pick an area
 13    that was secluded where there weren't a lot of
 14    people, and the gas station was like a mile away
 15    from his house and it was a rural gas station and
 16    parking lot, and if anything bad happened, I didn't
 17    think there would be anybody there.
 18         Q     But you spoke to the Franklin County
 19    Sheriff's Office before then; right?
 20         A     Yes, sir.
 21         Q     Why didn't you have him come up to the
 22    Franklin County Sheriff's Department?
 23         A     I did not think he would meet me here.                 I
 24    felt he would be more likely to meet me in a
 25    non-threatening law enforcement place that he was
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 47 of 313 PageID #: 481
                                  Weinhaus, Vol. 2                           286




  1    familiar with closer to his home.
  2         Q     I'm a little confused here because you also
  3    told me when I took your deposition that you didn't
  4    think Jeff was dangerous before you saw his gun?
  5         A     I did not think that Jeff was a dangerous
  6    person, but I did not want to go back to his house
  7    where he said he had his guns loaded.
  8         Q     You told me that when you saw Jeff, that he
  9    was armed at the gas station, that you were shocked
 10    because he was a man of God; right?
 11         A     I was shocked that he was armed and what
 12    happened because he claimed to be a man of God, yes,
 13    sir.
 14         Q     And you told Perry Smith that you were
 15    shocked to see that Jeff was armed when he came to
 16    the gas station because he was, quote, "a
 17    non-confrontational philosophical religious man"?
 18         A     That's what I believed, yes, sir.
 19         Q     Then how could you have been too scared?
 20         A     I was not too scared, I just did not feel it
 21    would be appropriate.           To be honest, I felt like
 22    Mr. Weinhaus has some mental issues, and to go to
 23    his house and instigate something, which is what I
 24    felt would have happened, I felt like I needed to
 25    take the high road and not do that. I still to this
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 48 of 313 PageID #: 482
                                  Weinhaus, Vol. 2                           287




  1    day believe that Mr. Weinhaus has mental issues and
  2    that there were other options available than what
  3    happened.
  4         Q     You have no education in mental health
  5    assessment; right?
  6         A     No, sir.
  7         Q     But you do know Jeff's character pretty
  8    well; right?       You've known him for a long time;
  9    right?
 10         A     I had only met him from this incident, but I
 11    had actually seen some of his videos and postings
 12    from Bulletinman for several years.
 13         Q     So you were familiar with him; right?
 14         A     Yes, sir.
 15         Q     And you know that a lot of people that he
 16    criticized got a kick or laugh out of some of his
 17    commentary; right?
 18               MR. PARKS:      Objection, calls for
 19    speculation.
 20               JUDGE SUTHERLAND:           Sustained.
 21         Q     (By Mr. Eastwood) And you told Perry Smith
 22    at one point that you didn't mind Jeff even though
 23    he told you that you were going to hell; right?
 24         A     Yeah, that's what he told me the first day I
 25    met him when I talked to him and we talked about our
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 49 of 313 PageID #: 483
                                  Weinhaus, Vol. 2                           288




  1    Lord Jesus Christ.         Even though I told him I was
  2    saved, he still told me I was going to hell.
  3         Q     You didn't hold it against him?
  4         A     I didn't hold it against him.
  5         Q     Let's talk about the MFA gas station because
  6    that's the place where you chose to meet Jeff and
  7    arrest him.       You said it was secluded and rural;
  8    right?
  9         A     Yes, sir, it was.
 10         Q     But in fact the day you went there it wasn't
 11    that secluded; right?
 12         A     No, the day that I went there for some
 13    reason it was not secluded.
 14         Q     There were two repairmen working on the
 15    gutter in front of the store; right?
 16         A     Yes, sir.
 17         Q     You had a deliveryman there delivering
 18    sodas?
 19         A     Yes, sir.
 20         Q     And you had a store clerk inside?
 21         A     Yes, sir.
 22         Q     And customers coming back and forth?
 23         A     I believe so, yes, sir.
 24         Q     And then you also had the two FBI agents;
 25    right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 50 of 313 PageID #: 484
                                  Weinhaus, Vol. 2                           289




  1         A     Yes, sir.
  2         Q     And you had propane tanks?
  3         A     Yes, sir.
  4         Q     And gas dispensing equipment?
  5         A     Yes, sir.
  6         Q     So this wasn't exactly an empty parking lot,
  7    was it?
  8         A     The portion where we parked our vehicle was
  9    an empty parking lot away from the store, and when
 10    we set up everyone in position, there was no one
 11    there 15 minutes prior.
 12         Q     No one there but there were guttermen there;
 13    right?
 14         A     They weren't there then.
 15         Q     But the gutter repairmen were certainly
 16    there by the time Jeff got there; right?
 17         A     Yes, sir.
 18         Q     And the soda deliveryman was there by the
 19    time Jeff got there; right?
 20         A     Yes, sir, he pulled in.
 21         Q     So you basically had a lot of innocent
 22    civilians standing between you and Jeff; right?
 23         A     No, sir.
 24         Q     Well, the guttermen weren't innocent
 25    civilians?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 51 of 313 PageID #: 485
                                  Weinhaus, Vol. 2                           290




  1         A     They weren't standing between me and Jeff.
  2    Jeff and me were on the other side of them.
  3         Q     I apologize, let me rephrase.             Jeff was
  4    between you and the guttermen; right?
  5         A     Yes, sir.
  6         Q     Jeff was between you and the deliveryman;
  7    right?
  8         A     Yes, sir, he was.
  9         Q     Jeff was between you and the window of the
 10    store; right?
 11         A     Yes, sir, he was.
 12         Q     And behind that window was the store clerk;
 13    right?
 14         A     I believe so, yes, sir.
 15         Q     And also Jeff was between you and the
 16    propane tanks; right?
 17         A     Yes, sir.
 18         Q     And the gas dispensing tanks?
 19         A     Yes, sir.
 20         Q     Now you never told Jeff he was going to be
 21    arrested before he got there; right?
 22         A     No, sir, I did not.
 23         Q     I think the word you used was a ruse; right?
 24         A     Yes, sir, that is the word that I used.
 25         Q     So you lied to Jeff; right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 52 of 313 PageID #: 486
                                  Weinhaus, Vol. 2                           291




  1         A     Yes, sir, I did.
  2         Q     You didn't tell him any facts that to his
  3    knowledge Jeff was going to be arrested?
  4         A     No, I did not tell him anything that
  5    indicated he was going to be arrested.
  6         Q     How frequently do you use lies in your work
  7    as a trooper?
  8         A     Sometimes quite frequently.             They're used in
  9    interview or interrogation techniques.                 Sometimes
 10    they're used to motivate someone to do something.                     I
 11    felt if I used Jeff computers, that's what he wanted
 12    back the most, that he would appear.
 13         Q     When do you think it's acceptable to lie to
 14    civilians?
 15         A     In the course of my duties, if I have to
 16    tell someone a lie to do my duty, I do so, but I
 17    document that I've lied.             I don't try to pretend
 18    that I haven't lied.          I wrote in the report that I
 19    lied to him on purpose to get him to the parking lot
 20    to meet us.
 21         Q     So if I hear you right, it's okay if you lie
 22    as long as you fess up to it later?
 23         A     I document it to make sure that there's no
 24    discrepancy.
 25         Q     Do you document all your lies?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 53 of 313 PageID #: 487
                                  Weinhaus, Vol. 2                           292




  1         A     If I use some type of an interrogation
  2    technique, it's normally taped.
  3         Q     Now Jeff's house is also on Highway K;
  4    right?
  5         A     Yes, sir, it is.
  6         Q     About three miles to the south of the gas
  7    station?
  8         A     I'm not sure on the measurement.               I wasn't
  9    driving but I thought it was closer to a mile.
 10         Q     And you testified yesterday that you were
 11    concerned about Jeff bringing an army of supporters?
 12         A     That is what he told me, yes, sir.
 13         Q     But you also watched that wrist watch video
 14    yesterday; right?
 15         A     Yes, sir.
 16         Q     Does he mention an army of supporters
 17    anywhere there on the tape?
 18         A     He mentioned -- not during that tape, no.
 19    He mentioned it to me during his phone call that he
 20    was going to have a lot of people show up with him.
 21         Q     And you have no recording of that phone
 22    call; right?
 23         A     No, sir.
 24         Q     In fact you heard that tape yesterday, the
 25    only person I hear Jeff talking about bringing is a
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 54 of 313 PageID #: 488
                                  Weinhaus, Vol. 2                           293




  1    preacher; right?
  2         A     I believe there might have been more than
  3    one but yes.
  4         Q     He said, "I'm trying to find a preacher to
  5    come with me," or words to that effect?
  6         A     Yes, sir.
  7         Q     In your experience as a law enforcement
  8    officer, are preachers usually violent?
  9         A     I haven't met too many that are violent, no.
 10         Q     So you were concerned about an army of
 11    supporters nevertheless?
 12         A     I was concerned because he told me he was
 13    bringing supporters with him.
 14         Q     Then why didn't you put on a bullet proof
 15    vest before he got there?
 16         A     I still did not believe that Jeff was a
 17    violent person.        I believed that he was a blow hard
 18    on the Internet and trying to draw attention to his
 19    cause.     I underestimated him.              I did not think that
 20    he would ever bring a weapon.                 Jeff had a history of
 21    doing these types of things for 16 years, setting
 22    ultimatums and dates, and he always appeared at
 23    every court appearance he had.                 He never, to my
 24    knowledge, had ever been a violent person.
 25         Q     He was a jester then, he wasn't a threat?
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 55 of 313 PageID #: 489
                                  Weinhaus, Vol. 2                           294




  1         A     I don't know if I would classify him as a
  2    jester.
  3         Q     But you just said he had a long history of
  4    making these outrageous statements; right?
  5         A     He has a history of making these types of
  6    ultimatums for people to leave office or he's going
  7    to file paperwork or do what he can to remove them
  8    from office.
  9         Q     And he's never, never used violent means
 10    against any of these people, to your knowledge?
 11         A     To my knowledge he never had.
 12         Q     Some people kind of think Jeff was a bit of
 13    a joke?
 14               MR. PARKS:      Objection, calls for
 15    speculation.
 16               JUDGE SUTHERLAND:           Sustained.
 17         Q     (By Mr. Eastwood) So you were concerned
 18    about an army coming but you didn't put on your
 19    vest.     How come you didn't take any rifles or heavy
 20    firepower out of your vehicle?
 21         A     We had them in the back seat, and when I
 22    spoke to Jeff, he sounded like he was going to come,
 23    and when the gutter people pulled up, honestly I
 24    thought they were with Jeff.                  I didn't suspect that
 25    anyone would get out of an abandoned gas station and
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 56 of 313 PageID #: 490
                                  Weinhaus, Vol. 2                           295




  1    start cleaning the gutters.               I thought that he was
  2    familiar with the store, he went in there, maybe he
  3    knew those people, knew the clerk.               When the soda
  4    man came, I honestly thought he was a soda man, but
  5    I did not think that Jeff was the type of person
  6    that would show up with a weapon and try to resolve
  7    things by force.
  8         Q     The guttermen got there before Jeff did;
  9    right?
 10         A     Yes, sir.
 11         Q     And you thought they might be with him?
 12         A     Yes, sir.
 13         Q     By you still didn't go put on a vest?
 14         A     At that point we would have had to get out
 15    of the car -- Corporal Mertens and I had a
 16    conversation.        I actually said we should probably
 17    put on our vests, and at that point we had a
 18    discussion well, if we get out of the car now to put
 19    on the vests, then if those people are with him,
 20    they're going to call him and tell him and say they
 21    saw us get out of our car and put on bullet proof
 22    vests.     So we thought that would spook him.                My
 23    final resort was going to have some type of SWAT
 24    team encounter Jeff at his home.               So we did not, we
 25    made a poor decision. We believed Jeffrey was not
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 57 of 313 PageID #: 491
                                  Weinhaus, Vol. 2                           296




  1    that much of a threat, so we left the vests in the
  2    back seat.
  3         Q     Did you think the guttermen were a threat?
  4         A     I didn't know who they were.
  5         Q     This conversation you had with Corporal
  6    Mertens, you never mentioned that to me in your
  7    deposition, did you?
  8         A     I believe I did, sir.
  9         Q     Really, the part about the guttermen being
 10    dangerous and whether or not to put on your vest?
 11         A     Yes, I read it in the deposition.               If you
 12    hand it to me, I can show you.                I didn't have a
 13    conversation about the guttermen but there was an
 14    excerpt in there about us making the decision not to
 15    put on our vests.
 16         Q     I know you testified that you weren't going
 17    to put on your vest, but that wasn't my question.
 18    My question was whether because the guttermen got
 19    there before Jeff did and you thought they might be
 20    with Jeff, that you still didn't put on your vest?
 21         A     If you can refer to the deposition, there's
 22    some conversation in there about that.
 23         Q     Really?
 24         A     Yes, sir.
 25         Q     Did the presence of these guttermen elevate
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 58 of 313 PageID #: 492
                                  Weinhaus, Vol. 2                           297




  1    your concern for your safety?
  2         A     Are you reading from the deposition?
  3         Q     No I'm not, I'm asking you?
  4         A     I just felt that they were probably
  5    supporters of Jeff, and I went and briefed the FBI
  6    guys that there may be more people showing up than
  7    Jeffrey, so it just kind of heightened our security.
  8         Q     You were more concerned for your safety;
  9    right?
 10         A     I still did not believe he was a physical
 11    threat.     I believe that we would have a crowd, maybe
 12    protests, maybe people verbally protesting the
 13    arrest of Jeff.
 14         Q     Yesterday you said you made a tactical
 15    mistake in not putting on your vest?
 16         A     Yes, sir.
 17         Q     What other -- did you make other tactical
 18    mistakes that day?
 19         A     Yes, sir, I did.
 20         Q     And what were they?
 21         A     I obviously didn't bring better firearm.                  I
 22    didn't have my vest on.            I had other equipment that
 23    I could have had.         I just underestimated Jeffrey and
 24    I thought he was a peaceful person and I made those
 25    mistakes.      I was complacent.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 59 of 313 PageID #: 493
                                  Weinhaus, Vol. 2                           298




  1         Q     You haven't always thought you made
  2    mistakes, though, have you, that day?
  3         A     That day, I make mistakes every day, sir.
  4         Q     But you did tell Perry Smith when he
  5    interviewed you that you would not have done
  6    anything different that day; right?
  7         A     As far as my use of force once the firearm
  8    was introduced, no.
  9         Q     So that wasn't a mistake to your mind?
 10         A     No.
 11         Q     Now, let's turn to the car that Jeff was
 12    driving.      That's a -- that was a Subaru hatchback
 13    registered to his wife; right?
 14         A     Yes, sir, I believe that is correct.
 15         Q     And those hatchbacks, they have a station
 16    wagon type door in the back; right?
 17         A     I believe they do.
 18         Q     And they're a little higher than a normal
 19    sedan, is that fair to say?
 20         A     Yes, sir, I believe they are.             They are
 21    taller than the car we had.
 22         Q     In the area where you parked in the gas
 23    station, that's on a slight -- I think we have a
 24    diagram back here.         I'm going to bring it out and
 25    show it to you and the jury. Can you see that, sir?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 60 of 313 PageID #: 494
                                  Weinhaus, Vol. 2                           299




  1         A     Yes, sir, I can.
  2         Q     So this area up here, this is where you were
  3    parked; right?
  4         A     Yes, sir.
  5         Q     And was that area on a slight incline?
  6         A     Yes, sir, it was.
  7         Q     And was the surface of the parking lot in
  8    this area gravely?
  9         A     Yes, sir, it was.
 10         Q     It wasn't smooth asphalt or anything like
 11    that?
 12         A     No, it was gravel.
 13         Q     So you testified yesterday that Jeff drove
 14    in here?
 15         A     Yes, sir.
 16         Q     And then he came in, circled around and
 17    parked there; right?
 18         A     Yes, sir.
 19         Q     And you also testified that Jeff kind of
 20    sped up when he pulled in; right?
 21         A     Yes, sir.
 22         Q     But we don't really hear that on the tape,
 23    do we?
 24         A     I don't know if you can or can't hear it.                  I
 25    was outside the car and I heard the engine speed up.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 61 of 313 PageID #: 495
                                  Weinhaus, Vol. 2                           300




  1         Q     Well, we'll review the tape in a minute and
  2    see whether or not you can hear that, but before we
  3    listen to the tape, I want to ask you this.                   Just on
  4    your common experience, if you're going to go up a
  5    hill, an incline and turn around, you might need to
  6    tap your accelerator a little bit?
  7         A     If you were going to go up a hill, yes, but
  8    that was a slight incline in a parking lot.
  9         Q     But presumably a car coming down here, it's
 10    going to slow down a little bit to make a turn;
 11    right?
 12         A     Yes.
 13         Q     So it slows down, it turns in and then it
 14    needs to go up an incline.               So you're probably going
 15    to have to tap the accelerator some to turn around,
 16    go up the incline; right?
 17         A     Where I heard the accelerator tapped was
 18    after he had gone up the incline and had turned his
 19    vehicle coming back towards our vehicle.
 20         Q     When he was around here?
 21         A     He went way around and back there.
 22         Q     And you in fact testified that you thought
 23    he was going to ram you?
 24         A     Yes, I was sitting there with the passenger
 25    door open, and when I heard the engine accelerate
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 62 of 313 PageID #: 496
                                  Weinhaus, Vol. 2                           301




  1    and he turned so quickly in the parking lot, I
  2    thought maybe he was going to run into the back of
  3    the vehicle.
  4         Q     But he didn't ram you?
  5         A     No, sir, he did not.
  6         Q     And the FBI agents didn't jump out of the
  7    car?
  8         A     They did jump out of the car when they saw
  9    him pull into the parking lot.
 10         Q     Oh, really?
 11         A     As far as I know.
 12         Q     Not after you shot him?
 13         A     I believe when they saw him pull in the
 14    parking lot they were already heading towards us.
 15         Q     What kind of car were you and Corporal
 16    Mertens driving?
 17         A     A white Chevrolet Impala.
 18         Q     Now I want to talk to you about where and
 19    how Jeff parked.         This is a fair representation of
 20    how Jeff parked, this is the Subaru?
 21         A     Yes, sir.
 22         Q     Does it make sense that if someone was going
 23    to load computer equipment from the back of that car
 24    to the back of that car, that might be a somewhat
 25    logical place to park?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 63 of 313 PageID #: 497
                                  Weinhaus, Vol. 2                           302




  1               MR. PARKS:      Objection, Your Honor, calls for
  2    speculation on the part of the witness.
  3               JUDGE SUTHERLAND:           Overruled, you may
  4    answer.
  5               THE WITNESS:       I believe that a position
  6    close to that would be -- he pulled a little far
  7    down, that's quite a distance to carry, but if he
  8    would have pulled right up next to us like that,
  9    that would have been a very common position.
 10         Q     (By Mr. Eastwood) When you say quite a
 11    distance, it's only about 10 or 15 feet?
 12         A     About 15 feet, yes.
 13         Q     Now, I want to go over what you spoke with
 14    Jeff about when you got -- when Jeff got out of the
 15    car, because I have some confusion over that.                   You
 16    told Perry Smith when he took your recorded
 17    interview, the statement the day after the shooting,
 18    that you told Jeff, "Jeff, I got your computers
 19    right here"; is that correct?
 20         A     Yes, sir.
 21         Q     And you wrote in your report that you said,
 22    "I got the papers right here"?
 23         A     When I exited the vehicle, and that was
 24    something that there might be a bit of confusion on
 25    on my part.      Before Jeff arrived, my partner and I,
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 64 of 313 PageID #: 498
                                  Weinhaus, Vol. 2                           303




  1    Scott Mertens, we always role play things.                  So we
  2    had developed a conversation about what we were
  3    going to do to delay Jeff until the FBI came over
  4    and we would have our guys there, and I talked about
  5    maybe we'll go to the trunk, open the trunk, I'll
  6    tell him I got the papers right here, and I know
  7    that when I exited I believe I said something to the
  8    effect of I have the papers right here and I held
  9    the folder up, but I don't know if Jeff was close
 10    enough to hear me when I said that.                I had already
 11    started talking once I got out of the car.
 12         Q     It's fair to say you can't hear it on the
 13    video?
 14         A     I did not hear it, no, sir.
 15         Q     And although you wrote it in your report,
 16    I've got the papers right here, you didn't mention
 17    in your report that you were role playing with your
 18    partner before Jeff arrived, did you?
 19         A     No, that's just something common that we do.
 20    Before we go talk to anyone, we kind of talk about
 21    what we're going to talk about and what strategies
 22    we might use and what information we need to obtain.
 23    That's just something common that Corporal Mertens
 24    and I have done for years.
 25         Q     And you didn't mention to Sergeant Bauer
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 65 of 313 PageID #: 499
                                  Weinhaus, Vol. 2                           304




  1    that you were role playing and having this
  2    conversation with Corporal Mertens before Jeff got
  3    there; right?
  4         A     No.
  5         Q     Not during your scene walk through.                And you
  6    didn't mention to Sergeant Perry Smith, the
  7    investigating trooper, that you were role playing;
  8    right?
  9         A     No.
 10         Q     So that appears nowhere in any of the police
 11    reports; right?
 12         A     No, I don't believe it does.
 13         Q     It doesn't appear in your deposition either,
 14    does it?
 15         A     I don't believe it was brought up, no, sir.
 16         Q     So this is the first time we're learning of
 17    the role playing, okay.            Now, Jeff had an open carry
 18    handgun, right; is that fair to say?
 19         A     Yes, sir.
 20         Q     Generally speaking, unless a citizen is a
 21    felon or something, that's legal conduct; right?
 22         A     Yes, sir.
 23         Q     And in fact it was legal for Jeff to do that
 24    day; right?
 25         A     As far as I know he was legally carrying a
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 66 of 313 PageID #: 500
                                  Weinhaus, Vol. 2                           305




  1    firearm that day.
  2         Q     No one else from the Highway Patrol ever
  3    charged him with unlawful possession of a weapon;
  4    right?
  5         A     Not to my knowledge.
  6         Q     And that weapon was in a holster; right?
  7         A     Yes, sir, it was.
  8         Q     This is the holster right here; right?
  9         A     I believe so, yes, sir.
 10         Q     You served in the Army for seven years;
 11    right?
 12         A     Yes, sir, six years, 11 months and 29 days,
 13    just a shade shy of seven years.
 14         Q     And you saw some rough times and events when
 15    you were in the Army?
 16         A     Yes, sir.
 17         Q     Some violent interactions?
 18         A     Yes, sir.
 19         Q     Where you shoot to kill because you're
 20    dealing with the enemy?
 21         A     We shoot to incapacitate, yes, sir.
 22         Q     It's not law enforcement, it's war; right?
 23         A     Yes, sir.
 24         Q     So you recognized this type of holster;
 25    right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 67 of 313 PageID #: 501
                                  Weinhaus, Vol. 2                           306




  1         A     Yes, sir, I own one.
  2         Q     And you recognize it not just because you're
  3    a state trooper but also because you served in the
  4    military and this holster is used in the military;
  5    right?
  6         A     Yes, sir.
  7         Q     And you'd seen this holster, a similar one,
  8    when you searched Jeff's house a few weeks earlier;
  9    right?
 10         A     Yes, sir, I did.
 11         Q     Mr. Parks introduced into evidence a
 12    photograph of that holster in Jeff's bedroom, and
 13    you testified that that holster belonged to Judy
 14    Kropf Weinhaus?
 15         A     I believe the gun.
 16         Q     Oh, the gun?
 17         A     Yes.
 18         Q     You might infer that the holster was hers
 19    too but who knows.         And you told Perry Smith that
 20    these holsters are very hard to open; right?
 21         A     Yes, sir, they are.
 22         Q     And you know these holsters, they are very
 23    hard to open; right?
 24         A     Yes, sir, they are.
 25         Q     It requires force to pull down on it?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 68 of 313 PageID #: 502
                                  Weinhaus, Vol. 2                           307




  1         A     Yes, sir, and they're even harder to open
  2    with a gun in them.
  3         Q     Even harder with a gun in them?
  4         A     Yes, sir.
  5         Q     And you've been investigating Jeff for a
  6    while before you went to arrest him on September
  7    11th; right?
  8         A     Yes, sir.
  9         Q     And you knew that he had no military
 10    training or experience; right?
 11         A     I did not believe he did, no, sir.
 12         Q     There's nothing to suggest he did in
 13    anything that came up in the investigation?
 14         A     No, sir, there was not.
 15         Q     And no police training, right, he's not ex
 16    law enforcement?
 17         A     Not to my knowledge, no.
 18         Q     And in itself -- let me back up.               If the
 19    weapon that Jeff had was in this holster, could the
 20    weapon be taken out of the holster without opening
 21    the holster?
 22         A     I don't know if that particular weapon,
 23    because it was a little small for the holster, could
 24    be taken out, but normally no, that is why the
 25    holster is made that way, it is virtually 100
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 69 of 313 PageID #: 503
                                  Weinhaus, Vol. 2                           308




  1    percent retention of weapon.                  I've never heard of
  2    one coming out.
  3         Q     You never heard of one coming out?
  4         A     No, sir.
  5         Q     So you've got to pull down with a lot of
  6    force, flip up, sweep it over and put your hand down
  7    on the gun?
  8         A     Yes, sir.
  9         Q     In fact at one point you told Perry Smith
 10    that it would be impossible to have your hand on
 11    both the holster and the butt of the gun; right?
 12         A     Yes.    Normally you can't reach that far to
 13    get the ring open.         It's pretty hard to do with two
 14    hands.
 15         Q     You've got to do one before the other?
 16         A     Yes.
 17         Q     Do you consider yourself a pretty quick
 18    shot, pretty good shot?
 19         A     Yes, sir.
 20         Q     And how long would it take you, as a man
 21    with military experience, law enforcement
 22    experience, to open this holster, sweep it open and
 23    then grab a gun and then withdraw it from the
 24    holster?
 25               MR. PARKS: Objection, Your Honor, calls for
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 70 of 313 PageID #: 504
                                  Weinhaus, Vol. 2                           309




  1    speculation on the part of the witness.
  2               JUDGE SUTHERLAND:           Overruled, you can
  3    answer, if you can.
  4               THE WITNESS:       With practice I could probably
  5    do it in under a second.
  6         Q     (By Mr. Eastwood) Under a second?
  7         A     But normally I could probably do it in 1.5
  8    to 2 seconds.        I've trained with that holster.
  9         Q     You've trained with that holster, 1.5, seven
 10    years military, 16 years Highway Patrol?
 11         A     Yes, sir.      I know that because we engage
 12    targets that turn and stay stationary for three
 13    seconds.      During that time you have to draw that
 14    weapon, fire and hit the target before it turns
 15    back.
 16         Q     So you can get it open, you can sweep it
 17    up -- you can pull it down, sweep it open, you can
 18    withdraw the gun and then shoot in about three
 19    seconds?
 20         A     Yes.
 21         Q     With all of your experience?
 22         A     Yes, sir.
 23         Q     Now in itself Jeff having a gun in a
 24    holster, a holster that is difficult to open, was
 25    not a danger to you; right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 71 of 313 PageID #: 505
                                  Weinhaus, Vol. 2                           310




  1         A     I did not think that he would use the gun.
  2    He was open carrying the gun.                 I was alarmed at the
  3    presence of the gun, but I wasn't threatened by the
  4    gun in the holster, specifically my life being in
  5    danger.
  6         Q     In your training you're taught in Missouri
  7    citizens are allowed to open carry guns and you're
  8    going to encounter citizens with open carry guns?
  9         A     Yes, sir.
 10         Q     There's nothing illegal about it?
 11         A     Not to my knowledge.
 12         Q     Nothing inherently dangerous about it?
 13         A     No, sir.
 14         Q     And of course although you do have military
 15    experience, when you were confronted with Jeff, you
 16    were confronted with a law enforcement policing
 17    situation; right, not a military situation?
 18         A     Yes, sir.
 19         Q     Did you ever scream at Jeff, "what are you
 20    doing with that gun"?
 21         A     I believe I did yell something to that
 22    effect very loud.
 23         Q     Scream, yell?
 24         A     Yes, sir.
 25         Q     Now Sergeant Folsom, you received training
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 72 of 313 PageID #: 506
                                  Weinhaus, Vol. 2                           311




  1    from the Highway Patrol on the use of force and
  2    firearms; right?
  3          A    Yes, sir, I have.
  4          Q    And that includes training on what to do
  5    interacting with a member of the public who happens
  6    to have a gun; right?
  7          A    Yes, sir.
  8          Q    And generally speaking does your training
  9    teach you to escalate or deescalate a potential
 10    threat?
 11          A    My training teaches me to assess the
 12    situation and choose an option of force
 13    appropriately.
 14          Q    So your training does not teach you to
 15    deescalate the situation before using force?
 16          A    It depends on the situation.
 17          Q    What type of situations where would you not
 18    try to deescalate the threat before using force?
 19          A    If someone had a firearm and was going to
 20    shoot me, I'm not going to try to deescalate, I'm
 21    going to fire and defend myself and the people with
 22    me.    That's too far to deescalate from.
 23          Q    Now if you are about to issue a warrant, do
 24    they teach you to use certain words or gestures to
 25    get citizens to comply with the arrest warrant?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 73 of 313 PageID #: 507
                                  Weinhaus, Vol. 2                           312




  1         A     They don't teach us specifically to use
  2    words or gestures for arrest warrants.                 We have
  3    specific training on how to talk to people in
  4    general when we deal with the public.
  5         Q     And what type of training is that, is this
  6    training about the reasonableness of force?
  7         A     No, we just have training to remain polite
  8    and courteous, and we have some training they call
  9    verbal judo, which I participated in when I came on.
 10         Q     Can you tell the jury what verbal judo is?
 11         A     Verbal judo is a technique of deescalating a
 12    situation.      A lot of times a person may be agitated,
 13    so they may call you a bad name, so you would say
 14    something to the effect, "well, I appreciate that
 15    but the reason why I stopped you is you didn't stop
 16    at the stop sign."         Instead of being offended or
 17    coming at them for calling you a bad name, you try
 18    to deescalate the situation.
 19         Q     Is part of verbal judo trying to distract
 20    the suspect?
 21         A     I don't believe verbal judo involves
 22    distracting, it just involves trying to deescalate
 23    the situation so there isn't an argument or
 24    something to that effect.
 25         Q     Deescalate the threat and achieve
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 74 of 313 PageID #: 508
                                  Weinhaus, Vol. 2                           313




  1    compliance, is that fair to say?
  2         A     It just is a technique used to prevent an
  3    argument.
  4         Q     Have you been taught about the use of force
  5    continuum?
  6         A     I have received some training about use of
  7    force continuums, but we do not use a continuum in
  8    our organization at this time.
  9         Q     At this time.        When you were taught use of
 10    force continuum, were you taught that by the Highway
 11    Patrol or by another organization?
 12         A     I was taught that in the military as well as
 13    the Highway Patrol.
 14         Q     So it has been part of your training and
 15    experience; right?
 16         A     Yes, it has.
 17         Q     It perhaps affects you when your instincts
 18    kick in in a dangerous situation?
 19         A     I believe it can.
 20         Q     Can you tell the jury what it is?
 21         A     We do not presently use the use of force
 22    continuum, but any use of force continuum involves a
 23    list of options.         Perhaps you encounter someone, you
 24    can use a verbal command, you can use officer
 25    presence by having more officers present. You can
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 75 of 313 PageID #: 509
                                  Weinhaus, Vol. 2                           314




  1    use pepper spray.         You can use unarmed self defense.
  2    You can use an ASP baton, a canine dog if he was
  3    present or you can use deadly force.
  4         Q     I took the deposition of a use in force
  5    instructor for the Highway Patrol, a man named Jeff
  6    White, are you familiar with him?
  7         A     Yes, sir, I am.
  8         Q     And I anticipate we may hear from him in
  9    this trial.       Were you trained by Jeff White?
 10         A     I've been to one or two of his training
 11    classes.      I believe I participated in a program that
 12    he taught called Active Shooter.
 13         Q     What is Active Shooter?
 14         A     Active Shooter is a situation involving --
 15    after the Columbine shooting, it was kind of derived
 16    from that that law enforcement officers instead of
 17    securing perimeter and waiting when there was an
 18    active shooter on site, because it takes a while to
 19    get a SWAT team or tactical unit in place, we
 20    develop small groups and enter into a building when
 21    they could actively hear someone shooting and try to
 22    engage that person to save lives until the SWAT team
 23    could arrive.
 24         Q     That was not the situation you were
 25    confronted with in September?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 76 of 313 PageID #: 510
                                  Weinhaus, Vol. 2                           315




  1         A     No, it was not.
  2         Q     Now going back to the use of force
  3    continuum, which I understand the Highway Patrol
  4    does not use but you say it's nevertheless been part
  5    of your training and experience in the Army, early
  6    on in the Highway Patrol, have you ever heard use of
  7    force described as a series of steps?
  8         A     Yes, I have.
  9         Q     And the idea is the lowest step is a very
 10    low level use of force, it might not even be force
 11    itself, it could just be the mere presence of a
 12    uniformed law enforcement officer?
 13         A     I've seen something similar to that, yes.
 14         Q     Then up a few steps to open hand combat?
 15         A     Yes, sir.
 16         Q     Up a few steps to closed hand combat?
 17         A     Yes, sir.
 18         Q     Could be tackling someone?
 19         A     Yes, sir.
 20         Q     Using a baton?
 21         A     Yes, sir.
 22         Q     And then at the top deadly lethal force?
 23         A     Yes, sir.
 24         Q     Could you stand up for me, sir, just for a
 25    minute.     How tall of a man are you?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 77 of 313 PageID #: 511
                                  Weinhaus, Vol. 2                           316




  1         A     I'm 6'2".
  2         Q     How much do you weigh?
  3         A     Right now I weigh a little more than usual,
  4    265, 270.
  5         Q     You can have a seat, thank you very much.
  6    How much did you weigh on September 11th, 2012?
  7         A     I weighed exactly 222, 225 on September
  8    11th.
  9         Q     You were in pretty good shape then?
 10         A     I had been in a good exercise program and
 11    was exercising, yes, sir.
 12         Q     Mr. Weinhaus, could you stand up for a
 13    minute.     Thank you.       Okay, you can have a seat.
 14    You're a lot taller than Jeff Weinhaus; right?
 15         A     Yes, sir.
 16         Q     You're a lot bigger than Jeff Weinhaus;
 17    right?
 18         A     Yes, sir.
 19         Q     And when you were confronted with Jeff
 20    Weinhaus, did you use verbal judo to deal with the
 21    fact that he had a gun?
 22         A     I didn't.      I did not have the opportunity.
 23         Q     You did not have the opportunity.               So you
 24    did not use verbal commands to achieve compliance?
 25         A     The only thing I did was I announced that he
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 78 of 313 PageID #: 512
                                  Weinhaus, Vol. 2                           317




  1    had a gun at the same time I began to give him
  2    verbal orders to get down on the ground.
  3         Q     And does verbal judo normally teach you, or
  4    any of your training for that matter, teach you to
  5    draw attention to a gun when someone has a gun or
  6    does it teach you to use verbal commands to distract
  7    from a gun?
  8         A     Verbal judo is argumentative people.                It has
  9    nothing to do with a gun.              If someone has a gun, I'm
 10    not going to employ a verbal judo tactic.
 11         Q     But we talked about this in your deposition,
 12    Jeff was a little argumentative when he got out of
 13    that car; right?
 14         A     Yes, sir.
 15         Q     You had an exchange and you said, I'm
 16    paraphrasing here, we'll watch the video in a
 17    minute, but something like "What do you got a gun
 18    for, Jeff?"
 19           And he said, "What do you got a gun for";
 20    right?
 21         A     Yes, something to that effect.
 22         Q     And you said, "I'm authorized to have a
 23    gun," and that's true; right?
 24         A     Yes, sir.
 25         Q     And he said, "I'm authorized to have a gun"?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 79 of 313 PageID #: 513
                                  Weinhaus, Vol. 2                            318




  1         A     Yes, sir.
  2         Q     And you agreed with me that he was being a
  3    smartalic; right?
  4         A     Yes, sir.
  5         Q     So is that not an argumentative situation in
  6    which verbal judo is an appropriate response?
  7         A     At the time I did what I was trained to do.
  8    I announced that he had a weapon to the other
  9    officers to let them know that he had a weapon.                    I
 10    also did not know his intention with that weapon, so
 11    by asking him a question, I've been trained when you
 12    encounter someone that's armed, a lot of times if I
 13    ask you a question like why are the lights on, that
 14    will delay your reaction or anything until I can
 15    step closer, move away, take cover.                So at the same
 16    time when I said what are you doing with that gun, I
 17    was able to achieve two techniques with one.                   That's
 18    something I was trained on as a bodyguard, because
 19    if someone pulled a gun in a crowd, we would yell
 20    "gun", or if we saw a gun we would say "gun".                   At
 21    the same time those are the techniques that I used.
 22    When he started manipulating the holster, that's
 23    when I told him to get down.
 24         Q     Let's break it down into smaller chunks.                  So
 25    you didn't say why is the sky blue or any type of
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 80 of 313 PageID #: 514
                                  Weinhaus, Vol. 2                           319




  1    statement to distract from the gun; right?
  2         A     No.    At the present time I had to let
  3    everyone know there was a gun, and I asked him the
  4    question the best I could doing both at the same
  5    time.
  6         Q     You drew everyone's attention, including
  7    Jeff's, to the gun?
  8         A     Yes.
  9         Q     And you testified, you told several people,
 10    I think including me in your deposition, that you
 11    were about five to seven feet away from Jeff; is
 12    that right?
 13         A     Yes.    Initially when I first saw the gun, I
 14    was about seven, I'd say seven feet away.                  I made
 15    some steps during the altercation that brought me to
 16    within five feet.
 17         Q     And when you first saw the gun, he did not
 18    have his hand on the gun or the holster; right?
 19         A     No, he did not.
 20         Q     So if you were concerned for your safety,
 21    and you're a lot bigger than him, why didn't you do
 22    something like charge him, tackle him, try to take
 23    him out in a way that did not involve the use of
 24    lethal force?
 25         A     I have done those things before. As a
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 81 of 313 PageID #: 515
                                  Weinhaus, Vol. 2                           320




  1    matter of fact as we discussed, I was in a shooting
  2    where I did charge someone and ruptured my testicle.
  3    I have disarmed people with knives and while on the
  4    Highway Patrol been cut with a knife.                I was not
  5    close enough to engage any type of tactic like that.
  6    Seven feet on a gravel surface, I was not close
  7    enough to engage him or tackle him.                I did not know
  8    what his intention was.
  9         Q     Even a scrawny guy like Jeff Weinhaus?
 10         A     That scrawny guy had a gun.
 11         Q     As did you?
 12         A     Yes, I did.
 13         Q     Seven feet is less than a full car length,
 14    isn't it?
 15         A     Yes, sir.
 16         Q     Now you also said in your report that
 17    Weinhaus broke into a cold sweat or chill and did
 18    not respond to your conversation; is that correct?
 19         A     Yes.
 20         Q     And when was it that he broke into this cold
 21    sweat and non-responsive state.               Was it before you
 22    had the interchange "how are you doing, Jeff, what
 23    do you got a gun for, what do you got a gun for,"
 24    was it before that?
 25         A     It was after, I believe I said it looked
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                                                                                     Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 82 of 313 PageID #: 516
                                  Weinhaus, Vol. 2                           321




  1    like he had a cold chill that came over him.                   He
  2    started to shake a little bit.
  3         Q     So had you already drawn your weapon when he
  4    started to shake?
  5         A     My weapon was at the low ready and he had
  6    opened his holster.
  7         Q     And Corporal Mertens, did he have his weapon
  8    at a low ready?
  9         A     I could not see him, he was behind me and to
 10    the right, but I obviously seen the video and it
 11    appears that he does, but I could not see Corporal
 12    Mertens when that was going on.
 13         Q     Now you also testified that Jeff's eyes
 14    never left your face?
 15         A     No, they did not.
 16         Q     So you must have been staring right into his
 17    eyes to know that; right?
 18         A     I was staring at his face as I came around
 19    the car, and then I saw the gun, and every time I
 20    looked at him he was staring me right in my face.
 21         Q     So you might have looked away but when you
 22    looked back he was looking at you?
 23         A     I never noticed him look anywhere else but
 24    my face.
 25         Q     Now at seven feet away, how were you able to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 83 of 313 PageID #: 517
                                  Weinhaus, Vol. 2                           322




  1    look into Jeff's eyes, to look at his left hand, to
  2    look at his right hand, to look at his holster and
  3    to look at your back sight at the people and gas
  4    tanks and everything else behind Jeff, how were you
  5    able to do all that in a short period of time?
  6         A     The best way I can explain that, sir, is I
  7    can see your hands.          I can see your eyes.          I can see
  8    the people behind you and what's there, instantly.
  9         Q     Instantly?
 10         A     If I look at these people, I can see their
 11    hands, I can see what's behind them on the wall, I
 12    can see everything.          I mean images are in 3D, I can
 13    see what's behind you, where your hands are, where
 14    your face is pointed.
 15         Q     Sure but you gave some detailed testimony as
 16    to where Jeff's eyes were looking and located, is
 17    that fair to say?
 18         A     Yes, it is, and I believe they were focused
 19    on me and looking at me every time I saw him.
 20         Q     And you also gave detailed testimony as to
 21    what he was doing with his left hand standing seven
 22    feet away?
 23         A     I believe I said that I could not see -- at
 24    some point during that my vision started to focus in
 25    on his right hand.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 84 of 313 PageID #: 518
                                  Weinhaus, Vol. 2                           323




  1         Q     Not his eyes?
  2         A     No, my vision started to tunnel in on his
  3    right hand when he opened the holster.
  4         Q     So you looked away from his left hand or
  5    eyes?
  6         A     I do not recall seeing him, I just remember
  7    my vision tunneled in on the right hand and the gun.
  8         Q     Is it fair to say in a very short period of
  9    time it's hard to look at all three things at once,
 10    plus behind me?
 11         A     I guess I don't understand your line of
 12    questioning.       I can always see what's behind you
 13    standing here talking to you.
 14         Q     But in the space of a second or two or
 15    three, can you really see into my eyes, what my
 16    right hand is doing and what the left hand is doing
 17    and what the people behind me are doing?
 18         A     In the span of a second, two or three, of
 19    course I can.
 20         Q     Now at some point you told Jeff to get down
 21    on the ground; is that right?
 22         A     Yes, sir.
 23         Q     Did Jeff start to comply with your order?
 24         A     No, he did not.
 25         Q     In no way?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 85 of 313 PageID #: 519
                                  Weinhaus, Vol. 2                           324




  1         A     In no way did he ever motion towards the
  2    ground, comply with my order.                 When I told him to
  3    get down on the ground, he was opening the holster
  4    and he did not comply at all.
  5         Q     Did not comply at all.              Then why did you
  6    tell me under oath in your deposition that Jeff
  7    crouched down in a defensive position?
  8         A     What I stated was that he shifted his body
  9    from a bladed position to a front on position with
 10    me and he crouched down with his knees.                 When he
 11    said man, you're going to have to shoot me, he
 12    crouched down and began to draw the gun.
 13         Q     So he was crouching before you told him to
 14    get down on the ground?
 15         A     I already told him to get down on the
 16    ground.     He said, "Man, you're going to have to
 17    shoot me," and then as part of him trying to draw
 18    his gun, he lowered his center of gravity and began
 19    to pull the gun out.
 20         Q     Did you consider the crouching to be part of
 21    compliance with your order to get down?
 22         A     No, I considered it to be he was squaring up
 23    on his target like I'm trained to do, and typically
 24    when we draw a weapon, we're going to square
 25    ourselves to the target, simultaneously crouch our
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 86 of 313 PageID #: 520
                                  Weinhaus, Vol. 2                           325




  1    body down and fire.          That's how I'm trained to go
  2    into a firing position.
  3         Q     How come you didn't tell Jeff hands up or
  4    get your hands off the gun?
  5         A     The only thing I could think of was get down
  6    on the ground.        I don't know, I didn't have -- I had
  7    a short amount of time.            I felt if he was on the
  8    ground, that would be the safest place.
  9         Q     Have you ever said hands up as a trained
 10    officer?
 11         A     I believe I probably have.
 12         Q     Or said get your hands off the gun, hands
 13    away from the gun?
 14         A     Yes.
 15         Q     But you didn't do this here?
 16         A     I didn't have time.
 17         Q     Didn't have time.           So instead you said get
 18    down on the ground.          What did Jeff do with his left
 19    hand after you said get down on the ground?
 20         A     Like I said, my vision began to tunnel in
 21    and I didn't really -- I can't tell you what
 22    happened with his left hand.                  When I said get down
 23    on the ground and he said man you're going to have
 24    to shoot me and he started pulling that gun out, all
 25    I could see was the gun in his hand.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 87 of 313 PageID #: 521
                                  Weinhaus, Vol. 2                           326




  1         Q     So he didn't start to lower himself?
  2         A     No, he said man, you're going to have to
  3    shoot me and he crouched down.
  4         Q     So he did crouch?
  5         A     I believe you're exaggerating.
  6         Q     And you don't know what he did with his left
  7    hand?
  8         A     I couldn't focus on the left hand, only the
  9    right hand and the weapon.
 10         Q     Why couldn't you focus in on the left hand?
 11         A     It's part of a phenomenon being threatened
 12    and being in a deadly force situation, it's usual in
 13    my training to have tunnel vision.
 14         Q     So you had tunnel vision and in fact you
 15    couldn't see his right hand, eyes and left hand and
 16    behind him?
 17         A     At that moment, no.
 18         Q     Now Jeff made a statement and you say it was
 19    "you're going to have to shoot me man"?
 20         A     Yes, sir.
 21         Q     Could it be "you don't have to shoot me
 22    man"?
 23         A     Absolutely not.
 24         Q     Absolutely not?
 25         A     Absolutely not.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 88 of 313 PageID #: 522
                                  Weinhaus, Vol. 2                           327




  1         Q     No way that could be objectively true?
  2         A     No.
  3         Q     It's fair to say you didn't hear it that
  4    way?
  5         A     Right, no, I didn't hear it that way.                I've
  6    listened to the audio recording and I don't believe
  7    that's what was said.           I heard him say "you're going
  8    to have to shoot me man" as he began to draw the
  9    weapon from the holster.
 10         Q     Putting aside his right hand and holster and
 11    what you say he did, is a citizen stating "you're
 12    going to have to shoot me" sufficient grounds to
 13    shoot them, to use deadly force?
 14         A     No, sir, it would not be in itself.
 15         Q     In fact what might be an appropriate
 16    response to a citizen saying "you're going to have
 17    to shoot me"?
 18         A     I guess there could be dozens of responses.
 19         Q     Verbal judo?
 20         A     Yes, sir.
 21         Q     Some non-lethal force?
 22         A     Yes, sir, in certain situations I believe
 23    you could.
 24               MR. EASTWOOD:        Your Honor, I want to now
 25    turn to the video itself. I don't know if the Court
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 89 of 313 PageID #: 523
                                  Weinhaus, Vol. 2                           328




  1    wants to keep going or take a break?
  2               JUDGE SUTHERLAND:           Let's go for a few more
  3    minutes.
  4               MR. EASTWOOD:        I'm not playing the whole
  5    video at this time.
  6               JUDGE SUTHERLAND:           We probably saw as much
  7    of the roof of the car as we need to see.
  8         Q     (By Mr. Eastwood) I'm going to stick with
  9    the phase of the tape that deals with Jeff pulling
 10    into the parking lot and the interaction with you,
 11    okay?
 12         A     Yes, sir.
 13                          (VIDEO BEING PLAYED)
 14         Q     (By Mr. Eastwood) And I suggest to you, you
 15    see the car traveling down there, he's pulling in.
 16    Is it fair to say the door just opened there?
 17         A     I believe so, sir.
 18         Q     So in your recollection did he open the door
 19    only once the car had stopped?
 20         A     I don't remember when exactly the door come
 21    open, if it come open while he was coming to a stop
 22    or came to a stop.         I was getting out of our car
 23    then.
 24         Q     In that taped section of the tape there, I
 25    didn't hear an engine rev, did you?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 90 of 313 PageID #: 524
                                  Weinhaus, Vol. 2                           329




  1         A     I didn't hear anything.
  2         Q     I didn't hear the car speed up, did you?
  3         A     I did not.
  4         Q     I heard Jeff's voice sound relatively calm,
  5    would you agree with that characterization as he was
  6    talking on the phone or talking to himself?
  7         A     Initially I thought he sounded agitated.
  8         Q     You thought he sounded agitated.               Do you
  9    think he sounded agitated just now on the phone or
 10    to himself?
 11         A     Initially he was agitated.
 12         Q     When he was talking about the pastors and
 13    preachers not coming with him?
 14         A     Yes, sir.
 15         Q     He doesn't mention an Army; right?
 16         A     Excuse me?
 17         Q     He doesn't mention an Army on this tape;
 18    right?
 19         A     No, I don't believe he does.
 20         Q     That's Sergeant Mertens there?
 21         A     Corporal Mertens, yes, sir.
 22         Q     I apologize.       How would you characterize
 23    Jeff's tone of voice in that interchange there, calm
 24    or agitated?
 25         A     He's just kind of in a way being a
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 91 of 313 PageID #: 525
                                  Weinhaus, Vol. 2                           330




  1    smartalic, I think.
  2         Q     And that's consistent with your experience
  3    of Jeff previously; right?
  4         A     Yes, sir.
  5         Q     He's a smartalic, argumentative guy; right?
  6         A     Yes, sir.
  7         Q     Now you just said get down on the ground;
  8    right?
  9         A     I believe we both said it.            I think I hear
 10    Corporal Mertens saying it as well.
 11         Q     And that's you; right?
 12         A     Yes, sir.
 13         Q     And is that at or about the time you first
 14    shot?
 15         A     I believe it's pretty close.             I've already
 16    dropped the folder that's in my right hand and I'm
 17    beginning to bring my right hand up to my left hand
 18    to what we call marry up our grip.               I know I fired
 19    before I had my grip all the way because the slide
 20    cut my hand.
 21         Q     I remember that, I remember that.
 22         A     But I'd say you're within a fraction of a
 23    second of me firing the weapon.
 24         Q     How long a period of time do you think
 25    passed between the first time you stated "get down
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 92 of 313 PageID #: 526
                                  Weinhaus, Vol. 2                           331




  1    on the ground" and when the first shot rang out?
  2         A     It wasn't very long, a few seconds.
  3         Q     If I submit to you that it was less than --
  4    it was somewhere around three seconds, would that
  5    sound accurate?
  6         A     I believe it would, sir.
  7         Q     Now, you've been with the Highway Patrol a
  8    long time.      How many times have you arrested
  9    middle-aged men about the size of Jeff Weinhaus?
 10         A     I've arrested hundreds of people.
 11         Q     Hundreds?
 12         A     I couldn't classify middle-aged people.
 13         Q     How many of them have been armed out of the
 14    hundred?
 15         A     I've arrested several armed people.
 16         Q     And how many times have you ordered people
 17    to get down on the ground?
 18         A     Several times.
 19         Q     And in your experience as a law enforcement
 20    officer, how long would it take a middle-aged guy
 21    the size of Jeff Weinhaus to comply with the order
 22    to get down on the ground, being as you were on a
 23    gravel incline parking lot?
 24               MR. PARKS:      Objection, Your Honor, calls for
 25    speculation on the part of the witness.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 93 of 313 PageID #: 527
                                  Weinhaus, Vol. 2                           332




  1               JUDGE SUTHERLAND:           Sustained.
  2         Q     (By Mr. Eastwood) You have no opinion, sir?
  3               MR. PARKS:      Objection.
  4               JUDGE SUTHERLAND:           Objection is sustained.
  5         Q     (By Mr. Eastwood) So we heard about four
  6    shots there and you testified yesterday you did two
  7    in the chest and two to the head?
  8         A     Initially I fired two to the chest, one to
  9    the head and then I fired one additional round
 10    towards the head.
 11         Q     And do you know the angles of entry and of
 12    exit of those bullets that went through Jeff's
 13    chest?
 14         A     I saw the impact areas, of course when I did
 15    fire and of course when we rendered medical aid, but
 16    I've never seen the report that details any angles.
 17    I've never seen any of his medical records.
 18         Q     Would it surprise you if the entrance wounds
 19    were up high and the exit wounds were lower on his
 20    body?
 21         A     No, I'm taller than he is, that wouldn't
 22    surprise me at all.
 23         Q     The angle could also be consistent with
 24    someone who was getting down on the ground; right?
 25         A     I don't believe so, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 94 of 313 PageID #: 528
                                  Weinhaus, Vol. 2                           333




  1         Q     Why not, because if it goes in high and
  2    exits lower, the person is lower than you; right?
  3         A     That doesn't mean that the person shooting
  4    isn't taller and in this case I am.
  5         Q     How much taller are you than him?
  6         A     I don't know how tall he is.
  7         Q     But your height difference explains any
  8    difference between the height difference of the
  9    entry and exit wounds?
 10         A     If a person is standing here and the other
 11    person is standing here and they're taller and above
 12    this person, when they fire, the rounds are going to
 13    come in high and exit lower unless there's a
 14    different type of incline.
 15         Q     How far away were you from Jeff?
 16         A     About seven feet.
 17         Q     And that height difference is going to make
 18    such a difference that it's going to be noticeably
 19    higher and noticeably lower for the entry and exit
 20    wounds?
 21         A     I don't know how noticeably higher or lower
 22    it is, sir, but that's my explanation.                 I would
 23    anticipate that if the person who fired was taller
 24    than the person, vice versa if the person was
 25    shorter I would anticipate the round to enter lower
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 95 of 313 PageID #: 529
                                  Weinhaus, Vol. 2                           334




  1    and exit higher.
  2         Q     We'll get to that in a second then.
  3               JUDGE SUTHERLAND:           It's about time for
  4    morning recess.        If you want to finish up with the
  5    video first, that's fine.
  6               MR. EASTWOOD:        Judge, I'm going to have to
  7    spend more time with the video and stills with the
  8    video as we go forward.            So if you want to do the
  9    break now, Your Honor.
 10               JUDGE SUTHERLAND:           All right.    Ladies and
 11    gentlemen, the Court again reminds you of what you
 12    were told at the first recess of the Court.                   Until
 13    you retire to consider your verdict, you must not
 14    discuss this case among yourselves or with others or
 15    permit anyone to discuss it in your hearing.                   You
 16    should not form or express any opinion about the
 17    case until it is finally given to you to decide.                     Do
 18    not do any research or investigation on your own
 19    about any matter regarding this case or anyone
 20    involved with the trial.             Do not communicate with
 21    others.     Do not read, view or listen to any
 22    newspaper, radio, electronic communication from the
 23    Internet or television report of the trial.                   We'll
 24    be in recess for 15 minutes.
 25                   (WHEREUPON A RECESS WAS TAKEN)
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 96 of 313 PageID #: 530
                                  Weinhaus, Vol. 2                           335




  1                      (BENCH CONFERENCE BEGINS)
  2               MR. EASTWOOD:        Your Honor, I would like to
  3    make a record, I plan to call upon defendant not to
  4    testify but to remove his shirt and tie and jacket
  5    to show the bullet wound scars on his body.                   I
  6    believe that this will impeach Folsom's testimony as
  7    to the entry and exit wounds because the scars speak
  8    for themselves and are obvious to any layperson as
  9    to the location of they entered the body high and
 10    left the back low.         I realize this is a somewhat
 11    dramatic thing to do.           I do not believe this is a
 12    violation of the defendant's Fifth Amendment right.
 13    I believe he is still not testifying by doing so and
 14    that the prosecution has adequate opportunity to
 15    cross examine this evidence by simply also pointing
 16    to the body of the person.               By analogy the defendant
 17    has already stood up.           On the other hand I realize
 18    that the prosecutor probably objects to this No. 1;
 19    and No. 2, if the Court does not sustain or
 20    overrules my motion to do this, then I would in the
 21    alternative wish to make an Offer of Proof to the
 22    jury or to the Court when the jury is not in the
 23    presence.
 24               MR. PARKS:      And Your Honor, I object to
 25    this.     If the defendant is going to make this
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 97 of 313 PageID #: 531
                                  Weinhaus, Vol. 2                           336




  1    demonstrative exhibit of his body, he's testifying,
  2    and I do not have any way of cross examining about
  3    this, plus the defendant is not offering any medical
  4    testimony about the trajectory of the bullets or
  5    anything like that, so all we would be doing would
  6    be speculating about entry and exit wounds, and I
  7    believe that would be misleading to the jury, and I
  8    would object to any use of these wounds without me
  9    being able to cross examine the defendant.
 10               MR. EASTWOOD:        My response is I do not think
 11    that expert and medical testimony is necessary to
 12    make a scar readily visible to a juror.                 I think out
 13    of their ordinary life experience they can see a
 14    scar is up high in the chest and much lower in the
 15    back of the chest.         That is not testimony, it is
 16    simply showing the presence of wounds on the
 17    defendant's person.          There's ample evidence already
 18    in the record that the defendant was shot by
 19    Sergeant Folsom and medevaced to the hospital, so
 20    this is not something that is speculative in any
 21    way.
 22               JUDGE SUTHERLAND:           Even if the defendant
 23    does not say a word, I still believe such a
 24    demonstration is testimonial in nature.                 I frankly
 25    don't think it impeaches Sergeant Folsom's testimony
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 98 of 313 PageID #: 532
                                  Weinhaus, Vol. 2                           337




  1    for a couple of reasons.             No. 1, he hasn't disputed
  2    the fact that the entry wounds on the front of
  3    defendant's chest or body are higher than the exit
  4    wounds on the back.          Secondly, that's consistent
  5    with his testimony that the defendant, he believes,
  6    was starting to crouch down as he was drawing the
  7    gun or attempting to draw the gun out of his
  8    holster, so it really doesn't impeach anything, but
  9    since I believe it to be testimonial in nature, even
 10    though the defendant is not necessarily saying a
 11    word, I believe he's going to have to take the
 12    witness stand and testify before he can do that, so
 13    the request is denied, let's put it that way.
 14               MR. EASTWOOD:        May I inquire of the Court
 15    this:     If I make an Offer of Proof, will the Court
 16    still consider that to be a waiver of the Fifth
 17    Amendment privilege?
 18               JUDGE SUTHERLAND:           No, no, not for an Offer
 19    of Proof.
 20               MR. PARKS:      I believe this could be
 21    construed as an Offer of Proof.
 22               JUDGE SUTHERLAND:           Since it's just take your
 23    shirt off and let's look at it, I'd certainly
 24    consider this an Offer of Proof.
 25               MR. EASTWOOD: I think that's right.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 99 of 313 PageID #: 533
                                  Weinhaus, Vol. 2                           338




  1               JUDGE SUTHERLAND:           And I think that will be
  2    acceptable.
  3               MR. PARKS:      I'm not objecting to an offer,
  4    this being used as an offer.
  5               MR. EASTWOOD:        To further supplement the
  6    record as to the Offer of Proof, I take the Court's
  7    position and I agree with it.                 The idea of the
  8    impeachment was the dramatic difference between the
  9    height of what I allege to be the entry wound and
 10    the exit wound, so therefore given the testimony
 11    that he was seven feet away yet there is a height
 12    difference that he may have been crouching
 13    nevertheless that is a dramatic difference and that
 14    would be consistent with the defendant's compliance
 15    with the order to get on the ground.
 16               JUDGE SUTHERLAND:           It's also consistent with
 17    the witness's testimony that he was crouching down.
 18    So I don't think it impeaches the officer's
 19    testimony in any way, so.
 20               MR. EASTWOOD:        Thank you, Your Honor.
 21                        (BENCH CONFERENCE ENDS)
 22           (WHEREUPON THE JURY ENTERED THE COURTROOM)
 23               JUDGE SUTHERLAND:           Please be seated.
 24    Mr. Eastwood, you may continue your cross
 25    examination.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 100 of 313 PageID #: 534
                                   Weinhaus, Vol. 2                          339




   1              MR. EASTWOOD:         Thank you very much, Your
   2   Honor.
   3         Q    (By Mr. Eastwood) Sergeant Folsom, before
   4   the break I was inquiring of you with the video and
   5   the brief time period between when Jeff Weinhaus
   6   exited the car and when you fired your first shot.
   7   I submitted to you and you did not dispute that it
   8   was approximately three seconds on the tape from
   9   when you first stated "get down on the ground" and
 10    when the first shot was fired by you; is that fair
 11    to say?
 12          A    Yes, sir, I believe that was accurate.
 13          Q    And then you also testified that based on
 14    your experience in the military, in law enforcement,
 15    seven years Army, 16 years Highway Patrol; is that
 16    right?
 17          A    Yes, sir.
 18          Q    That you could open one of these, pull out
 19    the weapon and shoot in three seconds?
 20          A    Yes, sir.
 21          Q    And you knew Jeff Weinhaus had no military
 22    training; right?
 23          A    Yes, sir.
 24          Q    No law enforcement experience?
 25          A    Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 101 of 313 PageID #: 535
                                   Weinhaus, Vol. 2                          340




   1         Q    In fact were there any facts that made you
   2   think Jeff Weinhaus could undo this particular Army
   3   type holster, pull out a gun and shoot you in three
   4   seconds?
   5              MR. PARKS:       Objection, Your Honor, calls for
   6   speculation on the part of the witness.
   7              MR. EASTWOOD:         I'm asking what he knows.
   8              JUDGE SUTHERLAND:            Sustained.
   9         Q    (By Mr. Eastwood) You also testified
 10    yesterday that, and I think this morning as well,
 11    that you didn't know what Jeff Weinhaus did with his
 12    left hand once you got the tunnel vision; is that
 13    fair to say?
 14          A    Yes, sir, I lost track of his hand.
 15          Q    Is it possible that he could have put his
 16    left hand up in the air?
 17          A    I don't recall that but anything is
 18    possible.       I could only really see his right hand on
 19    the gun.
 20          Q    Well, I want to show you, and can everyone
 21    see this on their screen.               This is a still, and
 22    although I think as the Court noted yesterday, as
 23    the Judge noted yesterday, the date sure is wrong,
 24    we do have an hour, minute and secondhand timer;
 25    right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 102 of 313 PageID #: 536
                                   Weinhaus, Vol. 2                          341




   1         A    Yes, sir, I see it there.
   2         Q    So I don't think the time is 1:42:03 but you
   3   do have a second timer; right?
   4         A    Yes, sir.
   5         Q    And is it fair to say you've already
   6   discharged your weapon there?
   7         A    Yes, sir, it looks like there's a shell
   8   casing exiting.
   9         Q    And a shell casing doesn't come out of the
 10    gun until after you squeezed the trigger; right?
 11          A    Yes, sir.
 12          Q    And the bullet has left the gun?
 13          A    Yes, sir.
 14          Q    And this is all recorded on Jeff's left
 15    hand; right?
 16          A    Yes, sir.
 17          Q    On his wrist watch?
 18          A    Yes, sir.
 19          Q    So if we go back in time very slowly, these
 20    stills, I submit to you, are one still for each
 21    1/29th of a second.           The hand, the angle of this
 22    shot would suggest the hand was then facing at least
 23    outward towards Corporal Mertens; right, the left
 24    hand?
 25          A    Yes, I believe it had to have been somehow
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 103 of 313 PageID #: 537
                                   Weinhaus, Vol. 2                           342




   1   pointed at Corporal Mertens to get his picture.
   2         Q    Corporal Mertens is not pointing his gun at
   3   Jeff; right?
   4         A    I can't tell, it looks like he's pointing
   5   his gun to the ground, to me.
   6         Q    In fact isn't that a position called a low
   7   ready?
   8         A    Yes.
   9         Q    And that is a defensive position; correct?
 10          A    It's just a position.
 11          Q    It's a position, that's fair to say.                 It's
 12    not a position you're going to be in when you're
 13    about to take a shot?
 14          A    It is a position in preparation to make a
 15    shot.
 16          Q    But in fact in a potentially dangerous
 17    situation, it's not uncommon for them to walk around
 18    in a low ready?
 19          A    No, it's faster to achieve a shot from the
 20    low ready than from the holster or lower.
 21          Q    When a gun is in a low ready, it's pointed
 22    toward the ground; right?
 23          A    Yes, sir, usually.
 24          Q    Is one of the reasons for that is that if
 25    the gun accidentally discharges, the bullet will hit
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 104 of 313 PageID #: 538
                                   Weinhaus, Vol. 2                          343




   1   the ground?
   2         A    I don't know if that's one of the reasons,
   3   I've just been trained on the position.
   4         Q    But it's fair to say as a matter of common
   5   sense that if the gun was pointed higher, that it
   6   could do a lot more damage if it accidentally went
   7   off; right?
   8         A    I would agree with that, sir.
   9         Q    So let's continue going back in time on
 10    these stills after Corporal Mertens is in the low
 11    ready.     I just want to remind you the secondhand is
 12    here and it says 03 when you're firing your weapon;
 13    right?     There's the shell casing coming out, so
 14    we're in second 03 when that bullet is coming out;
 15    right?
 16          A    Yes, sir.
 17          Q    What's that, is that Jeff's car, Subaru?
 18          A    Yes.
 19          Q    Is that the front of the Subaru?
 20          A    No, it looks like the side, maybe the rail
 21    that goes along the roof there.
 22          Q    Is that the roof along there, right there?
 23          A    Looks like it.
 24          Q    And that's the MFA oil station sign in the
 25    background?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 105 of 313 PageID #: 539
                                   Weinhaus, Vol. 2                          344




   1         A    Yes, sir.
   2         Q    Roughly speaking around here is when he
   3   drove in before he made his loop around?
   4         A    Yes, sir.
   5         Q    And the secondhand here says two; right?
   6         A    Yes, sir.
   7         Q    And when you were firing your weapon, in
   8   fact when the shell casing was coming out of the
   9   weapon, the secondhand said three; right?
 10          A    Yes, it still said three.
 11          Q    So if we go up there, would it suggest to
 12    you that Jeff's left hand was in the air based on
 13    the angle of the video?
 14          A    No, it would not.
 15          Q    What would it suggest to you?
 16          A    It could be at any angle here.              It's just
 17    capturing the -- to me up in the air would be like
 18    this.     It could be here at his mid section or torso
 19    to capture that video.
 20          Q    But that's the roof of the Subaru; right?
 21          A    It's the side of the pillar, not the roof.
 22          Q    Is it going upwards towards the sky that
 23    direction?
 24          A    Looks like it has that angle, yes sir.
 25          Q    And if you assume the watch was worn as one
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 106 of 313 PageID #: 540
                                   Weinhaus, Vol. 2                          345




   1   normally wears a watch on the left hand in this
   2   position, so the hand was at least as high as the
   3   roof of the Subaru; right?
   4         A    No, sir.
   5              MR. PARKS:       Objection, Your Honor, that
   6   calls for speculation on the part of the witness.
   7              JUDGE SUTHERLAND:            Sustained.
   8         Q    (By Mr. Eastwood) Let me ask you this.                 You
   9   testified earlier that the roof of a Subaru is
 10    higher than the roof of a normal sedan car; right?
 11          A    It's higher than the roof of our car, yes,
 12    sir.
 13          Q    And in this picture it's fair to say you can
 14    start to see most of the roof rack of the Subaru;
 15    right?
 16          A    I can see some of it, sir.
 17          Q    So that wouldn't suggest to you that the
 18    wrist watch video recorder was in such a place that
 19    it could -- was high enough to record most of that
 20    roof; right?
 21               MR. PARKS:       Objection, calls for speculation
 22    on the part of the witness.
 23               JUDGE SUTHERLAND:            Sustained.
 24          Q    (By Mr. Eastwood) Do you have any opinion
 25    based on what you're looking at, not speculation,
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 107 of 313 PageID #: 541
                                   Weinhaus, Vol. 2                          346




   1   any opinion on where Jeff's left hand was?
   2              MR. PARKS:       Objection, Your Honor, that's
   3   calling for speculation.
   4              JUDGE SUTHERLAND:            Sustained.
   5         Q    (By Mr. Eastwood) Secondhand here is at 02;
   6   right?
   7         A    Yes, sir.
   8         Q    And we just went over how by secondhand 03
   9   the video image sweeps around, captures you, kind of
 10    captures the under side of your arm there; right?
 11          A    Yes.
 12          Q    Under side of your hand; right?
 13          A    Yes, it appears to.
 14          Q    You're left-handed?
 15          A    Yes, sir, I am.
 16          Q    And you shoot normally with your left hand,
 17    at least that's what you hold the grip of the gun
 18    with?
 19          A    I can shoot with either had, I prefer to
 20    draw with my left hand.
 21          Q    It captures the underside of the barrel;
 22    right?
 23          A    Captures the under side of the gun.
 24          Q    So the camera is in a low enough position it
 25    can show all these things; right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 108 of 313 PageID #: 542
                                   Weinhaus, Vol. 2                          347




   1              MR. PARKS:       Objection, calls for speculation
   2   on the part of the witness.
   3              MR. EASTWOOD:         I'm asking the witness to
   4   acknowledge what he sees.
   5              JUDGE SUTHERLAND:            Overruled, you may
   6   answer.
   7              THE WITNESS:        Could you repeat the question,
   8   sir.
   9         Q    (By Mr. Eastwood) The camera accurately
 10    captures the lower level of your arm, your hand, the
 11    lower level of your gun; right?
 12          A    Yes, sir.
 13          Q    The camera is in a low enough position to
 14    capture all that; right?
 15          A    Yes, sir.
 16          Q    And you've already shot there and it's one
 17    second, approximately, one second or less than that
 18    approximately from when the camera was showing the
 19    top of the Subaru; right?
 20          A    I don't know that I've already shot there.
 21          Q    Oh, sure, we can back up.            There it is.        In
 22    fact do you see a little white smoke or powder in
 23    that still, it's a little hard to detect, I don't
 24    know if you see it?
 25          A    I do see some haze.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 109 of 313 PageID #: 543
                                   Weinhaus, Vol. 2                          348




   1         Q    Is that consistent with a bullet exiting a
   2   gun?
   3         A    I wouldn't know, sir.
   4         Q    Are you a firearms expert?
   5         A    I'm a firearms instructor, not an expert.
   6         Q    You've seen a gunshot before many times;
   7   right?
   8         A    Yes, sir.
   9         Q    Now, you testified yesterday to Mr. Parks
 10    that you fired four shots; is that right?
 11          A    Yes, sir.
 12          Q    And you said two in the chest, two in the
 13    head?
 14          A    Yes, sir.
 15          Q    Do you remember approximately where the --
 16    where you shot him in the chest?
 17          A    I remember I saw -- he was wearing a dress
 18    shirt and I saw the round hit him somewhere in here.
 19    It looked just right on his heart or slightly above,
 20    and I saw the round hit but what I mostly saw was
 21    the blood coming out almost instantly out on his
 22    shirt staining that area.
 23          Q    Did you see the blood before you shot him in
 24    the head?
 25          A    I think I saw it while I was shooting.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 110 of 313 PageID #: 544
                                   Weinhaus, Vol. 2                          349




   1   You're talking about fractions of a second.
   2         Q    And then you fired a third bullet into his
   3   head; right?
   4         A    Yes.
   5         Q    And then you testified yesterday that after
   6   the third bullet you saw the whites in his eyes?
   7         A    Yes, sir, I did.
   8         Q    Based on your training and experience, what
   9   does it indicate, if anything, when after someone is
 10    shot you see the whites of their eyes?
 11          A    In my opinion it indicated that he was
 12    perhaps deceased or knocked out.               I never seen
 13    anyone's eyes roll up in their head like that.
 14          Q    When you shot Jeff Weinhaus, you intended to
 15    kill him?
 16          A    I intended to stop the threat and
 17    incapacitate him.          If he died, that's what happened.
 18          Q    Where were you taught to shoot?
 19          A    Center mass.
 20          Q    Cardiothoracic area?
 21          A    Yes, sir.
 22          Q    And the effect of that is to kill someone?
 23          A    The effect is whatever the effect is.                 We're
 24    taught to shoot center mass.
 25          Q    Did you intend to kill Jeff when you shot
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 111 of 313 PageID #: 545
                                   Weinhaus, Vol. 2                          350




   1   him?
   2         A    No.
   3         Q    If you saw the whites of his eyes after the
   4   third bullet, why did you keep shooting?
   5         A    I'm taught to scan for additional targets.
   6   I heard this screaming towards the gas station, and
   7   when I heard a gun go off on my right side, I
   8   thought perhaps he had fired a round into the gun, I
   9   didn't realize Corporal Mertens possibly could have
 10    been behind me and fired, and he was still standing,
 11    still had his hand on the gun.                   At that point he
 12    started to rotate, he was moving, and I shot one
 13    last shot to his head and he dropped instantly.
 14          Q    In fact he turned around before he fell on
 15    the ground; right?
 16          A    After I fired the last shot he continued to
 17    rotate and fell down.
 18          Q    Do you know where the last shot you fired
 19    hit him?
 20          A    I didn't see it hit.                The whole front sight
 21    of my gun was covering his face and head, but I
 22    believe it hit him somewhere in the neck or head
 23    region.
 24          Q    Do you know if it went into the front or
 25    back of his head?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 112 of 313 PageID #: 546
                                   Weinhaus, Vol. 2                          351




   1         A    I have no idea.          Like I said, my sight was
   2   covering his head and he was turning at the same
   3   time.
   4         Q    Because after you fired the fourth shot,
   5   Jeff was facing away from you and fell flat on his
   6   face; right?
   7         A    He was facing at an angle from me.                He was
   8   not facing a perfect 180 degrees from me.                  I had
   9   stepped left again, so he fell the direction I was
 10    facing.
 11          Q    What happened next when Jeff went down?
 12          A    When Jeff went down, I scanned again for
 13    other targets.        I still heard screaming at the gas
 14    station.      At that point I advanced closer to him.                 I
 15    could see Mike Maruschak, the FBI agent, running in
 16    my direction.        Once Mike had advanced closer, I was
 17    yelling for him to cover the set perimeter.                   I still
 18    did not know where the other shot came from.                    I
 19    thought there might be other people at the gas
 20    station involved.          At that point I went up and
 21    rolled Mr. Weinhaus on his left side and I could see
 22    the gun underneath him.
 23          Q    You testified yesterday that he still had
 24    his fingers on the gun; right?
 25          A    The gun, his fingers were on the ground and
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 113 of 313 PageID #: 547
                                   Weinhaus, Vol. 2                          352




   1   his gun was laying on top of his fingers pinned
   2   between him and his body.
   3         Q    So it's your testimony that he started to
   4   pull a gun out, had his hands on the gun, you shot
   5   him three times, he spun around, he fell flat on his
   6   face and his fingers never left that gun?
   7         A    I don't know if they never left it, I could
   8   just tell you what his final resting position was
   9   when I found him.
 10          Q    Do you have an opinion on why he spun
 11    around, was it the force of being shot?
 12          A    I do not know.          Often people who are shot do
 13    rotate if they're shot off to one side or another.
 14    I've worked several shootings.                 People do rotate
 15    during a shooting, but he could have rotated when he
 16    fell, I don't know.           I just know that he began to
 17    rotate.
 18          Q    Let's look at the camera again, the video.
 19    So the watch camera moves around a lot in that
 20    sequence of time; right?
 21          A    It looks like it, yes, sir.
 22          Q    And his body spun around; right?
 23          A    Yes, sir, I saw his body spin.
 24          Q    But his hands were on the gun, he spun
 25    around, he fell over and then when you found his
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 114 of 313 PageID #: 548
                                   Weinhaus, Vol. 2                          353




   1   hands again they were still on the gun or his
   2   fingers were still on the gun?
   3         A    Yes.     I described, when I rolled him over,
   4   his hand was on the ground, the gun was laying on
   5   top of his fingers and his body had the gun pinned
   6   in between his fingers and his abdomen.
   7         Q    And then you put the gun back in the holster
   8   and tossed the holster away?
   9         A    I put the gun back in the holster and then I
 10    yelled for Mike Maruschak to cover me.                 When he had
 11    a good cover position, that's when I reached in and
 12    undid the holster and tossed it.               I didn't try to
 13    undo the holster while I still had my gun pointed at
 14    Mr. Weinhaus.
 15          Q    When you shoved the gun back in the holster
 16    and reclipped it, did you reclip it?
 17          A    Yes.
 18          Q    Did Corporal Mertens see you do that?
 19          A    I don't know what he saw, he was behind me.
 20          Q    Did the FBI agent see you do that?
 21          A    I don't know what he saw, he was standing to
 22    my left, you'll have to ask him.
 23          Q    Did Corporal Mertens see you detach the
 24    holster and toss it away?
 25          A    You'd have to ask him, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 115 of 313 PageID #: 549
                                   Weinhaus, Vol. 2                          354




   1         Q    You don't have any knowledge of whether he
   2   knows?
   3         A    I'll say I have knowledge that he saw me
   4   toss the gun away because we talked about the
   5   incident, but I don't know what he saw exactly like
   6   if he saw me unclip it and then do this.                  We did
   7   have a conversation that he saw me throw the gun and
   8   the holster behind me.
   9         Q    You guys talked before you gave your
 10    testimony today and yesterday; right?
 11          A    Yes.
 12          Q    Compared notes?
 13          A    No, I didn't prepare notes.
 14          Q    Did you compare notes?
 15          A    No, we just talked about the case.                We
 16    didn't have notes to compare, we just read the case
 17    file.
 18          Q    Did you compare what you were prepared to
 19    tell the jury?
 20          A    We talked about the incident.              I guess you
 21    could say we talked about what happened.
 22          Q    Were you concerned that you might not be on
 23    the same page?
 24          A    No, I'm not.
 25          Q    In terms of your recollection of what
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 116 of 313 PageID #: 550
                                   Weinhaus, Vol. 2                          355




   1   happened?
   2         A    I was never concerned.
   3         Q    Did you cuff Jeff?
   4         A    Yes, sir, I did.
   5         Q    How long did you cuff him, after he went
   6   down, how long did it take for you to cuff him?
   7         A    It was just a few seconds when Mike came and
   8   covered me, and I was able to toss the gun, and then
   9   I immediately pulled his right hand behind his back
 10    and handcuffed him and pulled his left hand behind
 11    his back and handcuffed him and rolled him onto his
 12    left side.
 13          Q    Based on your training, once you cuff a
 14    suspect, do you consider the suspect to be in your
 15    custody?
 16          A    Not always.        In this particular case I
 17    handcuffed Mr. Weinhaus but he was not under arrest.
 18    I handcuffed him for safekeeping, but I deemed that
 19    once I handcuffed Mr. Weinhaus in this situation
 20    that he was under arrest.
 21          Q    So in this instance did you think Jeff was
 22    in your custody?
 23          A    Yes, sir.
 24          Q    Did you think Jeff was dead?
 25          A    Yes, sir, I did.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 117 of 313 PageID #: 551
                                   Weinhaus, Vol. 2                          356




   1         Q    What factors, what information made you
   2   think Jeff was dead?
   3         A    Because his body was lifeless.              He turned
   4   gray.     There was no blood that could be visible in
   5   his limbs, and he was bleeding profusely from the
   6   wounds.      I rolled him over onto his side, Corporal
   7   Mertens came up and we started applying pressure to
   8   the areas where he'd been shot and he was just
   9   lifeless.       There was no doubt that he was 100
 10    percent unconscious or he was deceased.
 11          Q    Is it normal procedure still to cuff a dead
 12    person if you just shot him?
 13          A    I cuffed him, regardless it is procedure, I
 14    did not know.        Later he sat up, so, we always cuff
 15    everyone.
 16          Q    The day of the shooting you did a walk
 17    through of the scene with Sergeant D.C. Bauer;
 18    right?
 19          A    Yes, sir.
 20          Q    Why did you tell Sergeant Bauer that Jeff
 21    was still struggling when he went down on the
 22    ground?
 23          A    He struggled after we rolled him over onto
 24    his side.       He woke up and he was kind of kicking his
 25    leg and struggling, and you can hear that on the
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 118 of 313 PageID #: 552
                                   Weinhaus, Vol. 2                          357




   1   tape, people asking him to hold still and he was
   2   struggling at that point.
   3         Q    So why did you think he was dead if he was
   4   struggling?
   5         A    I thought he was dead initially but my
   6   opinion now is that he was just knocked out, and at
   7   some point he became conscious and began to
   8   struggle.
   9         Q    How long a period went by between you
 10    shooting Jeff, him going down -- strike that.
 11           How long a period went by between Jeff being
 12    cuffed and you thinking he's dead and Jeff starting
 13    to struggle.        How long of a time period, I'm not
 14    going to hold you to an exact --
 15               MR. PARKS:       I object to that, it's
 16    irrelevant to the case in chief here.
 17               JUDGE SUTHERLAND:            Overruled, you may
 18    answer.
 19               THE WITNESS:        Could you repeat the question.
 20          Q    (By Mr. Eastwood) How long a time period
 21    went between you cuffing Jeff and Jeff struggling?
 22          A    When I rolled him onto his side, I
 23    handcuffed him and rolled him onto his side, he was
 24    still unconscious.          Corporal Mertens took over the
 25    medical aid and was talking to him. I stepped away
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 119 of 313 PageID #: 553
                                   Weinhaus, Vol. 2                          358




   1   to make sure Pat, Mike and no one was shot at the
   2   gas station, and when I came back he was struggling
   3   and moving.       And later I looked over again and he
   4   was sitting up, so I don't know exactly what time he
   5   started struggling.           I just know when I looked over
   6   maybe two minutes later, he was struggling and
   7   kicking.
   8         Q    Was he struggling when you removed the gun
   9   from him?
 10          A    No, he was out cold.
 11          Q    Was he struggling when you removed the
 12    holster from him?
 13          A    No, sir.
 14          Q    Do you recognize -- may I approach, Your
 15    Honor?
 16               JUDGE SUTHERLAND:            Yes.
 17          Q    (By Mr. Eastwood) Do you recognize this
 18    document?
 19          A    Yes, sir.
 20          Q    That's the scene walk through that Detective
 21    Bauer did with you?
 22          A    Yes, sir.
 23          Q    And we spoke, when I took your deposition, I
 24    asked you if you reviewed the police reports; right?
 25          A    Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 120 of 313 PageID #: 554
                                   Weinhaus, Vol. 2                          359




   1         Q    And you said you stood by them; right?
   2         A    I said that I believed they were an accurate
   3   description.
   4         Q    Could you read the highlighted portion of
   5   that police report.
   6         A    "Weinhaus spun around and fell to the ground
   7   face first.       Sergeant Folsom immediately went to
   8   Weinhaus and removed the pistol and holster from
   9   Weinhaus' hip area and threw Weinhaus' holster and
 10    pistol away to a safe distance.                Weinhaus was still
 11    struggling with Folsom as Folsom removed the pistol
 12    from him.       Sergeant Folsom placed handcuffs on
 13    Weinhaus with Weinhaus' arms behind his back."
 14          Q    So which is accurate, sir, what it says on
 15    the report that you told me was all right or what
 16    you just said now on the stand?
 17          A    What I said in my initial statements is
 18    accurate.       You'd have to ask Mr. Bauer why he wrote
 19    that.     I didn't write that.
 20          Q    Do you think he made a boo boo, wrote down
 21    what you said wrong?
 22          A    You'd have to ask him, sir.
 23          Q    When I took your deposition, you told me
 24    under oath that you wouldn't change anything.                    I
 25    guess you don't stand by that statement anymore;
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 121 of 313 PageID #: 555
                                   Weinhaus, Vol. 2                          360




   1   right?
   2         A    No, I hadn't noticed that, so I wouldn't
   3   change anything.
   4         Q    Do you know how long passed between your
   5   cuffing -- strike that.
   6          Do you know how long passed between your
   7   shooting Jeff and when the ambulance arrived?
   8              MR. PARKS:       Objection, Your Honor,
   9   irrelevant.
 10               JUDGE SUTHERLAND:            Overruled, you may
 11    answer, if you know.
 12               THE WITNESS:        I do not know the exact time.
 13    I never timed it, but I heard something close to
 14    seven minutes, but I heard that from other people.
 15          Q    (By Mr. Eastwood) Sergeant Smith's report
 16    indicates that it's nine minutes, does that sound
 17    accurate?
 18          A    If that's what he wrote, I guess.
 19          Q    And you told Perry Smith, the investigating
 20    trooper, that Jeff was bleeding out of his head
 21    during that time; right?
 22          A    Yes, I saw blood -- I saw blood all over his
 23    face and torso, and there was a pool of blood on the
 24    ground.      The ground was pretty heavily soaked with
 25    blood, and he was laying on his side in the blood.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 122 of 313 PageID #: 556
                                   Weinhaus, Vol. 2                          361




   1         Q    Did you provide first aid to Jeff Weinhaus?
   2         A    I rolled him over onto his side, which is
   3   recovery position.          I immediately got down to talk
   4   to him and apply pressure.                I pointed out where I
   5   had struck him with the rounds so Corporal Mertens
   6   could apply appropriate techniques, and I went to
   7   check on everyone.
   8         Q    You went to check on?
   9         A    I went to check on the people at the gas
 10    station, Agent Cunningham and make sure no one else
 11    was injured or shot.
 12          Q    So you did not provide first aid?
 13          A    Other than rolling him onto the recovery
 14    side and coming back and checking on Corporal
 15    Mertens who was doing aid and talking to him, I
 16    didn't do any further medical aid.                I made sure the
 17    ambulance was on the way.
 18          Q    Would your training and experience suggest
 19    that it's important to administer first aid to
 20    someone who has been shot four times at close range?
 21          A    Yes, sir.
 22          Q    Can you administer adequate first aid while
 23    the suspect is still handcuffed?
 24          A    I guess it depends on his injuries, sir.
 25          Q    Let's talk about Jeff Weinhaus' injuries,
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 123 of 313 PageID #: 557
                                   Weinhaus, Vol. 2                          362




   1   two shots to the chest, two shots to the head.
   2   Could you give him adequate first aid while he's
   3   still handcuffed?
   4              MR. PARKS:       Objection, calls for
   5   speculation.
   6              MR. EASTWOOD:         Training and experience.
   7              JUDGE SUTHERLAND:            Overruled, answer if
   8   you're able.
   9              THE WITNESS:        We were applying pressure to
 10    the wounds.       Scott Mertens started applying pressure
 11    to the wounds, and I think that can be done in any
 12    position, handcuffed or unhandcuffed.
 13          Q    (By Mr. Eastwood) Did you treat for shock?
 14          A    When I rolled him over onto his side, that's
 15    what's known as the recovery position, so that was
 16    the best position to place him in being wounded in
 17    the head and torso.
 18          Q    This was on a gravel incline; right?
 19          A    It was on -- well part that was slightly
 20    elevated, yes.
 21          Q    And it was gravely?
 22          A    Yeah.
 23          Q    Did you do anything to protect his head or
 24    did anyone do anything underneath his head?
 25               MR. PARKS: Objection, irrelevant.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 124 of 313 PageID #: 558
                                   Weinhaus, Vol. 2                          363




   1              JUDGE SUTHERLAND:            Overruled.
   2              THE WITNESS:        We don't have anything to put
   3   under his head.
   4         Q    (By Mr. Eastwood) Didn't have any clothes to
   5   put under his head?
   6         A    I don't think anyone was thinking that.                  We
   7   rolled him over to his side and applied pressure to
   8   the wounds.       We could have done a lot of things.
   9         Q    Sometimes treating for shock is to cover the
 10    patient to warm the patient up; is that correct?
 11          A    Yes, sir.
 12          Q    That was not done here?
 13          A    Like I said, we didn't have anything to put
 14    over him to warm him.
 15          Q    You testified that you didn't give first
 16    aid.      Do you know if anyone else treated for
 17    breathing?
 18          A    You'd have to ask Corporal Mertens.                I know
 19    he had him in the recovery position and he began to
 20    struggle not long after that.
 21          Q    Struggle, he was still cuffed; right?
 22          A    Yeah, he began kicking his feet.
 23          Q    He was still in your custody; right?
 24          A    Yes, sir.
 25          Q    Did anyone check heart rate and pulse to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 125 of 313 PageID #: 559
                                   Weinhaus, Vol. 2                          364




   1   your knowledge?
   2         A    You'd have to ask Corporal Mertens if he
   3   did, sir.
   4         Q    Did you search Jeff's person, his clothes,
   5   for weapons, contraband or anything like that?
   6         A    When I handcuffed him and rolled him over on
   7   that side, I searched his side and I briefly
   8   searched the other side and rolled him over into the
   9   position, I didn't see anything.
 10          Q    Were you particularly concerned about
 11    weapons or contraband at that point in time?
 12          A    Once I had him handcuffed behind his back
 13    and I swept his waistband and other areas reachable
 14    and I didn't see any weapons, I wasn't that
 15    concerned.
 16          Q    Sergeant Folsom, I think you testified
 17    earlier you're a pretty good shot; right?
 18          A    I think a decent shot, yes, sir.
 19          Q    You're a pretty quick shot; right?
 20          A    Yes, I'm very fast.
 21          Q    And in fact you know how to use your weapons
 22    almost instinctively based on your military training
 23    and law enforcement training; right?
 24          A    Yes, sir.
 25          Q    But you also have a nerve injury, don't you?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 126 of 313 PageID #: 560
                                   Weinhaus, Vol. 2                          365




   1         A    Yes, sir, I do.
   2         Q    And you have a condition in your nerves that
   3   makes you partially paralyzed; is that not correct?
   4         A    Yes, sir, I do.
   5         Q    And it also gives you tremors and shakes; is
   6   that not correct?
   7         A    Yes, sir, it does.
   8         Q    It affects your arms?
   9         A    It affects both my arms and legs.
 10          Q    Does it affect your hands?
 11          A    Yes, it does.
 12          Q    So it affects your arms and your hands?
 13          A    Yes, sir.
 14          Q    And it impairs your fine motor skills,
 15    doesn't it, sir?
 16          A    At times it does.
 17          Q    In fact you get disability compensation for
 18    these tremors, don't you?
 19          A    Yes, I am a disabled veteran.
 20          Q    And these tremors, these shakes, they're
 21    made worse by the presence of adrenaline, aren't
 22    they?
 23          A    In my case, when the adrenaline jumps, my
 24    tremors are worse.          I know that from previous
 25    experiences, it's just something I can't control but
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 127 of 313 PageID #: 561
                                   Weinhaus, Vol. 2                          366




   1   my tremors are worse with adrenaline.                 It's normal
   2   for people to have tremors after something like that
   3   or a dump of adrenaline, so in my case having
   4   already being partially paralyzed in my nerves and
   5   having the added adrenaline, my hands do shake.
   6         Q    And in fact on the day and time that you
   7   shot Jeff Weinhaus, those shakes and tremors kicked
   8   in, didn't they?
   9         A    Yes.     When I began to secure the weapon from
 10    Mr. Weinhaus and put it in the holster, my hands
 11    began to shake.
 12          Q    And your training teaches you that when you
 13    see a gun, your adrenaline automatically rushes in,
 14    and they teach you that in the Highway Patrol;
 15    right?
 16          A    I think when anyone sees a gun their
 17    adrenaline starts to elevate.
 18          Q    Fair statement, I think that's a matter of
 19    common sense, sure.           And so when you saw Jeff
 20    Weinhaus had a gun, your adrenaline kicked in;
 21    right?
 22          A    Yes, sir.
 23          Q    And you also told Perry Smith, and I think
 24    you just told us earlier, that you had cut your hand
 25    just before you shot Jeff; is that also correct?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 128 of 313 PageID #: 562
                                   Weinhaus, Vol. 2                          367




   1         A    No, sir, that's not correct.
   2         Q    Did you cut your hand?
   3         A    My thumb was cut after I fired the first
   4   round by the slide coming back.
   5         Q    Which hand was it cut?
   6         A    On my right thumb, it's still scarred today.
   7         Q    How did you cut it?
   8         A    When I fired my weapon with the left hand, I
   9   had not met my grip yet, and when I went to put my
 10    grip in, the slide came back from me firing the
 11    round, and when the slide came forward, it sliced
 12    open my thumb as I met my grip prior to firing the
 13    second round.
 14          Q    Did it hurt you?
 15          A    Yes, sir, it was painful.
 16          Q    Did the pain bother you?
 17          A    Now?
 18          Q    No, at the time.
 19          A    No, I didn't even notice it until after it
 20    was over.
 21          Q    Are you taught that you are a better shot
 22    when you have both hands on a gun than one hand on a
 23    gun?
 24          A    Yes, sir.
 25          Q    And when you first started shooting Jeff
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 129 of 313 PageID #: 563
                                   Weinhaus, Vol. 2                          368




   1   Weinhaus, you only had one hand on the gun; right?
   2         A    When I fired the first round, I only had one
   3   hand on the weapon, sir.
   4         Q    And you moved as you shot Jeff Weinhaus;
   5   right?
   6         A    Yes, sir.
   7         Q    You moved in I think you said a counter
   8   crescent position; right?
   9         A    I moved to the left, yes, sir.
 10          Q    And you moved because in your back sight you
 11    had innocent civilians, FBI, propane tanks and gas
 12    tanks; right?
 13          A    Yes, sir.
 14          Q    But you started shooting when those things
 15    were still in your back sight; right?
 16          A    No, sir.
 17          Q    You've reviewed Perry Smith's report on this
 18    investigation; right?
 19          A    Yes, sir.
 20          Q    And you told me under oath when I took your
 21    deposition that you thought it was substantially
 22    accurate; right?
 23          A    Yes, sir.
 24          Q    And you wouldn't change anything?
 25          A    Yes, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 130 of 313 PageID #: 564
                                   Weinhaus, Vol. 2                          369




   1         Q    Perry Smith seems to suggest that you fired
   2   and then that you were trying to get a safe backdrop
   3   as you moved; is that correct?
   4         A    I think he probably miswrote that.                I moved
   5   trying to get a safe backdrop.
   6         Q    Do you want to look at it?
   7         A    I believe you, sir.             You'd have to ask Perry
   8   Smith why he wrote that.
   9         Q    You didn't catch that when you reviewed
 10    this?
 11          A    No, sir.
 12          Q    Did you tell him something different?
 13          A    I don't believe that I did.             As a matter of
 14    fact, I was audio recorded, so I don't believe that
 15    I did.
 16          Q    You don't believe that you told him
 17    something different?
 18          A    No.
 19          Q    You think he wrote it down wrong?
 20          A    You'd have to ask him.
 21          Q    Didn't you also tell Perry Smith, though,
 22    when you spoke to him and he recorded your
 23    conversation that you were nervous that you may have
 24    fired at the guttermen?
 25          A    It happened so fast I was nervous when I
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 131 of 313 PageID #: 565
                                   Weinhaus, Vol. 2                          370




   1   heard the screaming.           When I heard the screaming, I
   2   was nervous that maybe I hadn't cleared the backdrop
   3   as well as I thought I had.
   4         Q    And you also told Perry Smith that at the
   5   time you suspected the guttermen might somehow be
   6   affiliated with Jeff; right?
   7         A    I did, in my opinion, they just showed up at
   8   the half abandoned store and started cleaning out
   9   the gutters.        There were minimal gutters, I just
 10    wasn't sure why they were there.
 11          Q    So you could have been shooting at the enemy
 12    for all you know; right?
 13          A    I did not fire at them.
 14          Q    But you did tell Perry Smith that you may
 15    have fired at them; right?
 16          A    I told him when I heard the screaming, I was
 17    not sure that maybe I hadn't cleared the backdrop
 18    completely but in my opinion I had.
 19          Q    And as you moved in this circular fashion,
 20    were you concerned that you were getting into the
 21    line of fire of Corporal Mertens?
 22          A    No.    Corporal Mertens was, I believe, to my
 23    right and rear, and so I was stepping at the same
 24    time and I was increasing my distance away from him,
 25    but I wasn't even aware that he had fired until
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 132 of 313 PageID #: 566
                                   Weinhaus, Vol. 2                          371




   1   after the incident was over and I asked him if he
   2   fired his weapon and he said he thought he had.
   3         Q    Sergeant Folsom, you testified earlier that
   4   you killed a man earlier in the line of duty as a
   5   law enforcement officer; is that correct?
   6         A    Yes.
   7         Q    In fact you shot a man in his home after you
   8   said he had a gun; right?
   9              MR. PARKS:       I object to the relevance of
 10    this.
 11               MR. COMBS:       Approach, Your Honor.
 12               JUDGE SUTHERLAND:            Yes, come on up.
 13                       (BENCH CONFERENCE BEGINS)
 14               MR. EASTWOOD:         I think this is relevant for
 15    a couple of reasons; common scheme or plan in his
 16    shooting of other civilians with a gun.                  I think it
 17    also goes to the fact that the way that both events
 18    were reported is strikingly similar.                 I think that
 19    that goes to its intent for shooting Mr. Weinhaus,
 20    and I think it's fair impeachment.                He opened the
 21    door by testifying to it.
 22               MR. PARKS:       What's the relevance of it to
 23    here?     It doesn't have anything to do with this
 24    case, and it doesn't go to any impeachment of him.
 25    He was on duty, it was ruled a clean shoot.                   What's
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 133 of 313 PageID #: 567
                                   Weinhaus, Vol. 2                          372




   1   the relevance?
   2              JUDGE SUTHERLAND:            I don't think it's very
   3   relevant and it's remote in time as well.                  The
   4   objection is sustained.
   5              MR. EASTWOOD:         I would like to make an Offer
   6   of Proof of that at the appropriate time.                  Thank
   7   you, sir.
   8                       (BENCH CONFERENCE ENDS)
   9         Q    (By Mr. Eastwood) Do you dislike
 10    Mr. Weinhaus?
 11          A    No, I do not dislike him.            I feel sorry for
 12    him.
 13          Q    That day you went to the gas station, had he
 14    gotten under your skin?
 15          A    No, sir.
 16          Q    But you were kind of scared of him; right?
 17          A    No, sir, I was not afraid of him.
 18          Q    You weren't afraid of him but you were
 19    alarmed by him once he drove into the parking lot;
 20    right?
 21          A    I was alarmed by his actions.
 22          Q    Who uncuffed Jeff when the paramedics
 23    arrived, was it you?
 24          A    I don't believe that I did.             At some point
 25    later I found out that my handcuffs were on the
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 134 of 313 PageID #: 568
                                   Weinhaus, Vol. 2                          373




   1   trunk of Corporal Mertens' car.                I don't believe it
   2   was me.
   3         Q    But you were the one that cuffed him though?
   4         A    I cuffed him initially but I don't believe I
   5   unhandcuffed him.
   6         Q    Just to review, since you shot Jeff
   7   Weinhaus, you have been on leave from the Highway
   8   Patrol?
   9         A    Right after I shot Mr. Weinhaus, I was off
 10    for a few days, I came back to work for a few days,
 11    then I've been off on extended leave, I believe,
 12    since November 11th, I believe it is.                 I've never
 13    worked again, other than my Court testimony.
 14          Q    You turned your gun over at the scene;
 15    right?
 16          A    Yes, I turned over my small subcompact gun.
 17          Q    Have you ever been issued a gun since by the
 18    Highway Patrol?
 19          A    I still have guns issued by the Highway
 20    Patrol.      They asked me if I wanted that gun replaced
 21    and I said no.
 22          Q    But you can't use them in the line of duty
 23    right now; right?
 24          A    I am not on active duty.            I'm not supposed
 25    to take any enforcement actions, so I do not carry a
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 135 of 313 PageID #: 569
                                   Weinhaus, Vol. 2                          374




   1   weapon.
   2         Q     Are you allowed to wear the uniform of the
   3   Highway Patrol right now?
   4         A     No, sir.
   5               MR. EASTWOOD:        I have no further questions
   6   at this time, Your Honor.
   7               JUDGE SUTHERLAND:           Redirect?
   8               MR. PARKS:      I have no redirect, Your Honor.
   9               JUDGE SUTHERLAND:           May this witness be
 10    finally excused?
 11                MR. PARKS:      He's more than welcome to stay
 12    or he can leave as far as I'm concerned.
 13                JUDGE SUTHERLAND:           Thank you.    You are
 14    excused and free to stay or go as you wish.
 15                MR. PARKS:      This might be a good time for a
 16    lunch break or do you want me to start on the next
 17    one?
 18                JUDGE SUTHERLAND:           Yes, we have lunch set up
 19    for about noon.         Call your next witness.
 20                MR. PARKS:      I call Corporal Mertens.
 21              (WHEREUPON CORPORAL MERTENS WAS SWORN IN)
 22               DIRECT EXAMINATION OF CORPORAL MERTENS
 23    QUESTIONS BY MR. PARKS:
 24          Q     Please state your name for the Court.
 25          A     My name is Scott, middle initial E, last
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 136 of 313 PageID #: 570
                                   Weinhaus, Vol. 2                          375




   1   name is Mertens.
   2         Q    And you are a corporal with the Missouri
   3   State Highway Patrol; is that correct?
   4         A    That is correct.
   5         Q    How long have you been with the Highway
   6   Patrol?
   7         A    Since January 1st of 1996.
   8         Q    And have you had any special training in the
   9   detection of drugs or marijuana?
 10          A    Yes, I have.
 11          Q    What training have you had?
 12          A    I've had training in the academy.               I also
 13    served as the Troop I eradication officer for a year
 14    and also zone eradication for several years in the
 15    zone that I was assigned in prior to coming into the
 16    Criminal Investigation Unit.
 17          Q    And I direct your attention to August 22nd.
 18    Did you and Sergeant Folsom do a non-custodial
 19    interview with Mr. Jeff Weinhaus?
 20          A    Yes, we did.
 21          Q    And do you see Mr. Weinhaus in the courtroom
 22    today?
 23          A    The podium is blocking him.
 24          Q    You may stand.
 25          A    But yes, he's there with the glasses on the
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 137 of 313 PageID #: 571
                                   Weinhaus, Vol. 2                            376




   1   right side of the defense table.
   2              MR. PARKS:       Your Honor, would the record so
   3   reflect the witness has identified the defendant.
   4              JUDGE SUTHERLAND:            The record will so
   5   reflect.
   6         Q    (By Mr. Parks) When you went to the
   7   defendant's home, why did you go there?
   8         A    It was Sergeant Folsom's investigation.                  I
   9   hadn't been involved in the investigation until that
 10    time, and he requested I go with him to contact
 11    Mr. Weinhaus referencing a threat on a judicial
 12    officer.
 13          Q    Did you initially go to the house or did you
 14    have to find the house?
 15          A    We had to find the house.            We looked in
 16    Crawford County first and we had some information
 17    that he was at Piney Park, I think from a webcast or
 18    something that he had done, so we ended up at Piney
 19    Park at the residence he was at.
 20          Q    When you got to the residence, what
 21    happened?
 22          A    There was several residences, two or three
 23    residences up there, we weren't sure which one was
 24    his, and the first one that was up the road, we
 25    decided we'd start with that one. So we walked to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 138 of 313 PageID #: 572
                                   Weinhaus, Vol. 2                          377




   1   that residence, knocked on the door and Mr. Weinhaus
   2   answered the door.
   3         Q    Where were you standing when Mr. Weinhaus
   4   came to the door?
   5         A    Probably three or four steps, maybe five
   6   steps down because it was a small walkway, and for
   7   officer safety reasons when you walk up on the
   8   house, you don't want to put both people right up
   9   there next to the door in case something happens.
 10          Q    When Mr. Weinhaus came to the door, did you
 11    recognize him?
 12          A    Absolutely.
 13          Q    How did you recognize him?
 14          A    From the video that I had previously seen.
 15          Q    When he came to the door, what happened?
 16          A    Mr. Weinhaus stepped out of the doorway,
 17    shut the door behind him.               Sergeant Folsom engaged
 18    him in conversation, asked if we could move off the
 19    porch area there and into the grassy area kind of
 20    down below, and Jeff ultimately led us over to the
 21    carport area, passed the carport area to his truck
 22    to give us a pamphlet that he had.
 23          Q    Was there a conversation then between
 24    Sergeant Folsom and the defendant?
 25          A    Yes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 139 of 313 PageID #: 573
                                   Weinhaus, Vol. 2                          378




   1         Q    And were you a part of that conversation?
   2         A    Off and on.
   3         Q    Was there anyone else in the house?
   4         A    Yes.     At the time we did not know that but
   5   eventually we found out that his wife Judy was in
   6   the house.
   7         Q    And did she come out of the house?
   8         A    Yes, eventually.
   9         Q    Did you contact her?
 10          A    Yes, I did.
 11          Q    Did you ask her for permission to search the
 12    house?
 13          A    Yes, I did.        No, I'm sorry, I asked her if
 14    there was anything illegal in the house.
 15          Q    And what happened?
 16          A    She said that she did not have anything
 17    illegal in the house.
 18          Q    So when you searched the house, were you
 19    looking for anything illegal that she might have
 20    had?
 21          A    We were looking for anything that was
 22    included in on the warrant once the warrant was
 23    issued.
 24          Q    And after the conversation ended with you
 25    and Sergeant Folsom and the defendant, what happened
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 140 of 313 PageID #: 574
                                   Weinhaus, Vol. 2                          379




   1   next?
   2         A    Sergeant Folsom had placed him in handcuffs
   3   and he went to go apply for a search warrant for the
   4   residence.       He left me behind to have conversation
   5   and keep the Weinhauses from entering their
   6   residence, to secure the residence so they didn't go
   7   in and destroy any type of evidence.                 So I stayed
   8   behind with another trooper that we called for
   9   back-up, and he also arrived there to help me so I
 10    wasn't stuck there by myself with people.
 11          Q    After the search warrant was obtained, what
 12    did you and Sergeant Folsom do next?
 13          A    Sergeant Folsom returned, we left two or
 14    three of the officers outside with Mr. Weinhaus to
 15    make sure he didn't come in during the search and we
 16    conducted a search of the residence.
 17          Q    When you searched the residence, did you
 18    start in the upstairs area?
 19          A    Yes.
 20          Q    What did you find there?
 21          A    Sergeant Folsom seized some computers there
 22    just at the top of or as you come into the front
 23    door, there was like a computer desk there and
 24    explained that that was for the judicial threats.
 25    We have a computer forensic lab that would look at
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 141 of 313 PageID #: 575
                                   Weinhaus, Vol. 2                          380




   1   the hard drives and anything that was on the
   2   computer.
   3         Q    And did you find anything else in the
   4   upstairs?
   5         A    There was also a gun located in the back
   6   bedroom, I would call it, probably the master
   7   bedroom.
   8         Q    And I show you what has been marked as
   9   State's Exhibit No. 27.             Does this look like the gun
 10    and holster that you found in the house?
 11          A    Yes.
 12          Q    And did you seize this gun and holster at
 13    that time?
 14          A    No, we did not.          We determined it belonged
 15    to someone other than Mr. Weinhaus, and there was
 16    nothing else packaged with it, no drugs in the
 17    drawer with it or anything illegal, so we decided
 18    that the gun would not be seized.
 19          Q    What did you do next?
 20          A    The basement was also searched while we were
 21    there.
 22          Q    The basement area?
 23          A    Yes, the basement area.
 24          Q    And did you notice anything unusual about
 25    the basement area?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 142 of 313 PageID #: 576
                                   Weinhaus, Vol. 2                          381




   1         A    If you compare it to my basement, no,
   2   because I have a lot of clutter, newly built house
   3   and many boxes still unpacked in there, but it was
   4   just a big storage area, and then off to one corner
   5   on the -- if you're looking at the front, it would
   6   have been on the right side of the house was kind of
   7   a room partitioned off with -- that you saw in the
   8   video.
   9         Q    During your conversation, had the defendant
 10    talked about this being his command center?
 11          A    I believe he did but to say that's his exact
 12    words, I do not know.
 13          Q    When you got into this room, did you
 14    recognize the background from the video?
 15          A    Yes, the background was the same as what we
 16    saw in the video.
 17          Q    Did you commence to search this area of the
 18    house?
 19          A    Yes, we did.
 20          Q    What did you find there?
 21          A    Actually to clarify that, Sergeant Folsom
 22    searched that area, I was standing in the background
 23    because there's not really enough room for two
 24    people in there, it was a very small area.                   I did a
 25    secondary search after Sergeant Folsom did his
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 143 of 313 PageID #: 577
                                   Weinhaus, Vol. 2                          382




   1   preliminary search just to make sure.                 We try to do
   2   that in case an officer misses something or doesn't
   3   see something, a second officer at least has an
   4   opportunity to put eyes on it.
   5         Q    I show you what has been marked as State's
   6   Exhibit No. 6.        Do you recognize this photo?
   7         A    Yes, I do.
   8         Q    What do you recognize this photo to be?
   9         A    That is some of the evidence that Sergeant
 10    Folsom discovered in the area of Mr. Weinhaus' back
 11    room.
 12          Q    I show you what's been marked as State's
 13    Exhibit No. 7.        Do you recognize this photo?
 14          A    Yeah, it's the same evidence, just spread
 15    out.
 16          Q    And all of this evidence was taken from the
 17    container, with the exception of the large bottle,
 18    all came out of that case?
 19          A    That is correct.
 20          Q    And what are the items that are in that
 21    case?
 22          A    I didn't bring my glasses, so it's hard for
 23    me to see.       There was some -- two marijuana smoke
 24    pipes or what we'd call marijuana smoke pipes, a
 25    crusher, it crushes marijuana, you put marijuana
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 144 of 313 PageID #: 578
                                   Weinhaus, Vol. 2                          383




   1   inside it and you kind of spin it and crush it.                     It
   2   even has the marijuana leaf on top of the crusher,
   3   and you just asked for the ones inside, right?
   4         Q    Yes.     And then the items on the outside, the
   5   jar?
   6         A    The glass jar and the Camel tin.
   7         Q    And the glass jar contained what?
   8         A    I believe it contained marijuana.
   9         Q    And the tin is where you found the -- where
 10    the pills were found?
 11          A    Yes, Sergeant Folsom found the pills inside
 12    the container.
 13          Q    And also the scale was found inside this
 14    container?
 15          A    Yes, I believe so, yes.
 16          Q    And looking at six, we can see, you can see
 17    the scale inside that with all the marijuana and the
 18    drugs and the drug paraphernalia, that was all
 19    packaged together?
 20          A    Yes.
 21          Q    Did you search any place else in the house?
 22          A    We just searched the entire house.
 23          Q    And did you find anything else of
 24    evidentiary value?
 25          A    Not of evidentiary value, I don't believe.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 145 of 313 PageID #: 579
                                   Weinhaus, Vol. 2                          384




   1         Q    Did you find a bag of marijuana?
   2         A    Oh, yeah, I'm sorry, yes, we did find a bag
   3   of marijuana just off to the left of the place where
   4   Mr. Weinhaus had -- if you're looking at the front
   5   of the house, it would have been to the left of the
   6   place where Mr. Weinhaus had his little office set
   7   up.
   8         Q    I show you what has been marked as State's
   9   Exhibit No. 11.         Do you recognize this photo?
 10          A    Yes, that's the bag that contained the
 11    marijuana on the top of the shelf.
 12          Q    Did you seize that?
 13          A    Yes, I did.
 14          Q    And where was that located?
 15          A    That was located -- you can kind of see a
 16    doorway in the lower left and that goes to the
 17    laundry room, and this laundry room, the laundry
 18    room and the office were kind of separating or that
 19    was in between the laundry room and the little
 20    office area where he had the backdrop for his pod
 21    cast.
 22          Q    After you had searched and seized these
 23    items, what did you do next?
 24          A    I was responsible for filling out the search
 25    warrant return, so I began filling out the search
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 146 of 313 PageID #: 580
                                   Weinhaus, Vol. 2                          385




   1   warrant return of everything to include the serial
   2   numbers of the computer, things like that, list of
   3   what we seized.         We have to do that within a certain
   4   amount of time and get it back to the Court so the
   5   Court knows what we seized from the residence.
   6         Q    And these items were sent to the Missouri
   7   State Highway Patrol for analysis?
   8         A    Yes, they were.
   9         Q    I direct your attention now to September
 10    11th, 2012.
 11          A    Yes.
 12          Q    Did you and Sergeant Folsom execute an
 13    arrest warrant on the defendant?
 14          A    Yes, we did.
 15          Q    On September 11th, what were your plans for
 16    executing this arrest?
 17          A    Sergeant Folsom and I discussed what we were
 18    going to do that day and tried to figure out how to
 19    get Jeff to meet us without a huge confrontation or
 20    anything like that.           So we decided to do the ruse of
 21    returning his computers, and we came up with the
 22    ruse to call him and say hey, we're here to return
 23    your computers.         We wanted to do it before the 17th,
 24    the day that he called Constitution Day, so he could
 25    be arrested prior to that day of his day that he
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 147 of 313 PageID #: 581
                                   Weinhaus, Vol. 2                          386




   1   said he was going to occupy the courthouse.
   2         Q    And you had seen the videotape of
   3   Mr. Weinhaus where he said that he -- September 17th
   4   was the day when these county officials or
   5   officials, state officials should remove themselves
   6   from office?
   7         A    Yes, I had seen that.
   8         Q    And when you got to the scene, what did you
   9   do?
 10          A    When we got to the scene, we -- to the scene
 11    at the?
 12          Q    At the gas station, the MFA station.
 13          A    When we got to the MFA station, we kind
 14    of -- the first time we went there or later?                    I'm
 15    not sure what you're asking me there.
 16          Q    When you set up to effect the arrest of
 17    Mr. Weinhaus, what did you do?
 18          A    We met with the FBI agents there, kind of
 19    came up with a plan of how we were going to take
 20    Mr. Weinhaus into -- under arrest, and then Sergeant
 21    Folsom ended up calling Mr. Weinhaus on the
 22    telephone who said he was going to bring additional
 23    people, so at that time we decided to have the FBI
 24    stage across the parking lot so in case someone else
 25    did come, they could approach from behind and
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 148 of 313 PageID #: 582
                                   Weinhaus, Vol. 2                          387




   1   provide kind of security from behind the other
   2   people so they didn't know that they were there.
   3         Q    And I show you what has been marked as
   4   State's Exhibit No. 14.             Do you recognize this?
   5         A    Yes.
   6         Q    What do you recognize this to be?
   7         A    I recognize that as the parking lot of the
   8   MFA Oil Station on Route K.
   9         Q    And the white car here, is that your car?
 10          A    That was my issued patrol car at the time.
 11          Q    And the blue Subaru, what car is that?
 12          A    The Subaru is Mr. Weinhaus' car.
 13          Q    And now this photo was taken after the
 14    shooting; is that correct?
 15          A    That is correct.
 16          Q    And so there are other cars, we see a white
 17    Highway Patrol car and a wagon, several other
 18    Highway Patrol and county vehicles there that were
 19    not there during the incident; is that correct?
 20          A    That is correct.
 21          Q    I show you what has been marked as State's
 22    Exhibit No. 19.         Do you recognize this?
 23          A    Yes, that is just another angle of the MFA
 24    parking lot.
 25          Q    And I show you what has been marked as
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 149 of 313 PageID #: 583
                                   Weinhaus, Vol. 2                          388




   1   State's Exhibit No. 16.             Do you recognize that?
   2         A    Yes.
   3         Q    Now this is the angle of the car where --
   4   this is where Jeff's car, the defendant's car ended
   5   up; is that correct?
   6         A    That is correct.
   7         Q    When the defendant's car pulled in, and you
   8   all were sitting here in your white car prior to the
   9   defendant pulling in; is that correct?
 10          A    Yes.
 11          Q    How were you dressed?
 12          A    I was dressed in khaki cargo style pants,
 13    they're like a 511 style pant, and a Highway Patrol
 14    emblemed polo shirt.
 15          Q    How were you armed?
 16          A    I was armed with an issued Glock 27, it's a
 17    subcompact pistol.
 18          Q    Now that is what you normally carry in your
 19    role as a detective; is that correct?
 20          A    They give us the option of carrying the
 21    larger Glock 22, it's a larger model, it has more
 22    capacity and a magazine for more rounds, but I
 23    usually chose to carry the subcompact just because
 24    you can conceal it a little better from people.
 25          Q    It's easier to ride in the car with that
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 150 of 313 PageID #: 584
                                   Weinhaus, Vol. 2                          389




   1   one, isn't it?
   2         A    Easier all the way around.
   3         Q    Did you have your larger capacity Glock with
   4   you?
   5         A    Yes, it was inside the car.
   6         Q    What other weapons did you have?
   7         A    I had an AR15, and I also had a shotgun
   8   inside the car.
   9         Q    Did you have a ballistic vest?
 10          A    Yes, I did.
 11          Q    Do you have that on at the time?
 12          A    No, I did not.
 13          Q    Why not?
 14          A    We're not required to wear our ballistic
 15    vests as investigators, the road guys are because
 16    they deal with people on a regular basis.                  When we
 17    usually go somewhere that we think is going to be a
 18    major threat or something like that, we'll put the
 19    vests on.       That day Sergeant Folsom and I even
 20    discussed in the car, I think he brought it up to
 21    me, and I said "well, Jeff is not going to do
 22    anything.       If he thinks he's getting his computers
 23    back, it's just going to be an easy arrest", and so
 24    we chose not to put the vests on.
 25          Q    And so you were at the driver's door and got
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 151 of 313 PageID #: 585
                                   Weinhaus, Vol. 2                          390




   1   out of the driver's door of the car when
   2   Mr. Weinhaus arrived?
   3         A    That is correct.
   4         Q    And Sergeant Folsom got out of the passenger
   5   side seat of the white car; is that correct?
   6         A    That is correct.
   7         Q    And where did you take up position?
   8         A    I started to go toward Mr. Weinhaus' vehicle
   9   and Sergeant Folsom stopped me and requested that I
 10    go to the trunk and pop the trunk to support the
 11    ruse that we were returning his computer.
 12          Q    And had you all planned to do this ruse?
 13          A    Yes.
 14          Q    And I show you what's been marked as State's
 15    Exhibit No. 17.         Do you recognize this?
 16          A    Yes.
 17          Q    And in this photo, where would you have been
 18    when Mr. Weinhaus got out of his vehicle?
 19          A    As I was approaching, when he got out of the
 20    vehicle, I think I actually had turned around to
 21    push the trunk release inside the car.                 We had had
 22    the windows down, it was a nice day, we were sitting
 23    there in the parking lot with the car off, so we had
 24    rolled down the windows, and I reached into the car
 25    to push the trunk release and then walked back to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 152 of 313 PageID #: 586
                                   Weinhaus, Vol. 2                          391




   1   the trunk.       So somewhere in that period of time is
   2   when he would have gotten out of the car.
   3         Q    What happened next?
   4         A    I lifted the trunk, opened the trunk and
   5   heard him and Sergeant Folsom start to engage in
   6   conversation, and I heard Sergeant Folsom say, "what
   7   are you doing with that gun".
   8         Q    What do you do at this time?
   9         A    Drew my gun, brought it to the high ready.
 10    I was on the SWAT team, and we're taught that to
 11    keep it up high because it's a lot quicker to push
 12    it out and take control of the firearm than it is to
 13    keep it low all the time.
 14          Q    Did you see the defendant at this time?
 15          A    Yes, I did.        I had a clear view of
 16    Mr. Weinhaus.
 17          Q    What was the defendant doing at this time?
 18          A    The defendant was engaged in conversation
 19    with Sergeant Folsom and I was approaching him.
 20          Q    What did you see?
 21          A    As I was approaching Mr. Weinhaus, I saw him
 22    reach down and he pulled on the flap of the green
 23    holster, which released it.                Mr. Weinhaus stuck his
 24    hands back down to his side and gave a, I would call
 25    it a cold chill or something like that, where he did
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 153 of 313 PageID #: 587
                                   Weinhaus, Vol. 2                          392




   1   like a tremor, and immediately I thought this is
   2   bad.
   3         Q    And is this the holster that he had on or is
   4   this the type?
   5         A    It is similar.
   6         Q    So you saw him go down and release?
   7         A    I did not see him grab the strap.               I just
   8   saw him reach up in front of it and pull it down and
   9   release it, and I saw the front of it pop up
 10    slightly.
 11          Q    And what did his hand do next?
 12          A    His hand went down to his sides and you
 13    could even hear me stutter in the video because my
 14    adrenaline is going, I'm starting to get really
 15    nervous and keep telling myself I've got to breathe,
 16    I've got to breathe, I've got to breathe.
 17          Q    What happened next?             Do you need a glass of
 18    water?
 19          A    No, I'll be all right.              Mr. Weinhaus stuck
 20    his hand underneath the holster and grabbed the butt
 21    of the gun, and I brought my gun straight out
 22    immediately and took a sight picture on his head.
 23          Q    Were you yelling for him to get down on the
 24    ground?
 25          A    I was telling him to get down on the ground.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 154 of 313 PageID #: 588
                                   Weinhaus, Vol. 2                          393




   1         Q    What happened next?
   2         A    He was not complying and as soon as he stuck
   3   his hand under the flap and started to pull the
   4   weapon out of the holster, I fired my service
   5   pistol.
   6         Q    Did you hear Sergeant Folsom fire?
   7         A    Yes, I did.        I never heard mine go off, so I
   8   wasn't even sure I fired.               I felt the recoil of my
   9   gun, but I did hear Sergeant Folsom's rounds going
 10    off.      I never heard my round.              I actually had to
 11    take my magazine out to make sure I did fire because
 12    I knew I could feel the recoil, so.
 13          Q    What did you do after you had shot at the
 14    defendant?
 15          A    We're taught to immediately go and cover the
 16    officer that -- Sergeant Folsom was ahead of me and
 17    he had already started to engage Mr. Weinhaus on the
 18    ground, so I went up and provided cover until he was
 19    able to secure the weapon.                Sergeant Folsom told me
 20    he still has his hand on the gun or something to
 21    that effect, and he struggled with him for a little
 22    while trying to get the holster undone from the belt
 23    it looked like, and then he tossed the holster, he
 24    tossed the holster behind Mr. Weinhaus, and I saw
 25    the gun was inside the holster, and I also saw Agent
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 155 of 313 PageID #: 589
                                   Weinhaus, Vol. 2                           394




   1   Maruschak from the FBI coming our direction.                    So I
   2   immediately left where I was standing.                 And because
   3   I saw Agent Maruschak started to take cover of
   4   Mr. Weinhaus, I immediately went to the car and
   5   contacted Troop C headquarters and requested an
   6   ambulance and additional people.
   7         Q     When you saw the defendant go down, what did
   8   you think had happened?
   9         A     I thought he died.            I can remember thinking
 10    in my head going it looked like an MMA fight when
 11    somebody gets knocked out, it was just a timber, he
 12    went straight down and his muscles all tensed up and
 13    I thought he died.
 14          Q     What did you do after Sergeant Folsom had
 15    removed the gun from the defendant?
 16          A     I went to the car to --
 17          Q     After you came back, did you apply first aid
 18    to the defendant?
 19          A     I tried to keep -- no, not immediately.
 20    There was -- the two cars that we stationed on
 21    either end of where our position was in case
 22    Mr. Weinhaus ran or tried to flee in his vehicle, we
 23    had them stationed on either side of us so we would
 24    have them available to stop him before he got too
 25    far.      Whenever I called for help, I could hear one
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 156 of 313 PageID #: 590
                                   Weinhaus, Vol. 2                          395




   1   of the cars coming our way with his siren and engine
   2   coming, I could hear him coming, so I stepped over
   3   to actually park him, which we're taught to do in
   4   accident scenes and other scenes to make sure that
   5   nobody damages any of the physical evidence, and I
   6   was taught to block the position that Mr. Weinhaus
   7   was in because we didn't want anything to be tainted
   8   or anything like that.             So I parked his car kind of
   9   where it blocked Mr. Weinhaus' position from the
 10    rest of the parking lot.              And you can kind of see
 11    that in this picture here, the silver car out in
 12    front of Mr. Weinhaus' car is where I had him park.
 13    And then when I was talking to him, Mr. Weinhaus
 14    started to move and I said he's not J4, which is
 15    he's not dead.
 16          Q    And you heard that on the video or on the
 17    watch video?
 18          A    I don't think we got that far in the watch
 19    video at that time.
 20          Q    What did you do next?
 21          A    I went to my trunk and got some personal
 22    protective equipment, gloves, and then I went and
 23    started to deal with Mr. Weinhaus.
 24          Q    Was Mr. Weinhaus moving?
 25          A    Yes, he was trying to sit up and I kept
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 157 of 313 PageID #: 591
                                   Weinhaus, Vol. 2                          396




   1   trying to tell him just to lay still, and I kept
   2   him -- I tried to keep him on his side for the
   3   longest time but then he kept trying to sit up.                     And
   4   I thought he's causing himself more damage by trying
   5   to sit up, so I let him go ahead, and I said
   6   Jeffrey, I'm going to let you sit up but don't move
   7   after that, and I kept him like that until the
   8   ambulance got there.
   9         Q    What kind of first aid were you applying?
 10          A    Keeping him calm.            There was no blood coming
 11    out of his chest at the time.                  There was blood
 12    dripping from his face but it had kind of stopped,
 13    it wasn't like it was just running out of his face
 14    or anything like that.             I think he hurt his nose
 15    when he fell forward.
 16          Q    And prior to this time, had you ever had any
 17    contact with the defendant?
 18          A    Yes, on August 22nd.
 19          Q    But besides the going and doing the search
 20    warrant at his home, had you ever had any contact
 21    prior to that?
 22          A    No, I had not.
 23          Q    This investigation?
 24          A    No.
 25          Q    Did you have any animosity toward the
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 158 of 313 PageID #: 592
                                   Weinhaus, Vol. 2                          397




   1   defendant?
   2         A    No, Jeff and I got along very well on the
   3   22nd, and in fact when he called our headquarters,
   4   he referred to me as a very professional officer.
   5         Q    So as you testified, you did not expect any
   6   trouble from the defendant?
   7         A    No, I did not.          And Sergeant Folsom and I
   8   had discussed that and I figured as long as I was
   9   there, everything was going to be fine with
 10    Mr. Weinhaus.
 11               MR. PARKS:       I have no further questions of
 12    this witness, Your Honor.
 13               JUDGE SUTHERLAND:            We'll start on cross.
 14    Cross examination.
 15               MR. EASTWOOD:         Thank you very much, Your
 16    Honor.
 17               CROSS EXAMINATION OF CORPORAL MERTENS
 18    QUESTIONS BY MR. EASTWOOD:
 19          Q    Good morning, Corporal Mertens.
 20          A    Good morning.
 21          Q    What are your current duties and rank with
 22    the Highway Patrol?
 23          A    I'm a corporal with the Missouri State
 24    Highway Patrol, and my duties are a criminal
 25    investigator assigned to the Division of Drug and
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 159 of 313 PageID #: 593
                                   Weinhaus, Vol. 2                          398




   1   Crime Control within the Highway Patrol.
   2         Q    That's where you were assigned at the time,
   3   that's where you were assigned at the time of the
   4   shooting?
   5         A    Yes.
   6         Q    And are you still working there today?
   7         A    Yes, I am.
   8         Q    Still wearing the uniform?
   9         A    I do not wear a uniform very often.                I dress
 10    like this most days.
 11          Q    You're entitled to wear a uniform and carry
 12    a gun and use it in the line of duty?
 13          A    Yes, absolutely.
 14          Q    How long was Sergeant Folsom your partner or
 15    supervisor?
 16          A    I came into the unit I think it was March of
 17    2006, and he was the supervisor of the unit at that
 18    time.
 19          Q    And was he your partner at that time too?
 20          A    He was my supervisor.               Since there was only
 21    two of us at the time, I'd say yeah, he would be my
 22    partner.
 23          Q    Partner and supervisor?
 24          A    Yeah.
 25          Q    And was he your partner and supervisor up to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 160 of 313 PageID #: 594
                                   Weinhaus, Vol. 2                          399




   1   the time of the shooting?
   2         A    Yes.
   3         Q    And then who was your partner or supervisor
   4   since the shooting, someone else?
   5         A    Yes.
   6         Q    Who is that person?
   7         A    Sergeant Dottie Taylor, and I also have
   8   another person that works in the unit named Sergeant
   9   Greg Dubuois.
 10          Q    None of those individuals had any
 11    involvement in the Weinhaus investigation or
 12    shooting?
 13          A    That is correct.
 14          Q    Were you aware -- well let me ask you this,
 15    first of all.        Why didn't you -- did you think at
 16    any time that you ought to serve the warrant on Jeff
 17    at his house earlier in the day of the shooting
 18    other than another location?
 19          A    We discussed that and we -- that was not a
 20    viable option.
 21          Q    You and Sergeant Folsom?
 22          A    That is correct.
 23          Q    And Sergeant Folsom had been your partner,
 24    your supervisor, your mentor for about six years at
 25    this point?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 161 of 313 PageID #: 595
                                   Weinhaus, Vol. 2                          400




   1         A    I would say close to six, yes.
   2         Q    You trusted him and respected his opinion?
   3         A    Yes.
   4         Q    Trusted his judgment?
   5         A    Yes.
   6         Q    You had his back?
   7         A    Yes.
   8         Q    And you concurred in his judgment that it
   9   was not advisable to serve the warrant at Jeff's
 10    house?
 11          A    I don't think it was just his decision, it
 12    was something we discussed and our training tells us
 13    both that's not a good idea.
 14          Q    But you sat in this courtroom when Sergeant
 15    Folsom testified; right?
 16          A    That is correct.
 17          Q    And you also heard that he wasn't too happy
 18    in some ways about having to go serve this arrest
 19    warrant?
 20          A    He expressed that at the time also.
 21          Q    He was anxious because Jeff had really gone
 22    after him?
 23          A    He wasn't anxious about Jeff going after
 24    him, he was more anxious that someone else didn't
 25    take over the investigation.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 162 of 313 PageID #: 596
                                   Weinhaus, Vol. 2                          401




   1         Q    Oh, okay.       You mean so he'd be relieved of
   2   his responsibilities for the investigation and
   3   someone else put on it?
   4         A    Yes.
   5         Q    Did he resent Lieutenant Satterfield for
   6   making him serve this warrant?
   7         A    That's something you'll have to ask
   8   Mr. Folsom, not me.
   9         Q    Did he ever say anything to you about
 10    Mr. Satterfield?
 11          A    Not that I recall.
 12          Q    Now Sergeant Folsom testified at some length
 13    about his experience with Jeff Weinhaus.                  Is it fair
 14    to say this wasn't his first rodeo with Jeff
 15    Weinhaus, he was pretty familiar with him.                   Were you
 16    pretty familiar with him?
 17          A    I think Sergeant Folsom testified that this
 18    was an investigation but he had heard of Jeff
 19    previously.       I don't think he had any other
 20    investigations with Jeff, to my knowledge.
 21          Q    But Sergeant Folsom did say that he was
 22    aware, maybe he hadn't heard directly but he was
 23    aware that Jeff Weinhaus had said that he was going
 24    to occupy courthouses on many dates before?
 25          A    Yes, but I don't think he was assigned that
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 163 of 313 PageID #: 597
                                   Weinhaus, Vol. 2                          402




   1   investigation is what I'm saying.
   2         Q    And he'd been publishing the Bulletinman for
   3   16 years at least and making these threats off and
   4   on?
   5         A    I'm not sure how long he's been publishing
   6   his stuff.
   7         Q    Were you aware that Jeff had made these
   8   threats to remove people from office and to occupy
   9   the courthouses?
 10          A    During the investigation that came up, yes.
 11          Q    And he had made them many times before?
 12          A    I do not know how many times he had made
 13    them before.
 14          Q    But to your knowledge he never actually did
 15    that, occupied a courthouse?
 16          A    Not that I know of.
 17          Q    He never actually had done anything directly
 18    to an elected official or judge, right?
 19          A    Not that I'm aware of.
 20          Q    In fact, did you think that Jeff was
 21    somewhat harmless before you got to the MFA station?
 22          A    To me, yes.
 23          Q    Is that part of the thinking behind your --
 24    the fact that you did not wear a bullet proof vest?
 25          A    Sure.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 164 of 313 PageID #: 598
                                   Weinhaus, Vol. 2                          403




   1         Q    And in fact I think you told Perry Smith,
   2   the investigating trooper, that he, when he got out
   3   of the car, he appeared nicely dressed; right?
   4         A    I said he was nicely dressed, yes.
   5         Q    So he was wearing a shirt and tie; right?
   6         A    Yes.
   7         Q    I also took your deposition; right?
   8         A    Yes.
   9         Q    You were under oath?
 10          A    Yes.
 11          Q    You knew about depositions, you'd been
 12    deposed before, there was a court reporter and
 13    Mr. Parks there?
 14          A    Yes.
 15          Q    It was a fair proceeding?
 16          A    Yes.
 17          Q    And you also told me that after Jeff got out
 18    of the car, this all happened so fast; right?
 19          A    It happened very fast.
 20          Q    And you've seen that video, you've seen it
 21    here in Court, in your deposition, you probably saw
 22    it when you were getting ready for trial; right?
 23          A    Yes.
 24          Q    You watched it together with Sergeant
 25    Folsom?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 165 of 313 PageID #: 599
                                   Weinhaus, Vol. 2                          404




   1         A    No.
   2         Q    At no time?
   3         A    I don't believe so, no.
   4         Q    Now do you have any knowledge or opinion as
   5   to how long it took Jeff to undue his holster and
   6   remove the gun?
   7         A    All I know is from what I saw.
   8         Q    And you can't put a number of seconds on
   9   that?
 10          A    Not and be accurate.                It happened very fast.
 11    Like I said, I turned from my trunk, started to walk
 12    toward him and that's when I saw him start to undue
 13    the holster.
 14          Q    In fact when Jeff got into the -- Jeff first
 15    got out of his car, Sergeant Folsom, your partner,
 16    your supervisor, had directed you to go and stand
 17    behind the trunk of your car; right?
 18          A    No, he did not.
 19          Q    When did he direct you to do that?
 20          A    He didn't direct me to do that, to stand
 21    behind my trunk, he directed me to open my trunk.
 22          Q    So to open your trunk, did you go behind the
 23    car?
 24          A    I went behind the car and opened the trunk,
 25    that's correct.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 166 of 313 PageID #: 600
                                   Weinhaus, Vol. 2                          405




   1         Q    And Jeff was standing by the driver's side
   2   of his car when he first got out?
   3         A    No.    When he first got out, yes.
   4         Q    That would be logical, right, he would have
   5   to be standing by it at some point.                And did Jeff
   6   move towards the back of his car or sideways away
   7   from his car?
   8         A    Toward the -- not toward the back but kind
   9   of straight north.
 10          Q    Like there?
 11          A    Straight north from where the circle is that
 12    you're pointing at.
 13          Q    Towards the X?
 14          A    Towards the X.
 15          Q    Towards Sergeant Folsom?
 16          A    Towards Sergeant Folsom.
 17          Q    Could you see Jeff when you were standing
 18    over here behind the car?
 19          A    Yes, you could even see that in the vehicle
 20    because you have a full view of me and I have a full
 21    view of Jeff.
 22          Q    At what point in time during the
 23    conversation, during the interchange were you able
 24    to see Jeff?
 25          A    As soon as I turned from the trunk I could
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 167 of 313 PageID #: 601
                                   Weinhaus, Vol. 2                          406




   1   see Jeff.
   2         Q    The Subaru at least partially blocked him at
   3   some point in time; right?
   4         A    I was not looking at him at that time
   5   apparently because the time that I saw him was when
   6   I turned from the trunk and saw the -- saw him
   7   standing there.
   8         Q    And he was facing north; right?
   9         A    He was facing towards Sergeant Folsom.
 10          Q    And the holster was on his right-hand side;
 11    right?
 12          A    It was in the right front.
 13          Q    And Sergeant Folsom earlier testified that
 14    Jeff was standing in the bladed position with his
 15    left food forward; right?
 16          A    Yes, he did testify to that.
 17          Q    So if Jeff is standing facing north in a
 18    bladed position with his left foot facing forward,
 19    how are you able to see the holster standing over
 20    there?
 21          A    I'm standing behind the vehicle, and you can
 22    see in the video that I have a full view of Jeff's
 23    body, and Jeff's head squared up to Sergeant Folsom,
 24    as he testified, and I could see the holster, and I
 25    could see him pull the holster flap down and release
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 168 of 313 PageID #: 602
                                   Weinhaus, Vol. 2                          407




   1   the holster flap.
   2         Q    I heard you say that before but my question
   3   is in the video you can certainly see the wrist
   4   catch camera on the left-hand side of Jeff, you can
   5   see you standing over here, but if Jeff's left foot
   6   is forward and the wrist watch camera video can see
   7   you out to the side, how could you see his holster
   8   on his right-hand side?
   9         A    Because in my position I did not see him
 10    bladed.
 11          Q    It was just Sergeant Folsom that saw him
 12    bladed?
 13          A    Yes.
 14          Q    So you saw something different than Sergeant
 15    Folsom?
 16          A    Absolutely.
 17          Q    So you have a different recollection of
 18    that.     Now Jeff's hand, at any point after Sergeant
 19    Folsom, and I think you chimed in "get down on the
 20    ground", did you ever see it go up in the air?
 21          A    No, I did not.
 22          Q    In fact you told me in your deposition that
 23    it absolutely did not go up?
 24          A    Absolutely did not go up.
 25          Q    After you said get down on the ground?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 169 of 313 PageID #: 603
                                   Weinhaus, Vol. 2                          408




   1         A    That is correct.
   2              JUDGE SUTHERLAND:            We need to break for
   3   lunch pretty soon.
   4              MR. EASTWOOD:         I want to play a brief clip
   5   from the camera and it would be a good point in the
   6   cross examination to take a break.
   7              JUDGE SUTHERLAND:            A captive lunch for you
   8   today.     I remind you what you were told at the first
   9   recess.      Until you retire to consider your verdict,
 10    you must not discuss this case among yourselves or
 11    with others or permit anyone to discuss it in your
 12    hearing.      You should not form or express any opinion
 13    about the case until it is finally given to you to
 14    decide.      Do not do any research or investigation on
 15    your own about any matter regarding this case or
 16    anyone involved with the trial.                Do not communicate
 17    with others about the case by any means.                  Do not
 18    read, view or listen to any newspaper, radio,
 19    electronic communication from the Internet or
 20    television report of the trial.                We'll be in recess
 21    until 1:10 p.m.
 22              (WHEREUPON A LUNCHEON RECESS TOOK PLACE)
 23               JUDGE SUTHERLAND:            Was lunch okay?      Okay,
 24    you may take the stand, you're still under oath.
 25    Mr. Eastwood, you may continue your cross
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 170 of 313 PageID #: 604
                                   Weinhaus, Vol. 2                          409




   1   examination.
   2              MR. EASTWOOD:         Thank you, Your Honor.
   3       CONTINUED CROSS EXAMINATION OF CORPORAL MERTENS
   4   QUESTIONS BY MR. EASTWOOD:
   5         Q    Good afternoon.          I believe before we broke
   6   for lunch we were talking about what happened in the
   7   very few seconds before Sergeant Folsom started
   8   shooting, is that your recollection too?
   9         A    Yes.
 10          Q    I think we're on the same page as to where
 11    we left off.        And you testified that although Jeff's
 12    right side was away from you, nevertheless you had a
 13    good view of his holster?
 14          A    Yes, it was on the right front instead of
 15    the right side.
 16          Q    So even though he was bladed with his left
 17    foot, you could see that from where you were?
 18          A    I didn't say he was bladed, I said he was
 19    squared with Sergeant Folsom.
 20          Q    Sergeant Folsom said he was bladed?
 21          A    That's correct.
 22          Q    And crouched?
 23          A    I think you guys discussed him crouching
 24    down to draw the weapon, but he was not crouched as
 25    in crouched down to the ground.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 171 of 313 PageID #: 605
                                   Weinhaus, Vol. 2                          410




   1         Q    What's the distinction?
   2         A    What Sergeant Folsom was saying was pure
   3   speculation that he leaned forward with his
   4   shoulders.       A lot of times when someone draws a gun,
   5   they will lean forward.             We're taught to do that.
   6         Q    You're taught to do that in law enforcement
   7   training?
   8         A    Yes.
   9         Q    Jeff has no law enforcement training?
 10          A    Not that I'm aware of.
 11          Q    He's not a veteran either?
 12          A    I have no idea.
 13          Q    But to your knowledge he never served in the
 14    military and wasn't trained in military tactics;
 15    right?
 16          A    I never was given that information, no.
 17          Q    And which hand did Jeff use to undo this
 18    holster?
 19          A    He used his right hand.
 20          Q    So were you looking at his right-hand the
 21    whole time -- strike that.
 22           Were you looking at his right hand in the two
 23    to three seconds prior to Sergeant Folsom shooting
 24    his first shot?
 25          A    I wasn't only looking at his right hand, no,
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 172 of 313 PageID #: 606
                                   Weinhaus, Vol. 2                          411




   1   I was looking at his entire body.               I had a view of
   2   his entire body.
   3         Q    When Sergeant Folsom said, "why do you have
   4   a gun, Jeff", where did you look first?
   5         A    I looked at Jeff Weinhaus.
   6         Q    Where on his body?
   7         A    I looked at Jeff Weinhaus, I'm not sure if I
   8   looked at any particular part of his body but I
   9   could see his entire body.
 10          Q    How far away from him were you?
 11          A    From the map over there I would hate to
 12    guesstimate.
 13          Q    I'll bring it over, helps you, helps the
 14    jury, helps everyone.            Where were you, were you
 15    here?
 16          A    I was behind the car, yes.
 17          Q    By the trunk?
 18          A    That's right.
 19               MR. EASTWOOD:         Your Honor, I'll move it back
 20    so you can see.
 21               JUDGE SUTHERLAND:            I can see fine.
 22          Q    (By Mr. Eastwood) You were here because you
 23    were pretending to get computers out of the trunk?
 24          A    Yes.
 25          Q    And Jeff got out of the car?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 173 of 313 PageID #: 607
                                   Weinhaus, Vol. 2                          412




   1         A    Yeah.
   2         Q    And then you said he moved due north?
   3         A    Yes.
   4         Q    And where did he stop around, the X?
   5         A    I'm not sure exactly where he stopped at.
   6   All I know is I could have the full view of his
   7   body.
   8         Q    So if you're standing here, presumably he
   9   was at least up to about there; right?
 10          A    That would be correct.
 11          Q    Because the Subaru otherwise would be --
 12          A    Blocking my view, yeah.
 13          Q    Because it's higher than a regular sedan?
 14          A    That's correct.
 15          Q    And in this position walking north with his
 16    left foot forward, at least what Sergeant Folsom
 17    said, you were able to see his holster?
 18          A    Jeff was not walking at the time that I saw
 19    him.      Jeff was standing still.
 20          Q    So at some point he walked from the car door
 21    to about there?
 22          A    Correct.
 23          Q    And what did he say during that time period?
 24          A    I heard Sergeant Folsom and him talking.
 25    Sergeant Folsom said, "What are you doing with that
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 174 of 313 PageID #: 608
                                   Weinhaus, Vol. 2                          413




   1   gun?"
   2          Jeff said, "What are you doing with your gun?"
   3          And Sergeant Folsom replied, "I'm authorized."
   4          He said, "Well, I'm authorized too," and the
   5   conversation carried on.              He told him to get on the
   6   ground.      Jeff said, "You're going to have to shoot
   7   me man" or "You're going to have to shoot me,"
   8   something to that effect, and that's when the firing
   9   started.
 10          Q    Now, we're going to watch the video in a
 11    second but you had your gun out?
 12          A    Absolutely.
 13          Q    At some point in the video before Jeff said
 14    you don't have to shoot me or you don't have to
 15    shoot me man or you're going to have to shoot me
 16    man, you had your gun out before that?
 17          A    To clarify that, he didn't say you don't
 18    have to shoot me.
 19          Q    In your opinion?
 20          A    No, he never said that.
 21          Q    No room for doubt?
 22          A    No room for doubt.
 23          Q    We'll let the jury listen to the tape but
 24    you had your gun out at a low ready?
 25          A    No, I had mine out at a high ready.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 175 of 313 PageID #: 609
                                   Weinhaus, Vol. 2                           414




   1         Q    But at a high ready is it pointed out or is
   2   it pointed towards the ground?
   3         A    Usually it's pointed straight ahead.                 It's
   4   here where you just point straight out.
   5         Q    And do you normally take a shot from that
   6   position?
   7         A    You can take a shot, that's the whole
   8   purpose of having it here, that you can shoot as
   9   you're extending it out.
 10          Q    You shoot during the extension?
 11          A    Yes.
 12          Q    And you said you were able to see all of
 13    Jeff at this time?
 14          A    Absolutely.
 15          Q    You can see a little legend down here, are
 16    you able to read that, sir?
 17          A    Yes, I am.
 18          Q    So were you about 10, 15 feet away from him?
 19          A    Judging by the legend, I would say anywhere
 20    from 10 to 20, maybe 25.
 21          Q    And when Sergeant Folsom said, "Get down on
 22    the ground," you echoed back, "Get down on the
 23    ground," didn't you, didn't you also say that?
 24          A    I think I said, "Get down, get down, get on
 25    the ground," something to that effect.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 176 of 313 PageID #: 610
                                   Weinhaus, Vol. 2                          415




   1         Q    Something to that effect fair to say?
   2         A    Yes.
   3         Q    You were both giving a similar order?
   4         A    Yes, we're taught to give similar orders so
   5   you don't have somebody doing opposite things.                    You
   6   don't want somebody saying get down and the other
   7   person saying raise your hands and then you have a
   8   problem with they don't know what to do.
   9         Q    What would you have said if Sergeant Folsom
 10    hadn't said something first?
 11          A    We're trained to say get down.
 12          Q    Not hands up?
 13          A    Not hands up.
 14          Q    Not hands off the gun?
 15          A    Not hands off the gun.
 16          Q    And you say that Jeff's hand went to his
 17    holster?
 18          A    Yes.
 19          Q    Right hand?
 20          A    His right hand went to his holster.
 21          Q    And Jeff's left hand, what happened to it?
 22          A    I do not know.
 23          Q    You do not know?
 24          A    Nope.     I was not concentrated on his left
 25    hand.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 177 of 313 PageID #: 611
                                   Weinhaus, Vol. 2                          416




   1         Q    But I did take your depo; right?
   2         A    That is correct.
   3         Q    And you were under oath?
   4         A    Yes.
   5         Q    And you've been to that rodeo before, you
   6   know how depos work?
   7         A    Yes, we discussed that earlier.
   8         Q    Good.     You told me in your depo that his
   9   left hand never went in the air; right?
 10          A    Right.
 11          Q    And now you're not sure; right?
 12          A    You'll have to repeat that.
 13          Q    You're not sure now what happened to his
 14    left hand?
 15          A    I said I did not see where his hand went.
 16          Q    Well, you did not see, you also told me in
 17    your depo that his left hand was absolutely with his
 18    right hand; isn't that true?
 19          A    I don't recall that.
 20          Q    Let's turn to your deposition.
 21          A    I'm pretty sure I didn't say that, so.
 22          Q    Well, I guess I'm a little confused reading
 23    your testimony because -- are you okay with me
 24    reading it to you?
 25          A    Absolutely.
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 178 of 313 PageID #: 612
                                   Weinhaus, Vol. 2                          417




   1              MR. PARKS:       Where are we?
   2         Q    (By Mr. Eastwood) Page 48.             "Question:"
   3   That would be me.          "Okay, let me stop you there.
   4   When you said he reached, with which hand did he
   5   reach?"
   6          "Answer:      With the right hand, I believe."
   7          "Question:       Okay, and what was his left hand
   8   doing at the time?"
   9          "Answer:      I don't recall."
 10           "Question:       Okay, could it have been with the
 11    right hand?"
 12           "Answer:      I just said it was with the right
 13    hand."
 14           "Question:       Oh, did you?"
 15           "Answer:      Yes."
 16           "Question:       Okay."
 17           "Answer:      That he reached down with the right
 18    hand."
 19           "Question:       But could his left hand been
 20    reaching over toward his right hand?"
 21           "Answer:      Oh, absolutely."
 22           "Question:       But you're not sure?"
 23           "Answer:      I'm not sure."
 24          A    Okay, you asked me could it have been there,
 25    it could have been there, absolutely, it could have
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 179 of 313 PageID #: 613
                                   Weinhaus, Vol. 2                           418




   1   been there, if that's what you were asking me and
   2   what I understood from the deposition.                 I never said
   3   that his left hand was over in front of himself or
   4   reaching with the right hand.                  You asked me if it
   5   was possible, I said it was possible.
   6         Q    Because you weren't paying attention to his
   7   left hand; right?
   8         A    I was paying attention to Mr. Weinhaus,
   9   whether his left hand moved in front of him, I have
 10    no idea.
 11          Q    So you're 20, 25 feet away and you were
 12    paying attention to Mr. Weinhaus but you didn't know
 13    what his left hand was doing?
 14          A    That is correct.
 15          Q    After Sergeant Folsom said, "Get down on the
 16    ground," you don't know whether Jeff put his left
 17    hand up in the air or not, do you?
 18          A    Jeff Weinhaus never put his left hand up in
 19    the air.
 20          Q    I want to turn your direction to the screen
 21    in front of you.         Can you see that?
 22          A    I can.
 23          Q    And the Court can and the jurors can.                 You
 24    were here when I ran through these stills with
 25    Sergeant Folsom; right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 180 of 313 PageID #: 614
                                   Weinhaus, Vol. 2                          419




   1         A    Yes, I was.
   2         Q    And we know the date is wrong on this and we
   3   know the clock is not at the right hour and minute,
   4   but it's functioning and it's at second three of
   5   minute 42, and you can see a shell coming out of
   6   Sergeant Folsom's gun; right?
   7         A    That is correct.
   8         Q    And the angle of the wrist watch camera is
   9   sort of below Sergeant Folsom; right?
 10          A    Excuse me?
 11          Q    The angle of the wrist watch camera is at a
 12    low angle to Sergeant Folsom?
 13          A    That is correct.
 14          Q    And when we go back, there we have the white
 15    smoke, it's tricky to see but I think Sergeant
 16    Folsom saw it if we go back, these stills are 1/29th
 17    of a second, that's you?
 18          A    That's correct.
 19          Q    You're at your high ready?
 20          A    Correct.
 21          Q    So the gun is not quite aiming at Weinhaus;
 22    right?
 23          A    Right.
 24          Q    And then we're no longer at second 03, we're
 25    at second 02 on the clock, and the clock is taking a
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 181 of 313 PageID #: 615
                                   Weinhaus, Vol. 2                          420




   1   picture there and you can see the roof of the
   2   Subaru; right?
   3         A    You don't see the whole roof, you see the
   4   side of the car.
   5         Q    And you see the oil station, that was --
   6   that sign, that sign, sir, is probably down around
   7   there; right?
   8         A    It's labeled on your thing there.
   9         Q    So it's right there; right?             So you're
 10    seeing that part of the Subaru; right?
 11          A    Yes.
 12          Q    And you're seeing the sign there; right?
 13          A    That's correct.
 14          Q    And you're seeing it on a wrist watch camera
 15    that was on Jeff Weinhaus' left wrist; right?
 16          A    Yes.
 17          Q    And this is one second before the first
 18    bullet comes flying out of Sergeant Folsom's gun;
 19    right, roughly one second?
 20          A    Is that a question?             I'm sorry.
 21          Q    Yes, it is, sir.
 22          A    Yes.
 23          Q    Did you see the butt of the gun?
 24          A    Excuse me?
 25          Q    The handle, the grip of Jeff Weinhaus' gun?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 182 of 313 PageID #: 616
                                   Weinhaus, Vol. 2                          421




   1         A    No, I just saw him reach underneath the
   2   holster to pull out the gun.
   3         Q    Did you ever see the pistol, his handgun
   4   come free and clear from the holster?
   5         A    To my knowledge it never came free of the
   6   holster.
   7         Q    And you fired; right?
   8         A    Absolutely.
   9         Q    And do you know how many shots?
 10          A    I originally thought just one, but after the
 11    investigation was complete, it was determined I
 12    fired twice.
 13          Q    And we talked about that in your depo and
 14    you said gee, that was an honest mistake and we got
 15    that all on the record; right?
 16          A    I think so, I don't recall.
 17          Q    I think that's right.               And when you fired --
 18    strike that.
 19           Later on during the investigation, a bullet
 20    strike was found here on the wall; right?
 21          A    That is correct.
 22          Q    Do you have an opinion on whether or not
 23    that came from your gun?
 24          A    It most likely came from my gun.
 25          Q    And what is the basis for that opinion?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 183 of 313 PageID #: 617
                                   Weinhaus, Vol. 2                          422




   1         A    Just from where I was standing and the
   2   direction of where the bullet strike was at, I would
   3   say that was probably my round.
   4         Q    Did you have this building, this area in
   5   your back sight when you were shooting?
   6         A    Yes, I did.
   7         Q    Do you know if any of the bullets you fired,
   8   I'm not asking for speculation, do you have
   9   knowledge of whether any of the bullets you fired
 10    hit Jeff Weinhaus?
 11          A    I've been told that it was the one that went
 12    across the back of his neck, but I'm not sure if
 13    that's correct.
 14          Q    The one that went through?
 15          A    I'm not sure.
 16          Q    You don't know.          And while you were
 17    shooting, was Sergeant Folsom moving?
 18          A    I was not looking at Sergeant Folsom, I
 19    could not say.
 20          Q    Were you concerned that Sergeant Folsom
 21    could enter your line of fire?
 22          A    No, I was not.
 23          Q    Because you're standing here; right?
 24          A    Right.
 25          Q    And Sergeant Folsom indicated that he was
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 184 of 313 PageID #: 618
                                   Weinhaus, Vol. 2                          423




   1   standing there, I submit to you, when he fired;
   2   right?
   3         A    Yeah, but I believe he was standing a little
   4   further back from where he has the X because
   5   Mr. Weinhaus would have been up higher north from
   6   the vehicle, otherwise my line of sight would not
   7   have been able to be where I saw him.
   8         Q    So it's consistent with you being there and
   9   the bullet being there for you to fire in that
 10    direction; right?
 11          A    Well, I did not fire from the trunk of my
 12    car.
 13          Q    Where did you fire from, farther north?
 14          A    No, I was toward Mr. Weinhaus.
 15          Q    Farther east?
 16          A    Yes.
 17          Q    Farther south maybe?
 18          A    Yes, I was looking at his vehicle for cover
 19    as I was approaching.
 20          Q    And based on these markings that Sergeant
 21    Folsom put on the map, you think they're inaccurate
 22    because they don't make sense in terms of the lines
 23    of fire?
 24          A    Absolutely.
 25          Q    Did you have concerns when you were firing
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 185 of 313 PageID #: 619
                                   Weinhaus, Vol. 2                          424




   1   that there were propane tanks and gas dispensing
   2   machinery in your back sight?
   3         A    No, I had more vision of the side of the
   4   building that was old cannibalized gas pumps.                    It
   5   looks like they had been the old ones that were at
   6   the store.       I could see those but I could see the
   7   whole side of the building, and then I also had a
   8   wooded area behind -- we were kind of on an upper
   9   thing that went down an incline and then a real
 10    steep incline and then there was trees and stuff in
 11    the background from behind that.
 12          Q    Were you concerned about potentially hitting
 13    the gutter repairmen that were working on the MFA
 14    station?
 15          A    They were not in my line of sight, no.
 16          Q    Were you concerned about them nevertheless
 17    that they could potentially be in your line of
 18    sight?
 19          A    They were not in my line of sight, so I did
 20    not give them concern.
 21          Q    Where on this map were the guttermen?
 22          A    They were working on the --
 23          Q    Here?
 24          A    Yes, over in that area.
 25          Q    And you're standing over here and firing
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 186 of 313 PageID #: 620
                                   Weinhaus, Vol. 2                          425




   1   there?
   2         A    I'm not firing there, I'm firing at
   3   Mr. Weinhaus.
   4         Q    And that's in your line of sight?
   5         A    Yes, that and probably further north was my
   6   line of sight.
   7         Q    And the propane tanks were here?
   8         A    No.
   9         Q    Here?
 10          A    Yes, on the front of the building.                It was
 11    the small -- like you go in and do an exchange for
 12    your barbecue or anything like that, it was just a
 13    cage with those in there.
 14          Q    Do you recall if the front of the MFA
 15    building has glass windows?
 16          A    It might have a glass door or glass window,
 17    I do not recall.
 18          Q    And you had no concern that your bullets
 19    could enter into the MFA building at any time?
 20          A    No.
 21          Q    No concern they could hit the fuel pumps?
 22          A    No.
 23          Q    No concern they could hit the propane tanks?
 24          A    None.
 25          Q    No concern they could hit the guttermen?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 187 of 313 PageID #: 621
                                   Weinhaus, Vol. 2                          426




   1         A    None.
   2         Q    No concern they could hit the FBI?
   3         A    No.
   4         Q    No concern they could hit the delivery guy
   5   delivering his sodas?
   6         A    No.
   7         Q    In fact, sir, it's your testimony that you
   8   were focused on Jeffrey Weinhaus; right?
   9         A    Absolutely.
 10          Q    And so you really thought that perhaps your
 11    back-up, the FBI, might take care of problems over
 12    toward the MFA building; right?
 13          A    I did not see anybody else there that caused
 14    me alarm at the time, so I was not worried about
 15    other people at the time, I was worried about
 16    Mr. Weinhaus.
 17          Q    Were you concerned that the gutter repairmen
 18    might possibly be accomplices or somehow affiliates
 19    of Mr. Weinhaus?
 20          A    No, I was not.
 21          Q    Sergeant Folsom had that concern, did he
 22    not?
 23          A    He said he did.
 24          Q    But you did not?
 25          A    I did not.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 188 of 313 PageID #: 622
                                   Weinhaus, Vol. 2                          427




   1         Q    You thought it was a safe location, other
   2   than Jeff himself?
   3         A    I'm sorry?
   4         Q    You thought the MFA station with the other
   5   people there was a safe location, except for Jeff;
   6   right?
   7         A    I'm not sure what you're asking me there.
   8         Q    Did you feel threatened by the guttermen?
   9         A    No.
 10          Q    Did you feel threatened by customers in the
 11    store?
 12          A    No.
 13          Q    Did you feel threatened by the store clerk?
 14          A    No.
 15          Q    Did you feel threatened by the deliveryman
 16    delivering Dr. Pepper sodas?
 17          A    No.
 18          Q    The only threat to you was Jeff Weinhaus;
 19    right?
 20          A    No.
 21          Q    He wasn't a threat?
 22          A    Not to me he was not.
 23          Q    But you shot at him; right?
 24          A    Yes.
 25          Q    And why did you shoot at him?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 189 of 313 PageID #: 623
                                   Weinhaus, Vol. 2                          428




   1         A    Because he started to draw his pistol out
   2   and Sergeant Folsom was in line.                 Jeff Weinhaus
   3   never looked at me the whole time the conversation
   4   was going on.        Jeff Weinhaus was concentrated on
   5   Sergeant Folsom the whole time, and I knew Sergeant
   6   Folsom had no cover whatsoever once he stepped out
   7   from the area behind the car.                  He had no cover.
   8   There was a tree that was pretty far back but he
   9   would have had to travel 30, 40 feet, maybe yards, I
 10    don't know, to get to a tree.
 11          Q    These trees?
 12          A    Yes.     So I was more concerned at the threat
 13    that was posed to Sergeant Folsom by Mr. Weinhaus
 14    than I was to me.
 15          Q    You thought Jeff was a threat to Sergeant
 16    Folsom, your partner, your supervisor, your mentor
 17    of six years; right?
 18          A    I thought he was a threat to Sergeant
 19    Folsom, yes.
 20          Q    And you shot at Jeff to protect Sergeant
 21    Folsom; right?
 22          A    That is correct.
 23          Q    You did not think he was a threat to you?
 24          A    He was not a threat to me at that time.
 25          Q    Thank you. Did you see Sergeant Folsom
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 190 of 313 PageID #: 624
                                   Weinhaus, Vol. 2                          429




   1   handcuff Jeff?
   2         A    Yes, I did.
   3         Q    How long was that after Jeff went down?
   4         A    Immediately.
   5         Q    And just to review, is your observation
   6   consistent with Sergeant Folsom's that after Jeff
   7   was shot, he was spun around and fell flat on his
   8   face?
   9         A    That's correct.
 10          Q    Do you remember if it was clockwise or
 11    counter clockwise?
 12          A    If I remember correctly, I think he faced
 13    away from me, so he would have been moving
 14    clockwise, I believe, not positive on that, but I
 15    think he rotated clockwise and then fell straight
 16    down.
 17          Q    Let me return to the video for a second.                  I
 18    think your testimony is consistent with the video.
 19                            (VIDEO WAS PLAYED)
 20          Q    (By Mr. Eastwood) It's hard to tell which
 21    way he spun.        Looks like he's spinning to the left
 22    or back to the right now, at least from what the
 23    camera appears to tell us.                It appears from that
 24    sequence that perhaps he spun to the left and then
 25    to the right.      The camera goes to the left and
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 191 of 313 PageID #: 625
                                   Weinhaus, Vol. 2                           430




   1   right?
   2         A    Like I said, in my mind I picture him
   3   spinning to the right clockwise away from me.
   4         Q    It all happened so fast?
   5         A    That's correct.
   6         Q    And I'm sure as a human being and as a
   7   trained officer, your adrenaline kicked in too;
   8   right?
   9         A    Absolutely.
 10          Q    And that changes your perception of events;
 11    right?
 12          A    I don't know if it changes the perception.
 13          Q    Do they teach you that it changes your
 14    perception or recollection of events when they train
 15    you with the Highway Patrol?
 16          A    Not the perception I don't believe.
 17          Q    Time doesn't slow down or speed up?
 18          A    Oh, yes, it changes things like that.
 19    Everything slowed down for me.                 I could feel myself
 20    walking.      I could feel the gravel under my feet.                 My
 21    senses got really heightened just prior to firing
 22    the gun, and like I said, I didn't even feel -- I
 23    felt the recoil but did not hear the gunshots.                    My
 24    hearing shut down for the loud noises, so things
 25    like that does happen but it doesn't change your --
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 192 of 313 PageID #: 626
                                   Weinhaus, Vol. 2                          431




   1   of what happened, if that's what you're asking me.
   2         Q    Sure.     It changes hearing and sight but not
   3   in the sense that it makes them unreliable?
   4         A    Correct.
   5         Q    It changes your perception of what you
   6   heard, your perception of what you saw?
   7         A    I wouldn't agree with the word perception.
   8         Q    Now, you did see Sergeant Folsom handcuff
   9   Jeff; right?
 10          A    Yes.
 11          Q    And after that Sergeant Folsom testified
 12    that he removed the gun and the holster from Jeff's
 13    waist band?
 14          A    That is incorrect.
 15          Q    Incorrect that he testified as to that?
 16          A    Yes.
 17          Q    Okay.     What is your recollection?
 18          A    He testified that he removed the gun first
 19    and then he handcuffed him.
 20          Q    Did you observe Sergeant Folsom put the gun
 21    back into the holster?
 22          A    No, I was standing -- where Jeffrey was
 23    laying down, Sergeant Folsom rolled his back toward
 24    me as he was trying to get the gun out, and I was at
 25    a cover position watching for any movement of
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 193 of 313 PageID #: 627
                                   Weinhaus, Vol. 2                          432




   1   Mr. Weinhaus.        We're taught not only in the academy
   2   but through continued training that one person stays
   3   back to cover the suspect while the other person
   4   goes up to handcuff.           So when he went up to
   5   handcuff, he told me, "he's still got his hand on
   6   the gun, Scott," and that's when he took the gun out
   7   and threw the gun backwards, and once he started
   8   handcuffing him, Agent Maruschak came up, so I
   9   didn't see him reaching underneath him.                  I was more
 10    concentrating on any movement from Mr. Weinhaus at
 11    that time if he would happen to roll up on Sergeant
 12    Folsom.      Because that's a very dangerous position if
 13    you have to go up and confront somebody with a gun
 14    that's laying on the ground.                   They could have it
 15    tucked up underneath them.                We practice that in the
 16    academy and do that where a person will have the gun
 17    underneath them and you have to control their body
 18    and keep their body down, and that's what Sergeant
 19    Folsom was trying to do.              My strict job was just in
 20    case he was to roll up and try to shoot, I was there
 21    for any type of back-up or anything that I needed to
 22    do at that point.
 23          Q    Now here you had seen Jeff get shot four
 24    times; right?
 25          A    That is correct.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 194 of 313 PageID #: 628
                                   Weinhaus, Vol. 2                          433




   1         Q    Twice to the chest, twice in the head?
   2         A    That's correct.
   3         Q    And you were still concerned he was a
   4   threat?
   5         A    Absolutely.
   6         Q    You didn't think he was dead?
   7         A    I did think he was dead.
   8         Q    You did think he was dead, but you thought
   9   he was a threat still even though he was dead?
 10          A    Just because I thought he was dead doesn't
 11    mean he was dead.
 12          Q    Evidently that turned out to be the case.
 13          A    That is the case.
 14          Q    But you thought he was dead at the time?
 15          A    I did think he died at the time.
 16          Q    But nevertheless you provided cover to your
 17    partner?
 18          A    That's what you're trained to do.
 19          Q    While he cuffed the body of someone you
 20    thought was dead?
 21          A    Yes.
 22          Q    And you did not see him put the gun back in
 23    the holster?
 24          A    By the angle I was at, I could not see that.
 25          Q    And you did not observe Sergeant Folsom toss
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 195 of 313 PageID #: 629
                                   Weinhaus, Vol. 2                          434




   1   the holster with the gun in it some distance away
   2   from Jeff Weinhaus?
   3         A    Yes, I did observe that.
   4         Q    You did observe it?
   5         A    Yes.
   6         Q    Did you actually see him toss it or did you
   7   see it once it landed some distance away on the
   8   ground?
   9         A    I watched him toss it out.
 10          Q    And was the flap of the holster closed?
 11          A    I don't believe so, I don't remember.                 I
 12    don't think it was closed because I remember looking
 13    at it later, and I think the gun was partially out
 14    of the holster on the ground for some reason, but
 15    that's just what I'm recalling in my mind.
 16          Q    We just talked about Sergeant Folsom putting
 17    the gun back in the holster.
 18          A    Yes.
 19          Q    So when you say the gun was partially out of
 20    the holster on the ground, it's conceivable the gun,
 21    if the holster was not latched, the gun could have
 22    come out when Sergeant Folsom tossed it; right?
 23          A    That's what I just said, yes.
 24          Q    So the gun could be sitting partially out of
 25    the holster from Sergeant Folsom?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 196 of 313 PageID #: 630
                                   Weinhaus, Vol. 2                          435




   1         A    Yes, and like I said, that's what I remember
   2   seeing on the ground, but I don't know if it was
   3   latched or what it was, it's what I see in my mind.
   4         Q    Is it a blur, a little bit, your memory?
   5         A    Yes, on certain aspects of it, yes.
   6         Q    Now, you told -- at some point on the tape
   7   you told Jeff "stay with us", right, words to that
   8   effect, "stay with us, Jeff", there's a voice on the
   9   tape that says that, is that yours, sir?
 10          A    I think so, something like that.
 11          Q    If it was you, why did you say that?
 12          A    To keep him calm, try to calm him down, stay
 13    with us, that's a normal thing you would say to
 14    somebody who has been seriously injured.                  I don't
 15    really have a reason other than that.
 16          Q    You probably wouldn't say that to someone
 17    you thought was dead; right?
 18          A    Well, at that time I knew he was not dead.
 19    At that time that's whenever I noticed that he had
 20    started to move, and I had gone, like I said
 21    earlier, gone to my trunk and got personal
 22    protective gloves and went back, and whenever you
 23    hear me saying that on tape "stay with us, stay with
 24    us", I'm trying to keep him calm so he knows
 25    somebody is there trying to help him. That way he
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 197 of 313 PageID #: 631
                                   Weinhaus, Vol. 2                          436




   1   doesn't sit there and try to fight and continue.
   2         Q    Now, did someone provide first aid to Jeff
   3   while he was handcuffed?
   4         A    The only thing that I did was keep him calm.
   5   I assessed his injuries, like I said, there was not
   6   a lot of blood coming out of his chest.                  Even if you
   7   were to put something on his chest, if it's a
   8   sucking chest wound, we have very little first
   9   responder training, you don't want to close that off
 10    because if it's a lung injury, it might be something
 11    that would damage that.             So on the chest I just
 12    assessed it, there was not a lot of blood coming out
 13    of it, I knew the ambulance was close, I knew we
 14    were close to St. Clair, and by the time he started
 15    moving, it was no time until the ambulance got there
 16    once I started to assess his injuries.
 17          Q    I'm confused.         I think we established from
 18    Perry Smith's report there's nine minutes between
 19    him getting shot and the ambulance getting there,
 20    right, so he's bleeding out for nine minutes; right?
 21          A    He was not bleeding profusely where it was
 22    just coming out of him, no.
 23          Q    You didn't see blood coming out of his head?
 24          A    There was dripping but it was not like a
 25    large amount was just coming out of his face.                    There
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 198 of 313 PageID #: 632
                                   Weinhaus, Vol. 2                          437




   1   was drips off his nose and things likes that.
   2         Q    There was blood coming out of his chest?
   3         A    Yes, there was blood on his shirt, but as I
   4   was assessing him it wasn't pouring out of his
   5   chest.
   6         Q    If you observe his shirt today, do you think
   7   it would be blood soaked?
   8         A    Oh, yes, I'm sure it would over time.
   9         Q    Holes where the bullets went in and out?
 10          A    I would imagine.
 11          Q    When you said you assessed him, what aid did
 12    you provide him in the nine minutes before the
 13    ambulance --
 14          A    It wasn't nine minutes because there was a
 15    time between where he was still unconscious that we
 16    thought he was dead.           I had actually gone and made a
 17    phone call and came back and that was after I
 18    directed the guy in, and then as I came back from
 19    making a phone call, I noticed that Jeff started to
 20    move and that's when I started to render aid to
 21    Jeff.
 22          Q    So you and your partner shot a guy four
 23    times, you handcuffed him, you think he's dead and
 24    you leave to go make a phone call.                How long did it
 25    take for you to leave and go make a phone call?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 199 of 313 PageID #: 633
                                   Weinhaus, Vol. 2                          438




   1         A    Just a few seconds.
   2         Q    Who did you call?
   3         A    I called my father.
   4         Q    Why did you not call an ambulance?
   5         A    I had already called an ambulance.
   6         Q    So you called an ambulance and you then
   7   called your father?
   8         A    I didn't use my phone to call an ambulance,
   9   I used my patrol radio.
 10          Q    You did a walk through with D.C. Bauer;
 11    right?
 12          A    I do not recall who it was, it may have been
 13    Mr. Bauer.
 14          Q    In that walk through -- have you reviewed
 15    that report?
 16          A    I have not.
 17          Q    Never?
 18          A    Never.
 19          Q    You never reviewed it with me when I took
 20    your deposition?
 21          A    No, I did not.
 22          Q    You never reviewed it in your preparation
 23    for your testimony here today?
 24          A    No, I did not.
 25          Q    Did you review the report that Perry Smith
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 200 of 313 PageID #: 634
                                   Weinhaus, Vol. 2                          439




   1   made on you?
   2         A    Yes, I did.
   3         Q    And you reviewed your own report?
   4         A    Yes.
   5         Q    But you did not review D.C. Bauer's report?
   6         A    No, I did not.
   7         Q    And when I took your deposition and asked
   8   you about the reports you reviewed, you told me that
   9   they were accurate; right?
 10          A    You asked me if I reviewed the statement
 11    that I had made and the report that Perry had
 12    prepared, and I said that they were accurate, except
 13    for the one shot we talked about.
 14          Q    And we talked about that, right, because
 15    later on you looked in the clip and it was a
 16    different number of bullets that had been expended
 17    from your weapon?
 18          A    No, that's not when I realized it.                The
 19    Glock 27 has a small capacity magazine, and you can
 20    get an extension on those, and I forgot, whenever I
 21    counted my bullets, I forgot to allow for the
 22    extension.       So I thought I only fired one round at
 23    Mr. Weinhaus and later whenever Mr. Smith, Sergeant
 24    Smith came to interview me, he asked if I could have
 25    fired twice, and I said I wasn't sure, I could have.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 201 of 313 PageID #: 635
                                   Weinhaus, Vol. 2                          440




   1   He said, "Well, we found two of your shell casings
   2   that match your pistol," so that's how I knew I had
   3   fired two rounds.
   4         Q    If you look at the tape, let's agree the
   5   shooting occurs around -- can you see the numbers at
   6   the bottom left of your screen?
   7         A    I can only see the 1:41 and partial five.
   8         Q    Do you see it says 5:10, is that visible?
   9         A    No.
 10          Q    There are the first bullets going off, I
 11    submit to you that it's about 5:18 on this counter
 12    in the bottom left corner.
 13          A    It's blurry on my screen, I can't see it.
 14          Q    Let's go about two minutes and 30 seconds
 15    later, we're going to go up to about 7:00, just
 16    before 7:46 on the tape, so from 5:15 to 7:46.
 17                              (PLAYING VIDEO)
 18          Q    (By Mr. Eastwood) "He's not J4", is that
 19    your voice?
 20          A    Yes.
 21          Q    What does J4 mean?
 22          A    Death, fatal, dead.
 23          Q    Is that when you first realized that Jeff
 24    Weinhaus wasn't dead?
 25          A    Yes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 202 of 313 PageID #: 636
                                   Weinhaus, Vol. 2                          441




   1         Q    So two and a half minutes after you shot him
   2   and he was cuffed after he was shot, then you
   3   realized he wasn't dead?
   4         A    Yes.
   5         Q    How long until the ambulance got there in
   6   your mind?
   7         A    It wasn't very long because I started
   8   assessing him.        I think I even had one of the
   9   troopers that was there, Corporal Keithly or Trooper
 10    Servais, I'm not familiar with them, they're in a
 11    different troop than I am, but they were there
 12    standing with me while I was crouched down trying to
 13    assess Mr. Weinhaus.
 14          Q    When you say assess, what particular exact
 15    tasks were you doing in this assessment?
 16          A    Looking at his injuries.            I had very basic
 17    first aid skills, so I was just trying to assess his
 18    injuries at that time and keep him calm.
 19          Q    So besides looking at him, were you doing
 20    anything else with your hands for instance?
 21          A    No.    Well, yeah, because I'm trying to hold
 22    him down from sitting up for a while, if that's what
 23    you're asking, hold him down from sitting up from
 24    his prone position.
 25          Q    Why were you trying to hold him down?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 203 of 313 PageID #: 637
                                   Weinhaus, Vol. 2                          442




   1         A    Try to keep them calm, keep them laying
   2   down, you don't want them to sit up and cause
   3   themselves further injury.
   4         Q    Did you release the restraints?
   5         A    No, I did not.
   6         Q    Why not?
   7         A    We were not taught to do that, we're taught
   8   to keep the restraints on.
   9         Q    Even if the guy has no weapons?
 10          A    Just because you don't have a weapon doesn't
 11    mean you can't fight.
 12          Q    Even if you've been shot four times?
 13          A    Even if you've been shot four times.
 14          Q    Twice in the head and twice in the chest?
 15          A    Yes, and I was told he also struck an EMT
 16    during transport.
 17          Q    Who told you that?
 18          A    Either Sergeant Smith or somebody in the
 19    investigation.
 20               MR. EASTWOOD:         Move to strike as hearsay.
 21               JUDGE SUTHERLAND:            Overruled, it's a proper
 22    response to the question, ask the next question.
 23          Q    (By Mr. Eastwood) At one point when I took
 24    your deposition you said that Jeff gave you a cold
 25    chill or he had experienced a cold chill?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 204 of 313 PageID #: 638
                                   Weinhaus, Vol. 2                          443




   1         A    Yeah, he did not give me a cold chill, he
   2   experienced a cold chill or a tremor.
   3         Q    What did you mean by that?
   4         A    Just his whole body kind of gave a shake,
   5   like if you get a cold chill.                  He was standing there
   6   and when he stuck his hand down to his side after he
   7   unlatched it, he just had this tremor across his
   8   body.
   9         Q    Is a cold chill a technical term?
 10          A    I have no idea, that's just what I described
 11    it as.
 12          Q    Is it a term that you are taught in your
 13    training as a law enforcement officer?
 14          A    No, it's my word that I used that he had
 15    this tremor.
 16          Q    Is it a term that the Highway Patrol
 17    commonly uses in describing suspects?
 18          A    Not that I know of.
 19          Q    Did you and Sergeant Folsom collaborate when
 20    you wrote your police reports?
 21          A    No, we did not.
 22          Q    Is it just a coincidence that you both used
 23    this description of a cold chill?
 24          A    I think that's a known term.              I wouldn't
 25    think it was anything major.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 205 of 313 PageID #: 639
                                   Weinhaus, Vol. 2                          444




   1         Q    Not a technical term?
   2         A    I'm sure we discussed the cold chill prior
   3   to writing the reports, but I don't think it was a
   4   corroboration in writing the reports.
   5         Q    So you did discuss what you were going to
   6   write in your reports?
   7         A    We discussed the incident.
   8         Q    Sir, Sergeant Folsom was your mentor,
   9   friend, supervisor for six years.               Are you upset
 10    that he is no longer serving along side you?
 11               MR. PARKS:       Objection, Your Honor,
 12    irrelevant.
 13               JUDGE SUTHERLAND:            Sustained.
 14          Q    (By Mr. Eastwood) Have you made any efforts
 15    to help Sergeant Folsom return to duty?
 16          A    No, I have not.
 17               MR. PARKS:       Same objection.
 18               JUDGE SUTHERLAND:            Sustained.
 19          Q    (By Mr. Eastwood) Do you still feel a sense
 20    of loyalty to Sergeant Folsom?
 21               MR. PARKS:       Objection again, Your Honor.
 22               JUDGE SUTHERLAND:            Sustained.
 23          Q    (By Mr. Eastwood) So again, just to make
 24    clear, any similarities and certain phrases or words
 25    in your police reports is just a coincidence?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 206 of 313 PageID #: 640
                                   Weinhaus, Vol. 2                            445




   1         A    I wouldn't say it's just a coincidence.                  I
   2   would say we had discussed the incident.                  We did not
   3   sit down -- and in fact whenever I wrote my
   4   statement out, Sergeant Folsom was in an interview
   5   with I think it was Sergeant Smith and a Corporal
   6   Scott, I can't think of his last name right now, but
   7   he was in there whenever I was writing out my
   8   statement.
   9              MR. EASTWOOD:         I have no further questions
 10    for this witness at this time.                 Thank you.
 11               JUDGE SUTHERLAND:            Redirect.
 12              REDIRECT EXAMINATION OF CORPORAL MERTENS
 13    QUESTIONS BY MR. PARKS:
 14          Q    Corporal Mertens, you were asked if you were
 15    positive that the defendant said, "You're going to
 16    have to shoot me man"; is that correct?
 17          A    That is correct.
 18          Q    And is that what he said to you?
 19          A    That is what he said to Sergeant Folsom.
 20          Q    And I direct your attention to February 2lst
 21    of 2013.      Were you in this courtroom for a motion
 22    hearing in which the defendant addressed the Court?
 23          A    Yes, I was.
 24          Q    And did you hear the defendant tell the
 25    Judge at that time, "You will also note that as soon
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 207 of 313 PageID #: 641
                                   Weinhaus, Vol. 2                          446




   1   as I said you're going to have to shoot me, they
   2   did"?
   3              MR. EASTWOOD:         Objection, Your Honor, may we
   4   approach?
   5              JUDGE SUTHERLAND:            Yes.
   6                      (BENCH CONFERENCE BEGINS)
   7              MR. EASTWOOD:         Your Honor, I can tell what
   8   Mr. Parks is trying to do, but this is not the
   9   proper way to do it, though.                   If he's trying to
 10    impugn another Court statement by the defendant that
 11    was happening in Court, you can use a transcript or
 12    do something else, but I think this is kind of an
 13    odd and improper way to introduce statements of the
 14    defendant.
 15               JUDGE SUTHERLAND:            Well, the defendant made
 16    the statement even though he was in custody.
 17               MR. PARKS:       He was in open court.
 18               JUDGE SUTHERLAND:            He was in custody but not
 19    being interrogated.           He simply made the statement
 20    and the witness heard it.               I think it's appropriate.
 21                        (BENCH CONFERENCE ENDS)
 22               JUDGE SUTHERLAND:            The objection is
 23    overruled.       I'm not sure if the question was
 24    answered.
 25          Q    (By Mr. Parks) Do you need me to restate
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 208 of 313 PageID #: 642
                                   Weinhaus, Vol. 2                          447




   1   that question?
   2         A    Please.
   3         Q    On February 2lst, 2013, were you in the
   4   courtroom for a motion hearing in which the
   5   defendant addressed the Court?
   6         A    Yes, I was.
   7         Q    And did you hear the defendant say to the
   8   Court, "You will also note that as soon as I said
   9   you're going to have to shoot me, they did."                    Is
 10    that a fair and accurate statement that the
 11    defendant made?
 12          A    Yes, the defendant did say, "I said you're
 13    going to have to shoot me."
 14               MR. PARKS:       No further questions, Your
 15    Honor.
 16               JUDGE SUTHERLAND:            Recross.
 17              RECROSS EXAMINATION OF CORPORAL MERTENS
 18    QUESTIONS BY MR. EASTWOOD:
 19          Q    Do you know what brain damage, if any, Jeff
 20    Weinhaus had from the shooting?
 21          A    Excuse me?
 22          Q    What brain damage, if any?
 23          A    I have no idea.
 24          Q    Were you involved in his arrest, eventual
 25    arrest?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 209 of 313 PageID #: 643
                                   Weinhaus, Vol. 2                          448




   1         A    No, I was not.
   2         Q    Have you ever reviewed the medical records
   3   from St. John's Mercy?
   4         A    No, I have not.
   5         Q    So you have no knowledge of his state of
   6   mind on the day that he made that statement to you
   7   in your presence in Court, "You'll have to shoot me
   8   man"?
   9         A    I'm sorry?
 10          Q    You have no knowledge of his state of mind
 11    on the day that he made this statement, "You're
 12    going to have to shoot me, man"?
 13          A    On the date in Court?
 14               JUDGE SUTHERLAND:            Yeah, the date in Court.
 15               THE WITNESS:        I thought you were talking
 16    about on September 11th.              No, I do not know his
 17    state of mind either time.
 18          Q    (By Mr. Eastwood) No knowledge of his mental
 19    capabilities either time?
 20          A    No, I do not.
 21          Q    And further, Corporal Mertens, is it your
 22    opinion that in an of itself the statement, "you're
 23    going to have to shoot me man," is not sufficient
 24    grounds to use lethal force against a suspect?
 25          A    Could you say that again.
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 210 of 313 PageID #: 644
                                   Weinhaus, Vol. 2                          449




   1         Q    "You're going to have to shoot me man", is
   2   that reason enough in itself to shoot a suspect?
   3         A    Not in itself, no.
   4         Q    You'd have to have something else; right?
   5         A    You'd have to have something such as this
   6   incident where he undoes the holster and starts to
   7   draw the pistol out.
   8         Q    And let's go back one more time to this tape
   9   and we'll listen to that conversation one more time.
 10                            (VIDEO WAS PLAYED)
 11          Q    (By Mr. Eastwood) Does Jeff's tone when he
 12    says, "You're going to have to shoot me man", or
 13    "You don't have to shoot me man", whatever you hear
 14    on the tape and that's really a question for the
 15    jury to decide, is his tone threatening?
 16               MR. PARKS:       Objection, Your Honor, improper
 17    question for recross examination.
 18               JUDGE SUTHERLAND:            Sustained.
 19          Q    (By Mr. Eastwood) Was his voice loud?
 20               MR. PARKS:       Same objection.
 21               JUDGE SUTHERLAND:            Sustained.    This all
 22    could have been covered on cross.               Objection is
 23    sustained.
 24               MR. EASTWOOD:         No further questions.
 25               MR. PARKS: No further questions, Your
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 211 of 313 PageID #: 645
                                   Weinhaus, Vol. 2                          450




   1   Honor.
   2              JUDGE SUTHERLAND:            May this witness be
   3   finally excused?
   4              MR. PARKS:       Yes.
   5              MR. EASTWOOD:         Yes.
   6              JUDGE SUTHERLAND:            You may step down.       Call
   7   your next witness.
   8              MR. PARKS:       The State will call Sergeant
   9   Perry Smith.
 10         (WHEREUPON SERGEANT PERRY SMITH WAS SWORN IN)
 11                  DIRECT EXAMINATION OF PERRY SMITH
 12    QUESTIONS BY MR. PARKS:
 13          Q    Please state your name for the Court.
 14          A    Perry Smith.
 15          Q    Sergeant Smith, you are with the Missouri
 16    State Highway Patrol; is that correct?
 17          A    Yes, sir, I am.
 18          Q    I direct your attention to September 11th of
 19    2012.     Were you the officer that collected evidence
 20    at the scene of the shooting at the MFA gas station
 21    on Highway K?
 22          A    Yes, sir, I was.
 23          Q    And I'm going to show you what has been
 24    marked as State's Exhibit No. 20.               Do you recognize
 25    that?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 212 of 313 PageID #: 646
                                   Weinhaus, Vol. 2                           451




   1         A    Yes, sir, I do.
   2         Q    And what do you recognize that to be?
   3         A    This appears to be the scene of the
   4   shooting, and it appears to be Mr. Weinhaus'
   5   vehicle, patrol vehicle as well as evidence markers
   6   that have been placed in the area.
   7         Q    Is this a fair and accurate representation
   8   of the scene as you -- you took this photo; is that
   9   correct?
 10          A    Yes, I did.
 11          Q    Is this a fair and accurate representation
 12    of the scene?
 13          A    Yes, sir, it is.
 14          Q    I show you what's been marked as State's
 15    Exhibit No. 20.         Do you recognize this photo?
 16          A    Yes, sir, I do.
 17          Q    Or 22, I'm sorry, State's Exhibit 22.                 And
 18    do you recognize this photo?
 19          A    Yes, sir, I do.
 20          Q    Is this a fair and accurate representation
 21    of the scene?
 22          A    Yes, sir, it is.
 23          Q    And then after the scene I'll show you what
 24    has been marked as State's Exhibit No. 22 (sic).                     Do
 25    you recognize this photo?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 213 of 313 PageID #: 647
                                   Weinhaus, Vol. 2                          452




   1         A    Yes, sir, I do.
   2         Q    And this is a photo of the defendant's car;
   3   is that correct?
   4         A    That's correct.
   5         Q    Did you search that car?
   6         A    Yes, sir, I did.
   7         Q    And I show you what's been marked as State's
   8   Exhibit No. 23, 24, 25 and 26.                 Did you take these
   9   photographs of the interior of the car?
 10          A    Yes, sir, I did.
 11          Q    And are these photographs fair and accurate
 12    representations of what you found in the car?
 13          A    Yes, sir, they are.
 14               MR. PARKS:       Your Honor, at this time I would
 15    ask that State's Exhibit No. 20, 21, 22, 23, 24, 25
 16    and 26 be admitted into evidence.
 17               MR. EASTWOOD:         May I review the photographs
 18    briefly, Your Honor?
 19               JUDGE SUTHERLAND:            Yes.
 20                       (BENCH CONFERENCE BEGINS)
 21               MR. EASTWOOD:         Your Honor, for the record
 22    and for the reasons already discussed in the motion
 23    in limine, I believe it's defendant's second motion
 24    in limine, I would object to the introduction of
 25    evidence of weapons found in the car. I believe
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 214 of 313 PageID #: 648
                                   Weinhaus, Vol. 2                          453




   1   it's prejudicial, irrelevant to the charges against
   2   the defendant or to what was in the officer's mind
   3   at the time of the shooting.                   It has nothing to show
   4   to resisting arrest or to his attempted assault on a
   5   law enforcement officer.
   6              JUDGE SUTHERLAND:            That's State's Exhibits
   7   24, 25 and 26?
   8              MR. EASTWOOD:         Yeah, 23 through 26.
   9              JUDGE SUTHERLAND:            Objection to those
 10    exhibits is overruled.             State's Exhibits 20 through
 11    26 conclusive are admitted.
 12               MR. EASTWOOD:         Thank you, Your Honor.
 13                        (BENCH CONFERENCE ENDS)
 14          Q    (By Mr. Parks) And Sergeant Smith, I direct
 15    you to what's been marked as State's Exhibit 20, do
 16    you recognize this photo?
 17          A    Yes, sir, I do.
 18          Q    What is this a photo of?
 19          A    That's a photo taken of Mr. Weinhaus'
 20    vehicle, Corporal Mertens' vehicle as well as
 21    evidence markers on the ground.
 22          Q    What do those evidence markers indicate?
 23          A    Pieces of evidence on the ground.
 24          Q    And I show you what has been marked as
 25    State's Exhibit No. 21. Do you recognize this?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 215 of 313 PageID #: 649
                                   Weinhaus, Vol. 2                          454




   1         A    Yes, sir, I do.
   2         Q    And do you recognize this item as the gun in
   3   the holster that was found at the scene?
   4         A    Yes, sir, I do.
   5         Q    Did you seize that gun and holster?
   6         A    Yes, sir, I did.
   7         Q    And 22 is just a close-up of the gun and
   8   holster; is that correct?
   9         A    Yes, sir.
 10          Q    And then did you do a search of the interior
 11    of the car?
 12          A    Yes, sir, I did.
 13          Q    What did you find in the interior of the
 14    car?
 15          A    On the interior of the car I found a 22
 16    caliber black and white pistol loaded with six
 17    rounds, also an A T & T slider type cell phone, a 12
 18    gauge shotgun and an Ion video camera.
 19          Q    And I show you what's been marked as State's
 20    Exhibit No. 23.         Do you recognize this?
 21          A    Yes, sir, I do.
 22          Q    And what do you recognize this to be?
 23          A    That's the Rome 22 caliber pistol.
 24          Q    This is the gearshift here, and then over
 25    here would be the driver's side. So this is sitting
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 216 of 313 PageID #: 650
                                   Weinhaus, Vol. 2                           455




   1   in the floor board of the passenger seat; is that
   2   correct?
   3         A    That's correct.
   4         Q    And I show you what has been marked as
   5   State's Exhibit No. 24, do you recognize this?
   6         A    Yes, sir, I do.
   7         Q    What do you recognize this to be?
   8         A    That's the right rear passenger door.                 The
   9   photo was taken of the interior.               It shows the Ion
 10    video camera as well as the barrel of the 12 gauge
 11    shotgun.
 12          Q    This is the barrel right here; is that
 13    correct?
 14          A    Yes, sir, that's correct.
 15          Q    And was that shotgun loaded?
 16          A    Yes, sir, it was.
 17          Q    What was it loaded with?
 18          A    Six rounds of 12 gauge ammunition.
 19          Q    And again State's Exhibit No. 25, this is
 20    the stock of the weapon; is that correct?
 21          A    Yes, sir, it is.
 22          Q    And No. 26, what is this?
 23          A    That's a photograph of the shotgun after I
 24    pulled it from behind the seat and laid it up on the
 25    back seat with the evidence marker.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 217 of 313 PageID #: 651
                                   Weinhaus, Vol. 2                          456




   1         Q    And I show you now what has been marked as
   2   State's Exhibit No. 27.             Do you recognize this?
   3         A    Yes, sir, I do.
   4         Q    And inside of it is a military type holster,
   5   a black nine millimeter pistol, some rounds and a
   6   magazine.       Did you seize these from the scene?
   7         A    Yes, sir, I did.
   8         Q    And are these the same items that were shown
   9   in State's Exhibit 21 and 22?
 10          A    Yes, sir, they are.
 11          Q    The photos of the pistol.            I show you now
 12    what has been marked as State's Exhibit No. 28.                     Do
 13    you recognize this?
 14          A    Yes, sir, I do.
 15          Q    And what do you recognize this to be?
 16          A    This is the box containing the 22 caliber
 17    Rome pistol.
 18          Q    Did you seize this and box this up?
 19          A    Yes, sir, I did.
 20          Q    Is this in the same condition as it was when
 21    you sealed it?
 22          A    Yes, sir, except that it has been sent to
 23    the lab and it has laboratory tape on it.
 24               MR. PARKS:       Your Honor, I would ask that
 25    State's Exhibit 28 be admitted into evidence.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 218 of 313 PageID #: 652
                                   Weinhaus, Vol. 2                          457




   1              MR. EASTWOOD:         I object for the same
   2   reasons.
   3              JUDGE SUTHERLAND:            Objection is overruled.
   4   State's Exhibit 28 is admitted.
   5         Q    (By Mr. Parks) Could you open Exhibit 28,
   6   please?
   7         A    Yes, sir.
   8         Q    And again what is inside of State's Exhibit
   9   No. 28?
 10          A    It's a Rome 22 caliber pistol.
 11          Q    Could you hold that up for the jury to see,
 12    please.      And this is the weapon that you found in
 13    the interior of the car?
 14          A    Yes, sir.
 15          Q    And that gun was loaded?
 16          A    Yes, sir, it was.
 17          Q    And that was in this holster clipped to the
 18    box in the car?
 19          A    Yes, sir, it was.
 20          Q    And I show you now what has been marked as
 21    State's Exhibit 29.           Do you recognize this?
 22          A    Yes, sir, I do.
 23          Q    And what do you recognize this to be?
 24          A    This is the 12 gauge shotgun that I seized
 25    from Mr. Weinhaus' vehicle.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 219 of 313 PageID #: 653
                                   Weinhaus, Vol. 2                          458




   1         Q    And was this packaged by you also?
   2         A    Yes, sir, it was.
   3         Q    And with the exception of the laboratory
   4   blue tape, is this in the same condition as when you
   5   seized it and sealed it?
   6         A    Yes, sir, it is.
   7              MR. PARKS:       Your Honor, I would ask that
   8   State's Exhibit 29 be admitted into evidence.
   9              MR. EASTWOOD:         I object for the same reasons
 10    stated in my motion in limine.
 11               JUDGE SUTHERLAND:            Objection overruled.
 12    State's Exhibit 29 is admitted.
 13          Q    (By Mr. Parks) Could you open this, please?
 14          A    Yes, sir.
 15          Q    And could you take this out and show it to
 16    the jury, please.          And what is this?
 17          A    A 12 gauge shotgun that I seized from
 18    Mr. Weinhaus' vehicle.
 19          Q    And inside this box are six shells, were
 20    these shells found in this weapon?
 21          A    Yes, sir, they were.
 22          Q    And I show you what has been marked as
 23    State's Exhibit No. 30.             Do you recognize this?
 24          A    Yes, I do.
 25          Q    What do you recognize this to be?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 220 of 313 PageID #: 654
                                   Weinhaus, Vol. 2                          459




   1         A    This is the packaging containing the watch
   2   Mr. Weinhaus was wearing.               Along with it also had
   3   his wedding ring.
   4         Q    And the wedding ring has been returned to
   5   him or his family; is that correct?
   6         A    Yes, sir, that's correct.
   7              MR. PARKS:       Your Honor, I would ask that
   8   State's Exhibit No. 30 be admitted into evidence.
   9              MR. EASTWOOD:         No objection, Your Honor.
 10               JUDGE SUTHERLAND:            30 is admitted.
 11          Q    (By Mr. Parks) Could you open State's
 12    Exhibit No. 30, please?
 13          A    Yes, sir.
 14          Q    And could you open the bag on the inside,
 15    please.      And this contains a plastic container in
 16    which the watch is contained?
 17          A    Yes, sir.
 18          Q    And this is the video watch that
 19    Mr. Weinhaus was wearing on his left wrist?
 20          A    Yes, sir, it is.
 21               MR. PARKS:       Your Honor, may we approach?
 22               JUDGE SUTHERLAND:            Yes.
 23                       (BENCH CONFERENCE BEGINS)
 24               MR. PARKS:       Your Honor, at this time I
 25    believe all of the State's exhibits have been
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 221 of 313 PageID #: 655
                                   Weinhaus, Vol. 2                          460




   1   admitted except for Exhibit No. 12.
   2              JUDGE SUTHERLAND:            That's what I show.
   3              MR. EASTWOOD:         And that is the actual
   4   marijuana?
   5              MR. PARKS:       Well, the marijuana was actually
   6   in the same bag as the Morphine.                I didn't realize
   7   it was packaged there, so it came in with Exhibit
   8   No. 9.
   9              JUDGE SUTHERLAND:            Okay.
 10               MR. PARKS:       So I'm not asking because it was
 11    packaged with another exhibit.
 12               MR. EASTWOOD:         So just for the record,
 13    everything is in, in other words?
 14               JUDGE SUTHERLAND:            Yeah.
 15               MR. EASTWOOD:         I take the same position.
 16                        (BENCH CONFERENCE ENDS)
 17               MR. PARKS:       I have no further questions of
 18    this witness at this time, Your Honor.
 19               JUDGE SUTHERLAND:            Cross examination.
 20               MR. EASTWOOD:         Thank you, Your Honor.
 21                  CROSS EXAMINATION OF PERRY SMITH
 22    QUESTIONS BY MR. EASTWOOD:
 23          Q    Good afternoon.
 24          A    Good afternoon, sir.
 25          Q    I don't think we met before, have we?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 222 of 313 PageID #: 656
                                   Weinhaus, Vol. 2                          461




   1         A    No, sir, we have not.
   2         Q    And I didn't take your deposition or
   3   anything like that?
   4         A    No, sir, you didn't.
   5         Q    How long have you been with the Highway
   6   Patrol, sir?
   7         A    19 years.
   8         Q    And do you have any discipline on your
   9   license?
 10          A    No, sir.
 11          Q    Ever had a serious reprimand or discipline
 12    from the Highway Patrol?
 13          A    No, sir.
 14          Q    Good record?
 15          A    Yes, sir.
 16          Q    Thank you, sir.          How many police officer
 17    involved shootings have you investigated?
 18          A    15, 20.
 19          Q    Has the officer been cleared in every single
 20    one of those investigations of wrong doing?
 21          A    Yes, sir, they have.
 22          Q    15 for 15.       Is it customary for the Highway
 23    Patrol to investigate its own officer-involved
 24    shootings?
 25          A    Yes, sir, it is.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 223 of 313 PageID #: 657
                                   Weinhaus, Vol. 2                          462




   1         Q    Did you ever ask the FBI to investigate or
   2   some other law enforcement agency to investigate?
   3         A    No, sir.
   4         Q    I turn your attention -- I received from
   5   Mr. Parks in the course of discovery in this case a
   6   large packet of police reports into the
   7   officer-involved shooting.                Have you reviewed all of
   8   those reports?
   9         A    Yes, sir.
 10          Q    Is it fair to say -- I don't know if there's
 11    a technical term but you were the lead investigator
 12    or chief investigator into this officer-involved
 13    shooting?
 14          A    That's fair.
 15          Q    And so you have knowledge of all of these
 16    reports, you reviewed them.                You might need to
 17    refresh yourself obviously.
 18          A    Yes, sir.
 19          Q    I couldn't remember them all but...
 20          A    Yes, sir.
 21          Q    And do you have concerns about any of them
 22    being inaccurate or incomplete?
 23          A    No, sir.
 24          Q    You weren't in Court over the last two days
 25    when Sergeant Folsom and Corporal Mertens have been
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 224 of 313 PageID #: 658
                                   Weinhaus, Vol. 2                          463




   1   testifying, were you?
   2         A    No, sir, I was not.
   3         Q    Did you review their depositions?
   4         A    No, sir, I did not.
   5         Q    You just reviewed the reports, the reports
   6   from the shooting?
   7         A    Yes, sir.
   8         Q    And did you talk with Mr. Parks before you
   9   gave -- before you started testifying today?
 10          A    Pardon me?
 11          Q    Did you talk with the prosecutor, Mr. Parks,
 12    before you started testifying today?
 13          A    Yes, I did.
 14          Q    What did you talk about?
 15          A    He -- we discussed the evidence, we
 16    discussed how long he thought I was going to testify
 17    and he apologized for taking so long.
 18          Q    Did you review your testimony in advance
 19    with Mr. Parks?
 20          A    I'm sorry, what?
 21          Q    Did you review your testimony in advance
 22    with Mr. Parks?
 23          A    I reviewed for my Court testimony today.
 24          Q    With Mr. Parks?
 25          A    On the evidence portion and the watch
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 225 of 313 PageID #: 659
                                   Weinhaus, Vol. 2                          464




   1   portion.
   2         Q    Did you make any investigation into the
   3   drug-related charges against Jeff Weinhaus?
   4         A    No, sir, I didn't.
   5         Q    Did you make any investigation into the You
   6   Tube video-related charges against Jeff Weinhaus?
   7         A    No, sir, I didn't.
   8         Q    Did you ever see it?
   9         A    I'm not sure which ones you're talking
 10    about.     I've seen several portions.
 11          Q    Did it have captions in it or no?
 12          A    I don't recall.
 13          Q    Within the package of reports, there is a
 14    packet with your name on it as the reporting officer
 15    entitled -- it's Report 31 Examination of Cell Phone
 16    and Video Camera.          Did you conduct an examination
 17    into Jeff Weinhaus' cell phone?
 18          A    No, sir, I didn't.
 19          Q    But you reported on it; right?
 20          A    Yes, sir, I did.
 21          Q    And where did you obtain the information
 22    from your report from?
 23          A    Missouri State Highway Patrol's Computer
 24    Forensic Unit.
 25          Q    This is out in Jeff City?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 226 of 313 PageID #: 660
                                   Weinhaus, Vol. 2                          465




   1         A    Yes, sir, it is.
   2         Q    You got a proper search warrant to go
   3   through the cell phone?
   4         A    Yes, sir, I did.
   5         Q    And so did you prepare this report?
   6         A    Yes, sir, I did.
   7         Q    And among the reports there is a -- there
   8   are text messages; right?
   9         A    Yes.
 10          Q    Among the data that you reported on there
 11    was a text message?
 12          A    Yes, there were text messages on the phone.
 13          Q    A series of text messages?
 14          A    Yes.
 15          Q    And they're from different people with the
 16    last name Weinhaus?
 17          A    Yes.
 18          Q    There's a Judy Weinhaus, do you know who
 19    that is?
 20          A    Yes, sir, I do.
 21          Q    Who is that?
 22          A    I believe it's his wife.
 23          Q    And she goes by Judy Kropf Weinhaus?
 24          A    Yes, that's my understanding.
 25          Q    And then there's a Grant Weinhaus, do you
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 227 of 313 PageID #: 661
                                   Weinhaus, Vol. 2                          466




   1   know who that is?
   2         A    Mr. Weinhaus' son; is that correct?
   3         Q    I think it's his brother, and there's also a
   4   Levi Weinhaus.
   5         A    I believe that may be his son and Grant is
   6   the brother.
   7         Q    Do you know if he's the one who lives in the
   8   house with Mr. Weinhaus and his wife in Piney Park?
   9         A    No, sir, I do not know that.
 10          Q    You don't know, okay.               Did you make and did
 11    you read the contents of these text messages?
 12          A    Yes, sir, I did.
 13          Q    And there's a text message with Levi
 14    Weinhaus that says, "Pick my weed plant"; right?
 15          A    Yes, sir.
 16          Q    And in your custom and training, experience
 17    and training in law enforcement, what is a weed
 18    plant?
 19               MR. PARKS:       I object to this line of
 20    questioning, Your Honor.              He doesn't have any
 21    firsthand knowledge of the -- who made these texts
 22    or who sent them or anything like this, so it's all
 23    hearsay.
 24               JUDGE SUTHERLAND:            Sustained.
 25          Q    (By Mr. Eastwood) Let me ask you this.                 Did
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 228 of 313 PageID #: 662
                                   Weinhaus, Vol. 2                          467




   1   you ever share this report with any of the other
   2   officers investigating the search of Mr. Weinhaus'
   3   house?
   4         A    No, sir, I didn't.
   5         Q    And you have no knowledge whether Sergeant
   6   Folsom or Corporal Mertens reviewed this report, do
   7   you?
   8         A    That report was conducted after the search
   9   of Mr. Weinhaus' residence.
 10          Q    So you don't know if they reviewed this
 11    report; right?
 12          A    I'm not sure.
 13          Q    You don't know if they're aware of its
 14    contents; right?
 15          A    That's correct.
 16          Q    Thank you.       You also -- there was also a
 17    report made -- are you from Troop C originally?
 18          A    Yes, sir, I am.
 19          Q    And can you just tell the jury what area
 20    Troop C is?
 21          A    Troop C is as far south on 55 as Perry
 22    County, runs up into St. Louis County, runs north
 23    all the way up into Pike County, west out to Warren,
 24    and if you're traveling down 44 it runs all the way
 25    out to Franklin County.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 229 of 313 PageID #: 663
                                   Weinhaus, Vol. 2                          468




   1         Q    And we're in the Troop C area here?
   2         A    Bordered by the Mississippi River, yes, sir.
   3         Q    And Troop C, did you review the -- it has a
   4   radio frequency or perhaps several, right, that the
   5   troopers communicate over?
   6         A    Yes, sir, that's correct.
   7         Q    And as part of your investigation into this
   8   officer-involved shooting, you reviewed the Troop C
   9   communication reportings; right?
 10          A    That's correct.
 11          Q    And you prepared a report on it, didn't you?
 12          A    That's correct.
 13          Q    And at one point on that recording there's
 14    an officer who says, "they're messing with Weinhaus
 15    again."      No. 1, do you know what that means?
 16          A    No, sir, I don't.
 17          Q    Did you pass that information on to any
 18    other officers investigating this shooting?
 19          A    No, sir, I didn't.
 20          Q    Did you pass it on to Sergeant Folsom or
 21    Corporal Mertens?
 22          A    They probably have a copy of that report in
 23    the stack of reports they got, sir.
 24          Q    Sure.     And then after someone says they're
 25    messing with Weinhaus again, another person says,
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 230 of 313 PageID #: 664
                                   Weinhaus, Vol. 2                          469




   1   "Not over the radio."            Do you know who said that?
   2         A    The one that said "not over the radio" was
   3   Lieutenant Seales.
   4         Q    Do you know why Lieutenant Seales might say
   5   "not over the radio"?
   6         A    He wasn't -- I don't believe he was
   7   specifically speaking about your prior sentence
   8   there.
   9         Q    So what was he speaking about when he said
 10    "not over the radio"?
 11          A    I'd have to review my report to see exactly
 12    what he's speaking about.
 13          Q    Do you mind if I read this to you?
 14          A    No, sir, that's fine.
 15          Q    On Page 2 of this report on the Troop C
 16    communications you write, I believe, on Page 2, "in
 17    the background another Troop C communications
 18    operator was asking 251 if 557", these numbers refer
 19    to officers; is that correct?
 20          A    Yes, sir, that's correct.
 21          Q    Do you know who 251 is?
 22          A    Corporal Keithly.
 23          Q    And 557?
 24          A    I believe that may be Sergeant Folsom.
 25          Q    557 advised if it was self inflicted or
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 231 of 313 PageID #: 665
                                   Weinhaus, Vol. 2                          470




   1   officer inflicted.          Lieutenant Seales can be heard
   2   saying not over the radio.
   3         A    That's correct.
   4         Q    Is there a police practice why you would not
   5   discuss the issue whether it was self inflicted or
   6   officer inflicted over the radio?
   7         A    Because people have access to scanners and
   8   can scan that information, and that's not
   9   information that we typically like to release to the
 10    public because they have access to it, sometimes for
 11    notification of family members.
 12          Q    When you say you don't want the public to
 13    have that information, do you mean during the short
 14    term during the investigation or ever have the
 15    information?
 16          A    In the short term.
 17          Q    The holster that was on Jeff Weinhaus, did
 18    you review this holster as part of your
 19    investigation?
 20          A    No, sir, I didn't.
 21          Q    Did Jeff Weinhaus' weapon or holster form
 22    any part of your investigation or reporting in this
 23    matter?
 24          A    Did it what?
 25          Q    Did this holster or the weapon that was in
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 232 of 313 PageID #: 666
                                   Weinhaus, Vol. 2                          471




   1   it, was that any part of your investigation?
   2         A    Yes, sir, it was.
   3         Q    In what respects?
   4         A    I seized it as evidence and submitted it to
   5   the lab for test firing.
   6         Q    And what did you find from the lab?
   7         A    That the weapon was capable of firing.
   8         Q    And had it been fired?
   9         A    Not that I was aware of.
 10          Q    So it wasn't -- no one shot a bullet out of
 11    it on September 11th to your knowledge?
 12          A    That's correct.
 13          Q    Are you familiar with this type of holster?
 14          A    No, sir, I'm not.
 15          Q    Did you investigate what type of holster it
 16    was as part of your investigation?
 17          A    No, sir, I didn't.
 18          Q    You just seized it as evidence?
 19          A    Yes, sir.
 20          Q    Did you note in any of your reports that it
 21    is a somewhat difficult holster to open?
 22          A    No, sir, I didn't.
 23          Q    And you are not here today to give an
 24    opinion on whether or not Sergeant Folsom and
 25    Corporal Mertens' use of force was appropriate or
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 233 of 313 PageID #: 667
                                   Weinhaus, Vol. 2                          472




   1   not, are you?
   2         A    No, sir, I'm not.
   3         Q    Is that ever your job as part of an
   4   investigation into an officer-involved shooting?
   5         A    No, sir.
   6         Q    You're really there more to gather the
   7   evidence in a clean manner?
   8         A    Yes, sir.
   9         Q    Clean I mean make sure of chain of custody
 10    is done right, not contaminated and all that?
 11          A    Yes, sir.
 12          Q    How long have you been with Troop C?
 13          A    19 years.
 14          Q    How long in that time have you been out in
 15    the field?
 16          A    I spent 12 years on the road in Jefferson
 17    County, two years in narcotics and the last six
 18    years in criminal investigations.
 19          Q    Do you do a lot of traffic stops at times in
 20    that?
 21          A    In my current position?
 22          Q    No, in your past position?
 23          A    Yes, sir, I did.
 24          Q    Guesstimate number of traffic stops?
 25          A    I don't think I could guesstimate, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 234 of 313 PageID #: 668
                                   Weinhaus, Vol. 2                          473




   1         Q    A lot, hundreds, thousands?
   2         A    A lot.
   3         Q    So it's fair to say you have experience --
   4   I'll ask you the next follow-up question.                  In many
   5   of those traffic stops or some of them did you
   6   search the car?
   7         A    Yes, sir, I did.
   8         Q    And in your experience, was it common to
   9   find firearms inside a car?
 10          A    No, sir, it wasn't.
 11          Q    No?    Really?      So in Jefferson County it
 12    would be unusual for someone to drive around with
 13    say a shotgun in their car?
 14          A    It's possible, people do it.              As far as
 15    unusual, I don't know what your operational
 16    definition is exactly.
 17          Q    I'm saying, you said you did many, hundreds,
 18    thousands of traffic stops.
 19          A    I did not say that.
 20          Q    Well, I put words in your mouth, I'll take
 21    that back, but you did many, many traffic stops, you
 22    couldn't put a number on it but you testified you
 23    did a lot?
 24          A    That's correct.
 25          Q    And in some of those cases you searched the
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 235 of 313 PageID #: 669
                                   Weinhaus, Vol. 2                          474




   1   cars?
   2         A    Yes, sir, that's correct.
   3         Q    Or the truck or whatever it is?
   4         A    Yes, sir, that's correct.
   5         Q    And in some of those cases you found
   6   firearms; right?
   7         A    Yes, sir, that's correct.
   8         Q    And having a firearm is not illegal; right?
   9         A    Correct.
 10          Q    You're not a danger to the public or fellow
 11    drivers just because you have a firearm in your car?
 12          A    Yes, sir, you are correct.
 13          Q    Are you here to give testimony on Jeff
 14    Weinhaus' state of mind or intentions on September
 15    11th?
 16          A    No, sir, I'm not.
 17          Q    In the course of your investigation, did you
 18    discover whether Sergeant Folsom or Corporal Mertens
 19    knew of the gun, the holstered gun and the shotgun
 20    in the car at the time of the shooting?
 21          A    No, sir.
 22          Q    They did not know or you don't know?
 23          A    They did not know.
 24          Q    They did not know?
 25          A    I had no evidence that they did know.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 236 of 313 PageID #: 670
                                   Weinhaus, Vol. 2                          475




   1         Q    They were totally unaware that these weapons
   2   were in the car?
   3         A    From my understanding, yes, that's correct.
   4         Q    And during the course of your investigation,
   5   you discovered no evidence that Jeff Weinhaus said
   6   anything about these weapons in the car to the
   7   troopers?
   8         A    That's correct.
   9         Q    Can you find any evidence that he ever
 10    attempted to use these weapons in any respect at the
 11    gas station, any evidence that he tried to use these
 12    weapons?
 13          A    Witness statements from Sergeant Folsom
 14    indicated that he did.             Corporal Mertens indicated
 15    that he did, and the cell phone watch that he was
 16    wearing turned to the right right before the shots
 17    were fired capturing the shooting.                 So you asked for
 18    evidence, I think those would be parts.
 19          Q    You are absolutely right, and the jury has
 20    heard testimony from both those troopers and they
 21    have seen that weapon.             But that's not my question.
 22    My question is about the weapons, not the gun, not
 23    the height point and holster, everyone concedes that
 24    was on Jeff Weinhaus' person.                  I'm talking about the
 25    weapons that were in the car. Sergeant Folsom and
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 237 of 313 PageID #: 671
                                   Weinhaus, Vol. 2                          476




   1   Corporal Mertens didn't know about those weapons
   2   when they shot Jeff; right?
   3              MR. PARKS:       Objection, calls for
   4   speculation.
   5              MR. EASTWOOD:         I'm asking for his knowledge
   6   on what evidence he uncovered in his investigation.
   7              JUDGE SUTHERLAND:            Overruled.    You may
   8   answer.
   9              THE WITNESS:        From information I had they
 10    were not aware of those weapons.
 11          Q    (By Mr. Eastwood) Did you find any evidence
 12    that Jeff made any statements about those weapons
 13    that were in the car?
 14               MR. PARKS:       Objection, Your Honor, hearsay.
 15               JUDGE SUTHERLAND:            And it's repetitive as
 16    well, sustained.
 17          Q    (By Mr. Eastwood) Did you find any evidence
 18    that Jeff attempted to use or go for the weapons
 19    that were in the car?
 20          A    No, sir, I did not.
 21          Q    Now both troopers had the same type of Glock
 22    weapon; is that correct, sir?
 23          A    Yes, sir, that's correct.
 24          Q    And in fact you oversaw as part of your
 25    investigation, Highway Patrol Forensics examining
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 238 of 313 PageID #: 672
                                   Weinhaus, Vol. 2                          477




   1   those guns and also bullets they recovered; right?
   2         A    I submitted those to the lab, sir.
   3         Q    And is it fair to say that forensics
   4   couldn't tell whether the bullet that was recovered
   5   from Jeff Weinhaus' body came from Folsom or
   6   Mertens, they could not tell which gun it came from?
   7         A    That's correct.
   8         Q    Did you also recover a bullet from the side
   9   of the MFA building, around there?
 10          A    No, sir, I did not.
 11          Q    Did you uncover evidence of a bullet strike
 12    on the wall?
 13          A    Yes, sir, I did.
 14          Q    Did you make any conclusions in your
 15    investigation about where that bullet strike -- how
 16    it occurred?
 17          A    Yes, sir, I did.
 18          Q    What was your conclusion?
 19          A    It appeared that that round was probably
 20    fired from Corporal Mertens.
 21          Q    Did your investigation include any
 22    recommendations or conclusions on whether Corporal
 23    Mertens' or Sergeant Folsom's use of force was
 24    appropriate or justified?
 25          A    No, sir, it did not.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 239 of 313 PageID #: 673
                                   Weinhaus, Vol. 2                          478




   1         Q    And does it include any recommendations or
   2   conclusions on whether the fact that Corporal
   3   Mertens' bullet struck the building was an issue
   4   that needed to be investigated further?
   5         A    No, sir.
   6         Q    The watch, just so we can be clear, the
   7   wrist watch, did you make any conclusions as to
   8   where the camera lens was inside this watch?
   9         A    I believe it was in the six hole or the six
 10    spot.     If I could look at it again.
 11          Q    Absolutely, sir.           I'll walk around.
 12          A    Yes, sir, it appears to be down by the six,
 13    where the six clock is.
 14          Q    It's quite concealed, isn't it?
 15          A    Yes, sir, it is.
 16          Q    I don't think anyone from the Highway Patrol
 17    was aware that this watch was also a camera in the
 18    early days of your investigation, were they?
 19          A    No, sir, we were not.
 20          Q    In fact the day of when a walk through of
 21    the scene was done with Sergeant Folsom and Corporal
 22    Mertens, no one at the Highway Patrol was aware that
 23    this watch existed as a recording device or that
 24    there was a recording; right?
 25          A    Yes, sir, you're correct.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 240 of 313 PageID #: 674
                                   Weinhaus, Vol. 2                          479




   1         Q    And in fact the next day you took -- you
   2   interviewed both Sergeant Folsom and Corporal
   3   Mertens and you recorded that interview; right?
   4         A    Yes, sir, we did.
   5         Q    And was that at Troop I or C?
   6         A    Troop I.
   7         Q    Down in Rolla?
   8         A    Yes, sir.
   9         Q    And at that time neither you nor Corporal
 10    Mertens or Sergeant Folsom was aware of the
 11    existence of the wrist watch camera; right?
 12          A    Yes, sir, you're correct.
 13          Q    And when Sergeant Folsom and Corporal
 14    Mertens made written statements as part of your
 15    investigation and part of your reporting, they were
 16    not aware of the existence of the wrist watch
 17    camera?
 18          A    That's correct.
 19          Q    When did you find out about the fact that
 20    this was a recording device?
 21          A    In March.
 22          Q    Of this year?
 23          A    Of 2013, yes, sir, that's correct.
 24          Q    So that was some six months, seven months
 25    after the shooting; right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 241 of 313 PageID #: 675
                                   Weinhaus, Vol. 2                          480




   1         A    Yes, sir, you're correct.
   2         Q    Had your investigation otherwise concluded
   3   by that point?
   4         A    Yes, sir, it had.
   5         Q    And when you reviewed that footage, did you
   6   first see it in March?
   7         A    Yes, sir, I did.
   8         Q    You got a warrant, opened it up?
   9         A    Yes, sir.
 10          Q    Were you concerned that the video footage
 11    itself contradicted any of the other reporting or
 12    evidence in your investigation?
 13          A    No, sir, I was not.
 14          Q    I want to go back just to the weapons as a
 15    whole that were seized.             Jeff was never charged with
 16    unlawful possession of these weapons as part of your
 17    investigation; right?
 18          A    As far as I know.
 19          Q    As far as you know, all these guns are
 20    legal, right, these particular guns; right?
 21          A    Yes, sir.
 22          Q    None of them have been come by improperly or
 23    illegally?
 24          A    No, sir.
 25          Q    The handgun and the shotgun in the car or
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 242 of 313 PageID #: 676
                                   Weinhaus, Vol. 2                          481




   1   rifle, whatever went to call it, was it concealed or
   2   readily apparent when you searched the car?
   3         A    Readily apparent.
   4         Q    It was not hidden somewhere?
   5         A    No, sir.
   6         Q    How long have you known Sergeant Folsom,
   7   sir?
   8         A    I really didn't know him, sir.
   9         Q    And how long have you known Corporal
 10    Mertens?
 11          A    I really didn't know Corporal Mertens
 12    either, sir.
 13          Q    Different troop?
 14          A    Yes, sir.
 15          Q    Have you been concerned about any conflict
 16    of interest by yourself or anyone else in conducting
 17    this investigation?
 18          A    No, sir, I have not.
 19          Q    Do you have any opinion on why Jeff did not
 20    exit his vehicle with the other two weapons in his
 21    car as part of your investigation?
 22               MR. PARKS:       Objection, calls for speculation
 23    on the part of the witness.
 24               JUDGE SUTHERLAND:            Sustained.
 25               MR. EASTWOOD: Nothing further.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 243 of 313 PageID #: 677
                                   Weinhaus, Vol. 2                          482




   1              JUDGE SUTHERLAND:            May this witness be
   2   excused as well?
   3              MR. PARKS:       Yes, Your Honor.
   4              JUDGE SUTHERLAND:            Thank you.    You may step
   5   down.     Let's take a recess now.             The Court again
   6   reminds you of what you were told at the first
   7   recess of the Court.           Until you retire to consider
   8   your verdict, you must not discuss this case among
   9   yourselves or with others or permit anyone to
 10    discuss it in your hearing.                You should not form or
 11    express any opinion about the case until it is
 12    finally given to you to decide.                Do not do any
 13    research or investigation on your own about any
 14    matter regarding this case or anyone involved in the
 15    trial.     Do not communicate with others about the
 16    case by any means.          Do not read, view or listen to
 17    any newspaper, radio, electronic communication from
 18    the Internet or television report of the trial.
 19    We're in recess for 15 minutes.
 20               (WHEREUPON A BRIEF RECESS TOOK PLACE)
 21               JUDGE SUTHERLAND:            Call your next witness.
 22               MR. PARKS:       State calls Corporal Jeff White.
 23          (WHEREUPON CORPORAL JEFF WHITE WAS SWORN IN)
 24            DIRECT EXAMINATION OF CORPORAL JEFF WHITE
 25    QUESTIONS BY MR. PARKS:
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 244 of 313 PageID #: 678
                                   Weinhaus, Vol. 2                          483




   1         Q    Please state your name for the record.
   2         A    Jeffrey L. White.
   3         Q    And Corporal White, you are a corporal with
   4   the Missouri State Highway Patrol; is that correct?
   5         A    That's correct.
   6         Q    And how long have you been with the Highway
   7   Patrol?
   8         A    17 years, sir.
   9         Q    And during those 17 years, have you had
 10    special training in firearms and firearms
 11    instruction?
 12          A    Yes, sir.
 13          Q    What have you done?
 14          A    I've been certified as a firearm, police
 15    firearms instructor by both the National Rifle
 16    Association, the FBI and through the Missouri State
 17    Highway Patrol.
 18          Q    And since 2007, what have your duties
 19    included with the Highway Patrol?
 20          A    My primary duty is the chief firearms
 21    instructor for the Missouri State Highway Patrol at
 22    our training academy in Jefferson City.
 23          Q    And you train all the recruits on firearms
 24    and firearm safety; is that correct?
 25          A    That is correct.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 245 of 313 PageID #: 679
                                   Weinhaus, Vol. 2                          484




   1         Q    And you teach them situational -- how to
   2   handle themselves in certain situations handling
   3   firearms?
   4         A    Yes, sir.
   5         Q    And you have instructed them in the use of
   6   deadly force; is that correct?
   7         A    Yes, sir.
   8         Q    And is this your primary function now with
   9   the Highway Patrol as a firearms instructor with the
 10    academy with the Highway Patrol?
 11          A    Yes, sir.
 12          Q    And I direct your attention to September
 13    11th, 2012 and the shooting incident that we are
 14    here about today.          You were not involved in that
 15    shooting; is that correct?
 16          A    That is correct.
 17          Q    And you were not present at the scene or
 18    after the scene for that?
 19          A    No, sir.
 20          Q    Is that correct?
 21          A    That is correct.
 22          Q    Can you explain to the jury what you
 23    instruct or how you instruct new troopers in the use
 24    of their firearms in deadly situations?
 25          A    It's a wide range of instruction involving
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 246 of 313 PageID #: 680
                                   Weinhaus, Vol. 2                          485




   1   those types of situations.                It starts with a
   2   foundation of firearms safety, firearms handling,
   3   proper use, carry, wear of the firearm.                  Then we
   4   start introducing live fire training on static
   5   targets.      As we build through their training, we
   6   start introducing what we call force-on-force
   7   training or where they're working against other
   8   students and at times civilian role players that we
   9   bring in that portray the part of the bad guy or
 10    potentially innocent bystander or victim.                  They then
 11    have to decide what the situation is, what's going
 12    on, decide whether or not force needs to be used,
 13    what level of force needs to be used and then
 14    properly apply that force.
 15          Q    There has been some talk here today about
 16    the force continuum, are you familiar with that
 17    instructional method?
 18          A    Yes, sir.
 19          Q    Does the Highway Patrol teach that method
 20    anymore?
 21          A    No, sir.
 22          Q    Why not?
 23          A    What we have found is the force continuum,
 24    the diagram of the force continuum is a stair step,
 25    and what we have found is students would be
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 247 of 313 PageID #: 681
                                   Weinhaus, Vol. 2                          486




   1   reluctant to utilize the force that was required
   2   because they would be locked into a stair step
   3   thought process.         The bad guy is here, I'm here, so
   4   I can go to here.          So we moved away from that model,
   5   and we now use what we call the force options.
   6         Q    What is the force option?
   7         A    To diagram it for our students, we tell them
   8   to picture themselves in the middle of the wagon
   9   wheel, they're at the hub and they have the spokes
 10    that are out supporting the wheel.                The spokes are
 11    then their force options, and then depending upon
 12    the situation, they can dry upon any of those force
 13    options at any time without having to worry about a
 14    stair step arrangement, having to think where
 15    they're at in relation.             They can respond with what
 16    they feel is the appropriate level of force based on
 17    their training and experience and what the situation
 18    dictates.
 19          Q    Is this also called action reaction
 20    training?
 21          A    No, the action reaction training is a
 22    specific training that we do that really brings
 23    these force options to light, and it's really all
 24    part of our force on force training.
 25          Q    Can you give us an example.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 248 of 313 PageID #: 682
                                   Weinhaus, Vol. 2                          487




   1         A    Our action reaction training is, and we do
   2   it with the recruits, where for example I'll be
   3   standing there and I'll have one of our training
   4   weapons, it shoots a non-lethal projectile with a
   5   significant pain penalty, and they will have a
   6   similar weapon.         I'll tell them to go ahead and put
   7   their weapon towards me, finger on the trigger if
   8   they want, and whenever they perceive me as a
   9   threat, to go ahead and press the trigger and try
 10    and shoot me.        I tell them they can't do anything
 11    until they perceive me as a threat.                I may be having
 12    my weapon holstered.           I may have it in my hand down
 13    at my side.       I may have my hands in the air with the
 14    weapon.      I may be sometimes holding it to my head.
 15    Whenever they perceive me as a threat, they're
 16    allowed to shoot.          The thing that we're pointing out
 17    with them and the reason we do it as demonstration
 18    training is every single time I do this training, I
 19    beat them.
 20          Q    Why is that?
 21          A    It demonstrates the principle that action is
 22    always going to be faster than reaction.                  They're
 23    having to react to my movement; therefore, they have
 24    to wait until they see my movement, perceive it,
 25    process it and then send a signal back to their
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 249 of 313 PageID #: 683
                                   Weinhaus, Vol. 2                          488




   1   trigger finger to make that action happen, and
   2   that's again I beat them every time with them
   3   knowing and telling them up front that I am going to
   4   become a threat to them.
   5         Q    Who decides how much force should be used in
   6   any given situation?
   7         A    The officer on the scene ultimately has to
   8   decide how much force they're going to apply based
   9   on whatever it is the suspect presents to them.
 10          Q    So it's the perception of the suspect that
 11    causes the officer to react?
 12          A    Yes, sir.
 13          Q    It's not the reaction of the officer to the
 14    defendant?
 15          A    No.    There has to be some kind of
 16    circumstance that's causing the officer to perceive
 17    a danger.       Lethal force can be used when the officer
 18    perceives a threat to their life, the life of
 19    another or serious bodily injury to themselves or
 20    another.
 21          Q    And in these situations, what happens to the
 22    officer as the situation escalates to the point
 23    where he's going to have to fire his weapon
 24    psychologically?
 25          A    This area has been studied extensively.                  We
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 250 of 313 PageID #: 684
                                   Weinhaus, Vol. 2                          489




   1   teach a four-hour block of instruction on this
   2   portion alone, it's called survival mentality, and
   3   what happens is the officer, upon perception of
   4   danger, would -- will go through several
   5   physiological changes.             They will have a large
   6   adrenaline dump, their heart rate can increase from
   7   resting heart rate to up to 200 beats per minute in
   8   just seconds.        There are certain physiological
   9   changes that happen within a person during the time
 10    that this heart rate increases, things such as they
 11    can have diminished auditory capacity, they will
 12    have auditory exclusion, sounds will no longer be
 13    important to the body based on its perception of
 14    survival, so the body shuts that down.                 Digestive
 15    system will shut down.             Other non-essential areas
 16    will cease to function, so to speak.                 The officer
 17    will have a narrowing of their field of vision, a
 18    tunnel vision is what it's typically termed as.                     The
 19    officer will also have -- at times there can be a
 20    distortion of time.           They can either perceive things
 21    happening in fast motion, typically it turns into a
 22    slow motion time.          The officer can perceive that
 23    they've frozen, they're unable to move or that
 24    events are transpiring very, very slowly like
 25    everything is moving through some kind of oil or
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 251 of 313 PageID #: 685
                                   Weinhaus, Vol. 2                           490




   1   something where it's really, really slow.
   2         Q    When you talk about the auditory senses
   3   shutting down, would somebody be able to fire their
   4   weapon and not hear the weapon discharge?
   5         A    There have been reported cases of that, yes,
   6   sir.
   7         Q    Do you teach troopers how to react to a
   8   situation of an armed individual?
   9         A    Yes, sir.
 10          Q    What do you teach them?
 11          A    A lot of -- we give them several options.
 12    There's no one specific way to handle all
 13    situations, so we try to make it situational
 14    dependent and give them multiple situations in which
 15    to tryout the various tools that we give them.                    It
 16    can be anything from having the person stop where
 17    they are, possibly turn away from them, put them on
 18    the ground, just any number of things.
 19          Q    What do you teach your officers or when do
 20    you teach your officers to use lethal force?
 21          A    When they perceive a threat to themselves or
 22    others, either a threat to their life or the threat
 23    of serious physical injury.
 24          Q    If you were teaching a class of troopers and
 25    you gave them an example of someone who had a pistol
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 252 of 313 PageID #: 686
                                   Weinhaus, Vol. 2                          491




   1   in a holster on their side, would that be enough to
   2   use lethal force with nothing else going on?
   3         A    With no other elements, no, sir, that would
   4   not be sufficient reason.
   5         Q    If that holster had a flap on it and the
   6   suspect opened that flap, what would you teach your
   7   officers to do at that point?
   8         A    I would teach the officers that that greatly
   9   elevates the danger to them.                   The fact that the
 10    person is operating in proximity to the weapon to
 11    where they can remove the flap or undue the flap
 12    puts them in a position at that moment where the gun
 13    can be put into play instantly and utilized against
 14    them.
 15          Q    Would this be a situation where they would
 16    be authorized to use lethal force?
 17          A    Yes, sir.
 18          Q    If that person took his hand and put the
 19    hand under the flap of the holster, what would you
 20    teach them, how would you teach them to handle that
 21    situation?
 22          A    That is actually one of the elements that we
 23    talk about when the person is in proximity with
 24    their weapon with the use of that action versus
 25    reaction drill. This is obviously, at that point,
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 253 of 313 PageID #: 687
                                   Weinhaus, Vol. 2                          492




   1   the person has their hand on the weapon, they are in
   2   a position where they would be able to beat the
   3   officer.
   4         Q    Would that be a situation in which the
   5   officer would be allowed to use deadly force?
   6         A    Yes, sir.
   7         Q    If the suspect started to draw his pistol
   8   out of the holster, what would you teach your
   9   troopers?
 10          A    At that point deadly force or deadly threat
 11    against them is imminent and they should be
 12    utilizing deadly force at that point.
 13          Q    Would the officer be behind the curve if he
 14    allowed the suspect to start to draw his gun before
 15    he fired?
 16          A    Very much so.
 17          Q    And this is something that you would teach
 18    them not to try to get into that situation?
 19          A    Yes, sir.
 20          Q    If the defendant had his hand on the gun and
 21    yelled, "you're going to have to shoot me man,"
 22    would this be a situation in which you would teach
 23    your troopers to use lethal force?
 24          A    Yes, sir.
 25          Q    Why?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 254 of 313 PageID #: 688
                                   Weinhaus, Vol. 2                          493




   1         A    The person has already given an indication
   2   of what -- that they're anticipating the use of
   3   deadly force by the officer, and they are making
   4   motions by placing their hand on the weapon that is
   5   going to have to force the officer to have to do
   6   that.
   7         Q    So in other words your training to the
   8   officer is to perceive the threat, and when they
   9   perceive the threat, to take the appropriate action?
 10          A    Yes, sir.       As I said, if we get to the point
 11    where we are trying to play catch-up with the
 12    suspect, absolutely the best we can hope for is a
 13    tie, which for us is a loss.
 14               MR. PARKS:       Thank you very much.          No more
 15    questions.
 16               JUDGE SUTHERLAND:            Cross examination.
 17               MR. EASTWOOD:         Thank you, Your Honor.
 18              CROSS EXAMINATION OF CORPORAL JEFF WHITE
 19    QUESTIONS BY MR. EASTWOOD:
 20          Q    Good afternoon, sir.
 21          A    Good afternoon.
 22          Q    It's good to see you again.             We met last
 23    week so I could take your deposition; is that
 24    correct?
 25          A    That is correct.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 255 of 313 PageID #: 689
                                   Weinhaus, Vol. 2                          494




   1         Q    And I apologize, your title is Corporal
   2   White; is that correct?
   3         A    Yes, sir.
   4         Q    Corporal White, how long have you been
   5   teaching use of force for the Missouri Highway
   6   Patrol?
   7         A    I started as an adjunct instructor for the
   8   academy in 2000, been teaching full-time since 2007.
   9         Q    When was it that you got your certifications
 10    from the NRA and some of these other agencies?
 11          A    My first certification was when I was still
 12    with the sheriff's department in Boone County.                    The
 13    certification with the NRA was in 1986.
 14          Q    And did you ever compare -- strike that.
 15    Did you ever train Sergeant Folsom in the use of
 16    force for firearms?
 17          A    As I said during our deposition, the only
 18    opportunity I would have had to have trained him
 19    would have been both 2007 and 2008 when all troopers
 20    came through the academy for in-service training for
 21    active shooter training.
 22          Q    I'm going to ask you some questions I asked
 23    you in your deposition because I need the jury to
 24    hear your answers, okay, sir, but to your knowledge
 25    you have no personal knowledge of whether or not you
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 256 of 313 PageID #: 690
                                   Weinhaus, Vol. 2                          495




   1   trained Sergeant Folsom; right?
   2         A    No, sir.
   3         Q    And at least in preparation for your
   4   deposition, I don't know if it's changed since then,
   5   you did not review what training Sergeant Folsom
   6   had; is that correct?
   7         A    That's correct.
   8         Q    So you don't know what training he's had?
   9         A    No, sir.
 10          Q    And if I told you that Sergeant Folsom had
 11    served in the Army, is it possible that he had had
 12    different training in use of force than that which
 13    he might receive from you in the Highway Patrol?
 14          A    Would the Army have taught him differently
 15    than what the patrol would be teaching?
 16          Q    Yes, sir.
 17          A    Yes.
 18          Q    Do you know what the Army would teach him?
 19          A    Not specifically, no, sir.
 20          Q    But you know it would be different perhaps?
 21          A    Yes, there's a good possibility.
 22          Q    And have you trained Corporal Mertens?
 23          A    Yes.
 24          Q    And when was that?
 25          A    It would have been during the time that both
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 257 of 313 PageID #: 691
                                   Weinhaus, Vol. 2                          496




   1   of us were on the Troop F SWAT team.
   2         Q    How long a period was that when you were on
   3   the SWAT team together?
   4         A    To the best of my recollection it would have
   5   been a six-year period.
   6         Q    You were together for six years?
   7         A    Yes, sir.
   8         Q    Doing SWAT the whole time?
   9         A    It was an additional duty.             We only have a
 10    part-time SWAT team, we had four part-time for the
 11    state.
 12          Q    So you weren't regularly serving along side
 13    him, it was only when the SWAT team was activated?
 14          A    The trainings were two days a month and then
 15    during any activations.
 16          Q    Were you training Corporal Mertens then or
 17    serving along side him?
 18          A    I was in charge of training for the SWAT
 19    team during the time we were doing that since I was
 20    a firearms instructor.
 21          Q    Was the use of firearms instruction any
 22    different for the SWAT team situation than it would
 23    be for an ordinary situation interacting with a
 24    civilian?       If that was too big, I can restate.
 25          A    I can say the basic training is the same as
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 258 of 313 PageID #: 692
                                   Weinhaus, Vol. 2                          497




   1   far as when we're authorized to utilize weapons.
   2   The only difference would be in tactics and the fact
   3   that we would have multiple people available to
   4   respond to a situation at that point.
   5         Q    SWATs are pretty serious extreme situations;
   6   right?
   7         A    Yes, sir.
   8         Q    Very high threat level?
   9         A    Yes, sir.
 10          Q    Extreme use of force required, highest level
 11    of force required in many cases?
 12          A    The potential is always there, yes, sir.
 13          Q    The type of weaponry and tactical maneuvers
 14    are anticipating very, very dangerous situations?
 15          A    Yes, sir.
 16          Q    And to be clear, the situation from your
 17    knowledge, your review of the Jeff Weinhaus matter
 18    was not a SWAT team type situation; right?
 19          A    No, sir.
 20          Q    Did you talk to Sergeant Folsom before
 21    testifying here today about this incident, about the
 22    shooting incident?
 23          A    No, sir.
 24          Q    Did you talk to Corporal Mertens about the
 25    shooting incident?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 259 of 313 PageID #: 693
                                   Weinhaus, Vol. 2                          498




   1         A    No, sir.
   2         Q    Did you review the investigative reports
   3   that Perry Smith prepared?
   4         A    No, sir.
   5         Q    What materials did you review in preparation
   6   for your testimony today?
   7         A    I viewed the videotape as it was presented
   8   by the prosecutor's office.
   9         Q    This is the wrist watch videotape?
 10          A    Yes, sir.
 11          Q    And you reached -- did you reach any
 12    conclusions based on your review of that tape?
 13          A    Yes, sir.
 14          Q    And what was your conclusion?
 15          A    My conclusion was that the use of force was
 16    within reason for the situation that was presented.
 17          Q    Now is that based solely on what you saw and
 18    heard in the video or also based on certain
 19    assumptions?
 20          A    Based on what I saw and heard on the video,
 21    sir.
 22          Q    Let's walk through it one by one.               In the
 23    video you don't see the holster; right?
 24          A    No, sir.
 25          Q    You don't see the gun in the holster; right?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 260 of 313 PageID #: 694
                                   Weinhaus, Vol. 2                          499




   1         A    No, sir.
   2         Q    You see footage that is taken by a camera
   3   that is on Jeff Weinhaus' left wrist; correct?
   4         A    Yes, sir.
   5         Q    You cannot see his right hand at any time in
   6   the video; right?
   7         A    Correct.
   8         Q    You cannot -- you can only at best see what
   9   the camera depicts and hear what Jeff, Sergeant
 10    Folsom, Corporal Mertens each say, and in brief
 11    periods of time you see Sergeant Folsom and you see
 12    Corporal Mertens; right?
 13          A    Yes, sir.
 14          Q    And so your testimony that the use of force
 15    was justified here is based then on an assumption
 16    that Jeff's hand did what Sergeant Folsom and
 17    Corporal Mertens testified it did; right?
 18          A    Yes, sir.
 19          Q    You can't tell that from the video alone?
 20          A    No, sir.
 21          Q    And I assume you learned of this testimony,
 22    I guess it was Mr. Parks or someone told you that
 23    this is what it would be; right?
 24          A    Yes, sir.
 25          Q    Now, when I met with you, you kindly brought
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 261 of 313 PageID #: 695
                                   Weinhaus, Vol. 2                          500




   1   some of the training materials that you use in
   2   teaching use of force?
   3         A    Yes, sir.
   4         Q    And I think before that.            And I know you
   5   already went over this with Mr. Parks that you no
   6   longer teach the force continuum, that you have this
   7   hub and spoke system almost of force options?
   8         A    Yes, sir.
   9         Q    And the key really is reasonableness; right?
 10          A    Yes, sir.
 11          Q    It's sort of like Goldilocks, not too hot,
 12    not too cold.        One is extreme force, excessive
 13    force, and that would be inappropriate; is that
 14    correct?
 15          A    That's correct.
 16          Q    And at the other end is too little force,
 17    and that results in a law enforcement officer
 18    potentially being shot or wounded, killed; right?
 19          A    Yes, sir.
 20          Q    And it seems to me that your critique of the
 21    force continuum was that perhaps it encouraged too
 22    little force, too little reactive force by the
 23    officer, and that left the officer vulnerable, is
 24    that fair to say?
 25          A    It was more of a concern over it causing
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 262 of 313 PageID #: 696
                                   Weinhaus, Vol. 2                          501




   1   delays in deciding to use higher levels of force.
   2         Q    They couldn't get up those steps, couldn't
   3   get to a higher level fast enough in order to act
   4   appropriately given the level of threat they were
   5   confronted with?
   6         A    Yes, sir.
   7         Q    They were sort of thinking I have to keep on
   8   going up.       And you also in these training materials
   9   teach something called the universal human phobia;
 10    is that correct?
 11          A    Yes, sir.
 12          Q    And what is the universal human phobia?
 13          A    Interpersonal, I'm sorry, interpersonal
 14    human aggression.
 15          Q    In other words fighting, two individuals
 16    fighting; right?
 17          A    That is an example of it, yes.
 18          Q    And when confronted with interpersonal human
 19    aggression, what are some of the conditions that the
 20    body experiences?
 21          A    As I spoke about before, there are things
 22    that will occur; the heart rate will go up,
 23    adrenaline dump will occur, non-essential systems
 24    will start shutting down based on the body's
 25    perception of the threat.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 263 of 313 PageID #: 697
                                   Weinhaus, Vol. 2                          502




   1         Q    And as these stress hormones come in or are
   2   dumped into the body, it's also correct that fine
   3   motor skills deteriorate; isn't that true?
   4         A    Yes, sir.
   5         Q    That visual reaction time changes?
   6         A    Yes.
   7         Q    That cognitive reaction time changes?
   8         A    Yes, sir.
   9         Q    That as the heart rate elevates, as the
 10    stress level goes up, complex motor skills
 11    deteriorate?
 12          A    Yes, sir.
 13          Q    In fact if your heart rate gets high enough,
 14    you may freeze or seize up?
 15          A    Yes, sir.
 16          Q    You may uncontrollably void your bladder or
 17    bowels?
 18          A    Yes, sir.
 19          Q    You lose gross motor skills, you lose
 20    control of much of your body?
 21          A    At different stages different functions will
 22    be affected, yes, sir.
 23          Q    In your training experience on the Highway
 24    Patrol, have you dealt with individuals who have had
 25    nerve damage?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 264 of 313 PageID #: 698
                                   Weinhaus, Vol. 2                          503




   1         A    Not that I'm aware of, no, sir.
   2         Q    Have you dealt with individuals who have
   3   tremors or shakes in their hands that are abnormal
   4   for a healthy law enforcement officer?
   5         A    Yes, sir.
   6         Q    Tell me about that.             How do you train
   7   someone who has a tremor or shake or motor skills
   8   issue, how do you train them to correctly respond
   9   with the right level of force?
 10          A    Just the physical ailment itself won't
 11    preclude their proper judgment.                What it becomes
 12    then is mechanical function as far as being able to
 13    utilize their firearm in a proper method and get
 14    shot placement where they intend.
 15          Q    So it's the firing of the gun that's a
 16    concern?
 17          A    Yes, sir.
 18          Q    You also teach that in such situations there
 19    are what's called perceptual distortions; is that
 20    correct?
 21          A    Yes, sir.
 22          Q    And that can be diminished or intensified
 23    sound?
 24          A    Yes, sir.
 25          Q    So it's completely foreseeable that an
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 265 of 313 PageID #: 699
                                   Weinhaus, Vol. 2                          504




   1   officer might not remember the sound of a bullet;
   2   right?
   3         A    Yes, sir.
   4         Q    And you can have heightened visual clarity
   5   or less visual clarity, both are normal responses;
   6   is that correct?
   7         A    Yes, sir.
   8         Q    And you can have temporary paralysis?
   9         A    Yes, sir.
 10          Q    You can also have memory loss for parts of
 11    the event; is that correct?
 12          A    Yes, sir.
 13          Q    You can also have memory distortion for your
 14    memories of some of the event; is that true?
 15          A    Yes, sir.
 16          Q    You can have intrusive or distracting
 17    thoughts; right?
 18          A    Yes.
 19          Q    You can have disassociation?
 20          A    Yes.
 21          Q    Can you explain what disassociation is?
 22          A    Disassociation is the feeling that this is
 23    happening to someone else, this isn't happening to
 24    me, you're seeing it from like a third person
 25    perspective.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 266 of 313 PageID #: 700
                                   Weinhaus, Vol. 2                          505




   1         Q    You can have memory loss for some of your
   2   actions; right?
   3         A    Yes, sir.
   4         Q    So in other words your perception, it is
   5   entirely normal, foreseeable and indeed part of the
   6   body's response to have significant changes to
   7   vision, to hearing, to perception of time, to
   8   perception, to recollection of memory?
   9         A    These are potential things that can happen.
 10    It's not a guarantee that it will happen to any
 11    specific individual, they may suffer one of them or
 12    all of them, but it is very both case and officer
 13    specific.
 14          Q    And it certainly is something that you teach
 15    and that because it's foreseeable that officers
 16    could be in these situations; right?
 17          A    That is correct.
 18          Q    You also have a color code system of mental
 19    physical awareness; is that correct?
 20          A    Yes, sir.
 21          Q    It goes from white, yellow, orange, red to
 22    black; right?
 23          A    That is correct.
 24          Q    And in the white, that's one extreme of the
 25    color continuum, you're really not -- a person is
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 267 of 313 PageID #: 701
                                   Weinhaus, Vol. 2                          506




   1   not in a combative state of mind, if they were
   2   attacked, they'd probably die; right?
   3         A    That is correct.
   4         Q    Condition black, you're in mortal combat;
   5   right?
   6         A    Yes, sir.
   7         Q    Fighting for your life, flight or fight, you
   8   have to defend yourself or you will be killed?
   9         A    That is correct.
 10          Q    Have you ever taught, as an instructor,
 11    whether or not it is appropriate for an officer to
 12    confront a suspect who has personally threatened him
 13    before as opposed to his peer officers?
 14          A    I'm sorry, I'm not sure I understand your
 15    question.
 16          Q    Do you ever teach situations in which an
 17    officer has to confront a suspect when that suspect
 18    has made personal attacks, personal threats against
 19    that officer in particular?
 20          A    No, sir.
 21          Q    There's not really training for that?
 22          A    There isn't any that we provide.
 23          Q    There's no training.                So if a suspect, if
 24    you feel for some reason, at least in your mind, is
 25    out to get you, there's no use of training in force
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 268 of 313 PageID #: 702
                                   Weinhaus, Vol. 2                          507




   1   or firearms?
   2         A    No, sir.
   3         Q    Is it foreseeable, however, in such a
   4   situation, based on your skills and you're an
   5   expert; right?
   6         A    Yes.
   7         Q    Is it foreseeable that an officer confronted
   8   with a suspect who had personally threatened him,
   9   personally attacked him, personally criticized him,
 10    would have an elevated stress level than an officer
 11    who had no previous interaction with that suspect?
 12          A    Potentially.
 13          Q    And would that change the officer, the
 14    officer who has the elevated stress levels who is
 15    dealing with this suspect in a particularly
 16    stressful situation, could that change his
 17    perception of the event?
 18          A    It would change definitely his perception of
 19    the potential danger that was there.
 20          Q    It would change his perception of the threat
 21    level?
 22          A    It very well could.
 23          Q    And with the heightened stress, it could
 24    also change his memory of the event?
 25          A    Potentially, yes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 269 of 313 PageID #: 703
                                   Weinhaus, Vol. 2                          508




   1         Q    It could distort his memory of the event?
   2         A    Potentially.
   3         Q    It could change his perception of sound, of
   4   vision?
   5         A    Potentially, yes.
   6         Q    Now, when you teach use of firearms --
   7   strike that.
   8          Obviously we're talking about reasonable use of
   9   force here, that's part of your expertise; right?
 10          A    Yes, sir.
 11          Q    The reasonable and appropriate reactive use
 12    of force to a threat?
 13          A    Yes, sir.
 14          Q    And in some situations it is appropriate for
 15    the officer to draw his weapon and potentially fire
 16    it; right?
 17          A    Yes, sir.
 18          Q    And you talked about that some with
 19    Mr. Parks.       And in your training, do you teach the
 20    officer to hold the gun with both hands?
 21          A    We teach both one handed and two handed
 22    hold.
 23          Q    Is there a preferred stance and grip that
 24    you teach?
 25          A    Preferred would be two hands.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 270 of 313 PageID #: 704
                                   Weinhaus, Vol. 2                          509




   1         Q    Why is that?
   2         A    It allows steadier hold.            Generally it
   3   allows for greater control over shot placement.
   4         Q    And that helps protect the officer and
   5   protect those around him, the shot placement; right?
   6         A    Yes, sir.
   7         Q    Prevents an innocent civilian from being hit
   8   by a stray bullet?
   9         A    Yes, sir.
 10          Q    So one hand is less preferable to two hands?
 11          A    Yes, sir.
 12          Q    Now sometimes an officer can have an injury
 13    to his hand; is that correct?
 14          A    Yes, sir.
 15          Q    What do you teach in those circumstances?
 16          A    Are you referring to an injury sustained
 17    during the needed use of the firearm?
 18          Q    Correct, yes, specifically, yes.               If one of
 19    the officer's hand, for example, has a cut on it,
 20    would that affect how the officer would grab or use
 21    the gun?
 22          A    Depending on the severity of the cut, it
 23    could, yes.
 24          Q    What would you advise, say if the cut was
 25    severe enough that it hurt enough that the
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 271 of 313 PageID #: 705
                                   Weinhaus, Vol. 2                          510




   1   officer -- it was distracting to the officer?
   2         A    At that point potentially a one-handed grip
   3   would be preferable.
   4         Q    Do you teach troopers about the law.                 I know
   5   you're not a lawyer, I don't think you are, are you,
   6   sir?
   7         A    No, sir.
   8         Q    But do you teach the troopers about the law,
   9   as you understand it, on use of force?
 10          A    To an extent, yes, sir.
 11          Q    You have teaching materials that cite cases
 12    about appropriate use of force?
 13          A    Yes, sir.
 14          Q    And you also teach or in the course of
 15    teaching this you also teach officers about
 16    excessive use of force; is that correct?
 17          A    Yes, sir.
 18          Q    In fact excessive use of force is illegal;
 19    right?
 20          A    Correct.
 21          Q    Unconstitutional?
 22          A    Yes, sir.
 23          Q    Now you also teach something called the
 24    fleeing felon doctrine; right?
 25          A    Yes, sir.
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 272 of 313 PageID #: 706
                                   Weinhaus, Vol. 2                          511




   1         Q    And can you briefly tell the Court what the
   2   fleeing felon doctrine is, tell the jury rather?
   3         A    The fleeing felon doctrine is doctrines
   4   established to where an officer -- the courts have
   5   stated that a fleeing felon can be brought under
   6   apprehension by whatever means necessary.                  We teach,
   7   though, that it only can be -- they can only utilize
   8   that force which is reasonable to bring that person
   9   under control.        That does not give them carte
 10    blanche to use deadly force to bring the person
 11    under control.
 12          Q    Do you have an opinion in this matter
 13    whether Jeff Weinhaus was a fleeing felon?
 14          A    I do.
 15          Q    And what is that opinion?
 16          A    He was not.
 17          Q    He was not a fleeing felon.             So this was not
 18    a situation where force was necessarily appropriate
 19    because of -- because he was a fleeing felon.                    Your
 20    conclusion is based rather on the video and the
 21    assumption that Jeff's right hand did what it did;
 22    right?
 23          A    Yes, sir.
 24          Q    By the way, do you have an opinion or do you
 25    have an assumption, in your opinion, as to what
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 273 of 313 PageID #: 707
                                   Weinhaus, Vol. 2                          512




   1   Jeff's last hand was doing?
   2         A    No, sir.
   3         Q    In fact I think we talked about this
   4   earlier, what Jeff's hand was doing is irrelevant to
   5   you; right, to your opinion?
   6         A    Based on the circumstances you described
   7   when the question was asked previously, yes, sir.
   8         Q    And we spoke about this, in fact your
   9   opinions about use of force are based on what's
 10    called the totality of the circumstances; right?
 11          A    Yes, sir.
 12          Q    It's really difficult to say just because
 13    someone said this or just because someone did that,
 14    that automatically requires the use of deadly force,
 15    it's really the whole picture; right?
 16          A    That is correct.
 17          Q    And so it's possible, I guess, that Jeff,
 18    this is a hypothetical, but it's possible that Jeff
 19    could have been crouching down, could have had his
 20    left hand in the air, but your opinion is based
 21    solely on what his right hand was doing; is that
 22    correct?
 23          A    That is correct.
 24          Q    Are you familiar with this particular
 25    holster?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 274 of 313 PageID #: 708
                                   Weinhaus, Vol. 2                          513




   1         A    Not that particular one but you did mention
   2   the style, sir.
   3         Q    And do you have personal experience or
   4   experience in training troopers with the use of
   5   holsters such as this?
   6         A    I have personal experience but not from
   7   training troopers.
   8         Q    Just in your private life?
   9         A    Yes, sir.
 10          Q    And do you have an opinion whether these
 11    holsters require additional effort or time to open?
 12          A    Just to open?
 13          Q    Yes, just to open?
 14          A    No, it's a pull down and lift away.
 15          Q    Are there sort of expected response times
 16    when you're training troopers for a trooper to
 17    remove his weapon from a holster and then bring it
 18    up and shoot?
 19          A    There are no set criteria.             We strive hard
 20    to get them to be able to do it in the quickest
 21    manner possible.
 22          Q    Is there an approximate time range of
 23    seconds that you have as a goal or expectation?
 24          A    Ideally we want to be able to, on signal,
 25    draw and get an accurate round on target within two
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 275 of 313 PageID #: 709
                                   Weinhaus, Vol. 2                          514




   1   seconds.
   2         Q    So in your mind an officer who was properly
   3   trained in the use of firearms could draw and then
   4   raise and shoot his weapon in about two seconds?
   5         A    If they were using the standard issue
   6   holster that we have, that's what we train from the
   7   recruit status.
   8         Q    Based on your personal knowledge of that
   9   type of holster, do they take longer to open and
 10    withdraw than the standard?
 11          A    Yes, sir.
 12          Q    How much longer?
 13          A    I haven't worked with one in quite some
 14    time, I couldn't give you a time frame.
 15          Q    Would you be impressed if a well-trained
 16    trooper could do it in three seconds, unlatch, lift,
 17    withdraw, aim, shoot, three seconds, would that be
 18    an impressive time period for you?
 19          A    I would imagine with training and practice a
 20    person could do it in a time less than that.
 21          Q    Less than that?
 22          A    Yes, sir.
 23          Q    Do you have any knowledge of what training
 24    Jeff Weinhaus had in the use of firearms?
 25          A    No, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 276 of 313 PageID #: 710
                                   Weinhaus, Vol. 2                          515




   1         Q    In the use of holsters like this?
   2         A    No, sir.
   3         Q    And you didn't make any inquiry into that as
   4   part of your opinion here today?
   5         A    No, sir.
   6         Q    I asked you during your deposition on
   7   whether the type of holster mattered, didn't I?
   8         A    Yes, sir.
   9         Q    And you told me it didn't really, right, in
 10    terms of the standard training, that the response is
 11    the same, that use of force is justified regardless
 12    of holster type if the guy reaches for his holster?
 13          A    Again based on the totality of the
 14    circumstances involved, yes, sir.
 15          Q    Sergeant Folsom, however, testified earlier
 16    today that he was familiar with this type of
 17    holster, that he had served in the military and was
 18    familiar with this type of particular holster.
 19    Would that change your opinion on the
 20    appropriateness of force based on whether the
 21    holster was closed, whether it had begun to open,
 22    whether it had -- whether the suspect's hand was
 23    touching the holster as all, the fact that this
 24    takes longer to open if Sergeant Folsom knew what
 25    type of holster this was, would that alter your
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 277 of 313 PageID #: 711
                                   Weinhaus, Vol. 2                          516




   1   opinion?
   2         A    I'm sorry, you lost me with the question in
   3   there.
   4         Q    I'll rephrase.          Your opinion you said was
   5   that the use of force was justified based on the
   6   video and based on the testimony about the right
   7   hand was made without regard to the holster type; is
   8   that correct?
   9         A    That's correct.
 10          Q    But Sergeant Folsom testified that he
 11    recognized this particular type of holster, and we
 12    just talked about the fact that this holster takes
 13    longer to open; right?
 14          A    Yes, sir.
 15          Q    So would that change your opinion if the
 16    trooper recognized and knew what type of holster
 17    this was, would that change your opinion as to when
 18    deadly force was appropriate?
 19          A    Based on that circumstance alone?
 20          Q    Yes, sir.
 21          A    No, sir.
 22          Q    And is it your opinion that if he's even
 23    reaching for it, it's okay to shoot him?
 24          A    If he's reaching for his weapon?
 25          Q    Just reaching for his holster.
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 278 of 313 PageID #: 712
                                   Weinhaus, Vol. 2                          517




   1         A    The holster with a weapon contained within
   2   it?
   3         Q    Presumably, but you don't know.
   4         A    I would say yes.
   5         Q    How far away would the hand have to be?
   6         A    It would have to start towards the holster.
   7         Q    From wherever it was?
   8         A    Yes, sir.
   9         Q    So if his hand was up in the air and it
 10    started to come here, would that be considered a
 11    reach?
 12          A    It would depend, once again, on the totality
 13    of the circumstances.            What were his instructions,
 14    what should he be doing, what are my actions at that
 15    time, all of those things, all of those factors come
 16    into play.
 17          Q    You also teach what to do when confronted
 18    with appropriate responses, and you do teach verbal
 19    judo; right?
 20          A    I do not, no.
 21          Q    But you do consider that an appropriate
 22    response under certain circumstances; right?
 23          A    To respond verbally to a threat?
 24          Q    Yes, sir.
 25          A    If there's time and circumstances warrant
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 279 of 313 PageID #: 713
                                   Weinhaus, Vol. 2                          518




   1   it, yes, sir.
   2         Q    So here we're confronted with a situation
   3   where two troopers are executing an arrest warrant.
   4   Jeff Weinhaus didn't know that.                  There's nothing to
   5   suggest he knew that, but my question is this:                    What
   6   would you teach, assuming Jeff was not reaching for
   7   the gun, what types of things might you teach a
   8   trooper to say or command in order to get the
   9   suspect to comply?
 10          A    As we said before with our training, we try
 11    to give them a variety of options so they have
 12    several things to draw from.                   One of those could be
 13    given the command of don't move.                  Another could be
 14    get on the ground.          Another could be put your hands
 15    away from the weapon.
 16          Q    In fact we spoke about hands during your
 17    deposition; right?
 18          A    Yes, sir.
 19          Q    And I think you said that you told me that
 20    talking about the hands, keeping the hands away from
 21    the weapon was something important to do when you
 22    have a person who is armed; right?
 23          A    Yes, sir.
 24          Q    And you reviewed the videotape here, neither
 25    Sergeant Folsom nor Corporal Mertens said anything
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 280 of 313 PageID #: 714
                                   Weinhaus, Vol. 2                          519




   1   about hands; right?
   2         A    No, sir.
   3         Q    In fact they said get down on the ground;
   4   right?
   5         A    Yes, sir.
   6         Q    And there's some contradicting testimony but
   7   there is an indication that Jeff may have crouched
   8   down some, and so my question is if Jeff crouched
   9   down and put his hands in the air, would you
 10    consider that complying with get down on the ground?
 11          A    As you just demonstrated?
 12          Q    Sure.
 13          A    Potentially, yes.
 14          Q    And do you have an opinion on a reasonable
 15    amount of time that it would take for a suspect to
 16    get down on the ground?
 17          A    As we spoke of before, it's hard to put a
 18    time frame on it, depends on the circumstances, the
 19    situation, the location, the subject's physical
 20    condition.       The main thing that we'd be looking for
 21    would be compliance.
 22          Q    Middle-aged white man on a gravel incline,
 23    how long would it take him, what's reasonable, if
 24    you could ballpark at all, based on the
 25    circumstances you've seen on the video, what would
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 281 of 313 PageID #: 715
                                   Weinhaus, Vol. 2                          520




   1   be a reasonable amount of time to comply, raise his
   2   hands in the air and get down on the ground?
   3         A    Reasonable, anywhere from two to five
   4   seconds.
   5         Q    I don't know if you've reviewed this video
   6   but it appears that between Sergeant Folsom saying
   7   first time get down on the ground and first shot
   8   fired is three seconds, do you have an opinion on
   9   that or no?
 10          A    That seems appropriate, yes.
 11          Q    Do you have an opinion whether or not Jeff
 12    was complying with the order of get down on the
 13    ground?
 14          A    My opinion is that he was not.
 15          Q    And again that's based on the assumption
 16    from the testimony that the right hand was going to
 17    the gun or based on other factors?
 18          A    That plus the viewing of the videotape.
 19          Q    I'd like to show the video, the freeze frame
 20    again, and I have to do this because I understand
 21    you have not been in the courtroom, and so although
 22    the jury has seen this a number of times at this
 23    point, I need to show it again to you.
 24       (WHEREUPON THE VIDEO WAS PLAYED IN FREEZE FRAME)
 25          Q    (By Mr. Eastwood) Obviously the date, hour
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 282 of 313 PageID #: 716
                                   Weinhaus, Vol. 2                          521




   1   and minute are incorrect, but I submit to you that
   2   this is a still from the video.                Is this sort of
   3   recognizable to you, sir, from your review of the
   4   video?
   5         A    Yes.
   6         Q    And this appears to be Sergeant Folsom and
   7   it appears that a cartridge is coming out of his
   8   gun; right?
   9         A    Yes, sir.
 10          Q    So one can presume or infer that he's
 11    already fired a shot because of the shell casing?
 12          A    Yes, sir.
 13          Q    If you look at the secondhand it says 03, so
 14    we're going to go back in time.                If you go here, you
 15    can see maybe a white plume of smoke or something
 16    coming out of the barrel of the gun, and you go back
 17    and the hand appears, or excuse me, the camera,
 18    which is on the hand, sweeps left, you see Corporal
 19    Mertens there at a high ready, is that what it's
 20    called?
 21          A    Yes, sir.
 22          Q    And then we see the secondhand goes back to
 23    two?
 24          A    At this point you're scrolling backwards; is
 25    that correct?
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 283 of 313 PageID #: 717
                                   Weinhaus, Vol. 2                          522




   1         Q    Yes, sir, I'm going back in time.               I've gone
   2   back approximately a second in time, and the wrist
   3   watch is now showing the roof of the defendant's
   4   car, actually his wife's car, a Subaru and gas
   5   station sign, and I mean you kind of recognize where
   6   that is, right, you've seen a map of the scene
   7   before; right?
   8         A    Yes, sir.
   9         Q    So you know that if the defendant is
 10    standing about there somewhere, that it's showing
 11    the roof of his car and it's showing the sign down
 12    there; right?
 13          A    Yes, sir.
 14          Q    And assuming it's in the six hand of the
 15    watch, the hand is somewhat suggesting it's somewhat
 16    elevated; right?
 17               MR. PARKS:       Objection, calls for speculation
 18    on the part of the witness.
 19               JUDGE SUTHERLAND:            Sustained to the form of
 20    that question.
 21          Q    (By Mr. Eastwood) If Jeff Weinhaus had both
 22    his left hand and his right hand in the air a second
 23    before he was shot, would you say that the shooting
 24    was appropriate?
 25          A    No.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 284 of 313 PageID #: 718
                                   Weinhaus, Vol. 2                          523




   1         Q    Thank you.       And to be clear, your opinion
   2   that the shooting was justified is based on the
   3   assumption that the right hand was reaching for the
   4   gun or touching the gun or reaching for the holster
   5   or touching the holster; correct?
   6         A    That is one of the circumstances, yes.
   7         Q    Is there any other circumstance other than
   8   that assumption that would suggest the use of force
   9   was justified?
 10          A    The statement made by the defendant prior
 11    to, the "you're going to have to kill me, man," his
 12    demeanor, other factors.
 13          Q    Demeanor, when you say demeanor, how do you
 14    infer the defendant's demeanor from this video?
 15          A    In his responses to Sergeant Folsom.
 16          Q    Do you have an opinion as to the tone and
 17    cadence of the defendant's speech?
 18          A    You described it best in the deposition as
 19    smartalicy.
 20          Q    Was the defendant shouting?
 21          A    No, sir.
 22          Q    Did it have a hostile tone?
 23          A    No, sir.
 24          Q    When Sergeant Folsom and Corporal Mertens
 25    ordered him to get down on the ground and the
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 285 of 313 PageID #: 719
                                   Weinhaus, Vol. 2                          524




   1   defendant makes a statement in response, is it in a
   2   softer volume, softer tone than that which the order
   3   given by Sergeant Folsom and Corporal Mertens?
   4         A    Yes, sir.
   5         Q    Now, do you also teach first aid?
   6         A    Yes, sir.
   7         Q    Do you teach first aid as an appropriate
   8   response potentially to an officer-involved
   9   shooting; correct?
 10          A    That is correct.
 11          Q    You shoot a member of the public, and
 12    perhaps there very well may be a reason or not, but
 13    if you shoot a member of the public, you have an
 14    obligation to administer first aid; right?
 15          A    Yes.
 16          Q    And obviously an officer first needs to
 17    secure the scene; right?
 18          A    Yes, sir.
 19          Q    An officer first needs perhaps to cuff the
 20    person so the person is no longer a threat to the
 21    officer?
 22          A    Yes, sir.
 23          Q    Perhaps search them for weapons?
 24          A    Yes, sir.
 25          Q    But once someone has been shot and cuffed
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                                                                                      Electronically Filed - EASTERN DISTRICT CT OF APPEALS - February 25, 2014 - 03:52 PM
Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 286 of 313 PageID #: 720
                                   Weinhaus, Vol. 2                          525




   1   and the scene has been secured, then you have an
   2   obligation to administer first aid, isn't that fair
   3   to say?
   4         A    Yes, sir.
   5         Q    Is it appropriate instead of administering
   6   first aid to simply call an ambulance?
   7         A    I'm sorry?
   8         Q    Say the guy is in cuffs, scene is secure,
   9   the guy has been shot, cuffed, shot down, cuffed,
 10    scene secured, instead of administering first aid,
 11    is it appropriate for a trooper to instead call an
 12    ambulance instead of administering first aid?
 13          A    It would not be inappropriate, it would be
 14    imperative that an ambulance be called.
 15          Q    Fair enough but would calling an ambulance
 16    in itself relieve the trooper of the obligation to
 17    provide first aid?
 18          A    If the injuries were within the scope of
 19    training that the officer has in order or the
 20    ability to deal with, they would be in a position
 21    they need to render that aid, yes.
 22          Q    So let's talk about what type of things they
 23    can do.      Can officers treat for shock?
 24          A    Yes, sir.
 25          Q    Can officers check breathing?
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 287 of 313 PageID #: 721
                                   Weinhaus, Vol. 2                          526




   1         A    Yes, sir.
   2         Q    Can officers administer CPR?
   3         A    Yes, sir.
   4         Q    Can officers stop bleeding?
   5         A    Yes, sir.
   6         Q    Can officers -- and they do, officers are
   7   equipped with gloves and pocket masks and other
   8   types of health and safety type things to protect
   9   themselves in the administering of the first aid;
 10    right?
 11          A    Yes, sir.
 12          Q    Do you know whether or not Sergeant Folsom
 13    or Corporal Mertens administered first aid in this
 14    shooting?
 15          A    No, sir.
 16          Q    And you have no opinion on the first aid or
 17    lack of first aid given to Jeff Weinhaus?
 18          A    No, sir.
 19          Q    Now Sergeant Smith (sic), you are a
 20    decorated trooper, is that not true, you received an
 21    award of merit from the Highway Patrol?
 22          A    Yes, sir, I'm Corporal White.
 23          Q    Excuse me, I'm sorry, did I use the wrong
 24    rank?
 25          A    You called me Sergeant Smith.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 288 of 313 PageID #: 722
                                   Weinhaus, Vol. 2                          527




   1         Q    It's been a long day for us all.
   2         A    I understand.
   3         Q    Corporal White.          You are a decorated
   4   trooper; is that correct?
   5         A    Yes, sir.
   6         Q    And you received an award of merit from the
   7   Highway Patrol; is that correct, sir?
   8         A    Yes, I did.
   9         Q    And that's a prestigious thing, right, it
 10    recognizes bravery, recognizes doing the correct
 11    thing; right?
 12          A    Yes, sir.
 13          Q    And you received that award for an
 14    officer-involved shooting; is that correct?
 15          A    Yes, sir.
 16          Q    And you were the officer involved in the
 17    shooting?
 18          A    That is correct.
 19          Q    And in fact it occurred during a routine
 20    traffic stop; is that not correct?
 21          A    Not a routine stop, sir.
 22          Q    I apologize but it did occur during a
 23    traffic stop; is that correct?
 24          A    Yes, sir.
 25          Q    And at that point the suspect went for a
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 289 of 313 PageID #: 723
                                   Weinhaus, Vol. 2                          528




   1   gun, is that not true, the driver that you pulled
   2   over?
   3         A    He exited the vehicle as soon as I stopped
   4   behind him.       He exited the vehicle with a gun in
   5   hand.
   6         Q    Gun in hand?
   7         A    Yes, sir.
   8         Q    And you took evasive maneuvers, you used
   9   tactics to evade him?
 10          A    I began shooting at him.
 11          Q    And after you shot him, at some point did
 12    you cuff him?
 13          A    No, sir.
 14          Q    Why not?
 15          A    There was a delay in time between him being
 16    shot and being able to approach his vehicle and then
 17    actually dealing with the subject.
 18          Q    Was cuffing not necessary?
 19          A    No, sir.
 20          Q    It was not necessary?
 21          A    That's correct.
 22          Q    And why was it not necessary?
 23          A    One of the injuries that the suspect
 24    sustained was a shot to his head right above his
 25    right eye.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 290 of 313 PageID #: 724
                                   Weinhaus, Vol. 2                          529




   1         Q    How many shots did he receive?
   2         A    Two rounds hit him.
   3         Q    Two rounds?
   4         A    Yes.
   5         Q    So only two bullets, I shouldn't say only
   6   two bullets hit him?
   7         A    That's correct.
   8         Q    Where did they hit him?
   9         A    The first round that struck him went through
 10    his rib cage on his right side.
 11          Q    So medium level chest?
 12          A    It went between two of the ribs, hit a
 13    portion of the liver, lower portion of the lung and
 14    lodged up against his spine.
 15          Q    So one shot to the chest, one shot to the
 16    head?
 17          A    Yes, sir.
 18          Q    And based on that you determined that
 19    cuffing him was not necessary?
 20          A    Based on the fact that EMS arrived on the
 21    scene very shortly afterwards and were able to
 22    determine that he was dead.
 23          Q    Did you administer first aid to the suspect?
 24          A    I was prepared to.
 25          Q    You were prepared to. At any time did you
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 291 of 313 PageID #: 725
                                   Weinhaus, Vol. 2                          530




   1   assume the suspect was dead and that he did not need
   2   either first aid or EMS?
   3         A    Not until he was declared dead by the EMS
   4   who arrived on the scene.
   5         Q    But you never made an assumption he was dead
   6   and did not need medical attention?
   7         A    No, sir.
   8         Q    So you received the award of merit for your
   9   actions that day; is that correct, sir?
 10          A    That is correct.
 11          Q    And you have continued to work for the
 12    Highway Patrol ever since; is that correct?
 13          A    That is correct.
 14          Q    And at no time -- did you surrender your
 15    weapon that you shot the suspect with?
 16          A    Yes, sir.
 17          Q    And there was an officer-involved shooting
 18    investigation?
 19          A    There was.
 20          Q    And you got your weapon back?
 21          A    Yes, sir.
 22          Q    And at all times you were able to wear the
 23    Highway Patrol uniform?
 24          A    Yes, sir.
 25          Q    And at no time did you take a leave of
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 292 of 313 PageID #: 726
                                   Weinhaus, Vol. 2                          531




   1   absence for any reason?
   2         A    No, sir.
   3              MR. EASTWOOD:         Thank you very much.
   4              JUDGE SUTHERLAND:            Redirect.
   5          REDIRECT EXAMINATION OF CORPORAL JEFF WHITE
   6   QUESTIONS BY MR. PARKS:
   7         Q    Sergeant White, during your shooting
   8   incident when the shooting had stopped, how long was
   9   it before you broke cover to go to where the suspect
 10    was lying?
 11          A    It was seven minutes while I was waiting the
 12    arrival of back-up officers.
 13          Q    Why didn't you run up to him immediately?
 14          A    It would have been tactically unsound to do
 15    so.    There were two large shapes -- one of my shots
 16    shattered the back window of the car rendering it
 17    impossible to see through.                There were two large
 18    dark shapes invisible through the shattered window.
 19    The traffic going by was causing the car to move.
 20    At that point I was under the assumption that there
 21    were additional subjects in the car, so tactically
 22    it was most sound to remain at the back of my car
 23    where I had hard cover and wait for back-up officers
 24    to clear the car.
 25          Q    So is it a fair statement to say that every
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 293 of 313 PageID #: 727
                                   Weinhaus, Vol. 2                          532




   1   shooting is different?
   2         A    Oh, absolutely.
   3         Q    And every response to that shooting is
   4   different?
   5         A    Absolutely.
   6         Q    And the response given to any such shooting
   7   depends upon the circumstances?
   8         A    The circumstances, the prior training the
   9   officer has received, prior experiences, just any
 10    number of things.
 11               MR. PARKS:       I have no further questions,
 12    Your Honor.
 13               JUDGE SUTHERLAND:            Recross.
 14           RECROSS EXAMINATION OF CORPORAL JEFF WHITE
 15    QUESTIONS BY MR. EASTWOOD:
 16          Q    The shooting for which you won an award,
 17    seven minutes for the EMS to arrive, you were by
 18    yourself, sir; right?
 19          A    Yes, sir.
 20          Q    You didn't have a partner with you?
 21          A    That is correct.
 22          Q    You didn't have two FBI agents as back-up?
 23          A    No, sir.
 24          Q    You weren't in a parking lot?
 25          A    No, sir.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 294 of 313 PageID #: 728
                                   Weinhaus, Vol. 2                          533




   1         Q    You were along the side of a highway;
   2   correct?
   3         A    Yes, sir.
   4         Q    And you believed that there were other
   5   shooters in the car?
   6         A    Potentially.
   7         Q    Potentially, yes, but it was a legitimate
   8   and rational fear?
   9         A    Yes, sir.
 10          Q    So it's safe to say the scene was not
 11    secure?
 12          A    In my mind no, sir, not at all.
 13          Q    The suspect was not in custody?
 14          A    No.
 15          Q    He was not cuffed?
 16          A    No.
 17          Q    The danger or potential danger, reasonable
 18    potential danger was still out there?
 19          A    Yes, sir.
 20               MR. EASTWOOD:         No further questions.
 21               JUDGE SUTHERLAND:            May this witness be
 22    excused?
 23               MR. PARKS:       Yes, Your Honor.
 24               JUDGE SUTHERLAND:            Thank you.    You may step
 25    down.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 295 of 313 PageID #: 729
                                   Weinhaus, Vol. 2                          534




   1              MR. PARKS:       I would like to reverify that
   2   all exhibits, except for Exhibit 12 offered by the
   3   State, have been admitted into evidence.
   4              JUDGE SUTHERLAND:            That is correct.
   5              MR. PARKS:       State rests, Your Honor.
   6                      (BENCH CONFERENCE BEGINS)
   7              JUDGE SUTHERLAND:            I've been handed
   8   Defendant's Motion for Judgment of Acquittal.                    If
   9   it's all right with both of you or all of you, I
 10    would like to hold the argument on this until we
 11    recess and let the jury go this evening, is that all
 12    right?
 13               MR. EASTWOOD:         That's fine.
 14               MR. PARKS:       That's fine.
 15               JUDGE SUTHERLAND:            So we can get some of
 16    your evidence out of the way.
 17               MR. EASTWOOD:         The offers of proof are you
 18    talking about as well?
 19               JUDGE SUTHERLAND:            Yeah, I think so, we'll
 20    hold the offers of proof and argument for defense's
 21    Motion for Judgment of Acquittal until the jury is
 22    recessed and gone for the day because it's now five
 23    after 4:00.       We'll only go for about another hour or
 24    thereabouts.
 25               MR. EASTWOOD: The defense is not ready to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 296 of 313 PageID #: 730
                                   Weinhaus, Vol. 2                          535




   1   proceed at this time with its case.                 We will be
   2   ready at 8:30 in the morning.                  We have three
   3   witnesses and they will take 45 minutes total.
   4              MR. COMBS:       The way the case is going, we
   5   called and canceled them because we didn't know.
   6   They had to work.
   7              JUDGE SUTHERLAND:            You guys don't have
   8   anybody for this afternoon?
   9              MR. EASTWOOD:         Three witnesses, they're all
 10    working people.         I made a bad judgment call that the
 11    State would not rest this afternoon based on where
 12    we were.
 13               JUDGE SUTHERLAND:            In those circumstances
 14    we'll take care of all the stuff now, let the jury
 15    go now.
 16               MR. COMBS:       We didn't know if the FBI agents
 17    were testifying too.           It's our mistake.
 18               MR. EASTWOOD:         The FBI agents are here too,
 19    so I anticipated they'd be called.
 20                        (BENCH CONFERENCE ENDS)
 21               JUDGE SUTHERLAND:            Looks like we're going to
 22    get out a little earlier than anticipated today
 23    because we've run out of witnesses today.                  May we
 24    start at 8:30 tomorrow morning, is that okay?                    To
 25    get this done tomorrow, it's possible, I have no way
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 297 of 313 PageID #: 731
                                   Weinhaus, Vol. 2                          536




   1   of knowing right now, but it's possible we might
   2   have to run a little late tomorrow, okay.                  I've only
   3   tried two cases past midnight in 35 years.                   I hope I
   4   don't have to do that.             It gets real tiring.         We
   5   won't do that.        If we can't get done at a reasonable
   6   hour by tomorrow evening, sometime after 5 o'clock
   7   though, it's possible we might have to go Friday.                     I
   8   don't really anticipate that right now, but I don't
   9   want to, if things take longer than anticipated, I
 10    don't want to shock you, but if we can start at
 11    8:30, that will be of assistance.
 12           So for the last time today, the Court again
 13    reminds you of what you were told at the first
 14    recess of the Court.           Until you retire to consider
 15    your verdict, you must not discuss this case among
 16    yourselves or with others or permit anyone to
 17    discuss it in your hearing.                You should not form or
 18    express any opinion about the case until it is
 19    finally given to you to decide.                Do not do any
 20    research or investigation on your own about any
 21    matter regarding this case or anyone involved with
 22    the trial.       Do not communicate with others.              Do not
 23    read, view or listen to any newspaper, radio,
 24    electronic communication from the Internet or
 25    television report of the trial. If you can get to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 298 of 313 PageID #: 732
                                   Weinhaus, Vol. 2                          537




   1   the jury room by 8:15, hopefully everybody on time
   2   tomorrow so we can get a head count and get going at
   3   8:30, I would greatly appreciate it.                 We are in
   4   recess and you are free to go today.
   5           (WHEREUPON THE JURY EXITED THE COURTROOM)
   6              JUDGE SUTHERLAND:            We'll proceed with the
   7   offers of proof, Motions of Summary Judgment for
   8   Acquittal.       There were at least two offers of proof
   9   the defendant was talking about.
 10               MR. PARKS:       Did you want more on the offers
 11    of proof or just let the oral arguments stand.
 12               MR. EASTWOOD:         We have the letter from the
 13    sheriff.
 14               JUDGE SUTHERLAND:            I have that marked as an
 15    exhibit.      Are you going to have any exhibits?
 16               MR. EASTWOOD:         I don't believe so.
 17               JUDGE SUTHERLAND:            Even tomorrow?
 18               MR. EASTWOOD:         No, I only intend to
 19    introduce testimony.
 20               JUDGE SUTHERLAND:            Let's mark it as
 21    Defendant's Exhibit A then.
 22               MR. COMBS:       The letter?
 23               JUDGE SUTHERLAND:            The letter.    We did the
 24    one Offer of Proof by the argument about taking the
 25    shirt off and showing the wound, so that one is
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 299 of 313 PageID #: 733
                                   Weinhaus, Vol. 2                          538




   1   done, and then we have the sheriff's letter and I
   2   think there was one other.
   3              MR. EASTWOOD:         We can mark it Defendant's
   4   Exhibit A.
   5              JUDGE SUTHERLAND:            Proceed with your Offer
   6   of Proof.
   7              MR. EASTWOOD:         This is an Offer of Proof.
   8                   (MARKED DEFENDANT'S EXHIBIT A)
   9              MR. EASTWOOD:         This is a letter or an
 10    original letter from Franklin County Sheriff Gary
 11    Toelke to the defendant Jeffrey Weinhaus.                  It is
 12    relevant, I believe, because the third paragraph
 13    says, "my deputies were not with the Highway Patrol
 14    on the day they obtained the search warrant or the
 15    day of the shooting.           We were not aware that a
 16    search warrant had been issued.                 My office was aware
 17    that the Highway Patrol was going to be looking for
 18    you prior to the search warrant being issued, but we
 19    were not with them."           I wanted to impeach Sergeant
 20    Folsom on this because I believe there was
 21    contradictory testimony in prior statements by him
 22    on the issue of notification of the sheriff.
 23               JUDGE SUTHERLAND:            Okay.
 24               MR. PARKS:       No argument, Your Honor.
 25               JUDGE SUTHERLAND: Defendant's Exhibit A is
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 300 of 313 PageID #: 734
                                   Weinhaus, Vol. 2                          539




   1   admitted for purposes of the Offer of Proof, not
   2   admitted in front of the jury and my ruling still
   3   stands but we've got that.                Was there one other
   4   matter?
   5              MR. EASTWOOD:         Yes, Your Honor, and I
   6   apologize.       The other Offer of Proof goes to
   7   eliciting testimony from Sergeant Folsom as to
   8   his -- the other shooting.                The theory here is
   9   common scheme or plan.             There are a lot of
 10    similarities between the other shooting that
 11    Sergeant Folsom was involved in and this particular
 12    shooting in the sense that both involved shooting
 13    the individual at a close range.               It's someone that
 14    Sergeant Folsom by, on inference, on reasonable
 15    inference and belief, had antagonistic personal
 16    feelings toward, and in both there was an
 17    officer-involved shooting, and there is not an exact
 18    similarity but in that instance the victim or the
 19    suspect was shot and killed and there were no
 20    witnesses.       In this one the suspect was shot, was
 21    not killed but almost killed, and there is only one
 22    corroborating witness, the partner.                So for that
 23    reason I wish to inquire to Sergeant Folsom the
 24    details on the other shooting which I elicited in
 25    his deposition.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 301 of 313 PageID #: 735
                                   Weinhaus, Vol. 2                          540




   1              MR. PARKS:       Your Honor, I believe in this
   2   instance they were searching a house for a suspect
   3   who was accused of either a homicide or a serious
   4   felony.      Sergeant Folsom cornered him, Sergeant
   5   Folsom was disarmed, the suspect was armed, a
   6   scuffle and a fight pursued, at which point Sergeant
   7   Folsom was able to get the suspect's weapon away
   8   from him and shot him.             There's no similarities here
   9   whatsoever, and I believe this was -- this incident
 10    happened within an eight or 10 year period prior to
 11    this incident.
 12               MR. EASTWOOD:         My response is I believe that
 13    the incident was not a serious felony, it was
 14    domestic violence, which is serious, but it was not
 15    a homicide, and here the person who was shot had
 16    ruptured Sergeant Folsom's left testicle thereby
 17    giving him perhaps a motive to shoot him, and I was
 18    going to analogize that here to the conduct of Jeff
 19    Weinhaus giving motive for Sergeant Folsom to shoot
 20    him.     So that's the basis of the Offer of Proof.
 21               JUDGE SUTHERLAND:            Offer of Proof is
 22    accepted.       The ruling is the same, the State's
 23    objection is sustained.             Did they take Mr. Weinhaus
 24    back?
 25               MR. EASTWOOD: They did. Did you want to
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 302 of 313 PageID #: 736
                                   Weinhaus, Vol. 2                          541




   1   inquire of him?
   2              MR. PARKS:       Did you want to argue this
   3   motion or submit it the motion?
   4              MR. EASTWOOD:         I could argue it now.
   5              JUDGE SUTHERLAND:            I'd just as soon argue it
   6   now while we've got time.
   7              MR. EASTWOOD:         You wish the attorneys to
   8   retain the exhibits; is that correct, Your Honor?
   9              JUDGE SUTHERLAND:            Yeah.   Motion for
 10    Judgment of Acquittal.
 11               MR. EASTWOOD:         Your Honor, on the first
 12    charge, the possession of a controlled substance,
 13    this is the Morphine tablet, I believe the State has
 14    failed to make a submissible case on the element of
 15    possession.       The testimony showed that the Morphine
 16    tablet was recovered from the basement, which the
 17    officers admitted is normally a common area of the
 18    house.     Although there is evidence that the
 19    defendant did record videos there, the evidence also
 20    shows that he shared this house with his wife and
 21    his son, that the son had a bedroom or someone in
 22    the family had a bedroom in the basement and then
 23    outside of it was this common area.                I just do not
 24    believe there is sufficient evidence for a
 25    reasonable juror to find either actual or
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 303 of 313 PageID #: 737
                                   Weinhaus, Vol. 2                          542




   1   constructive possession attributable only to the
   2   defendant.
   3              MR. PARKS:       It was found in what the
   4   defendant described as the command center.                   The
   5   officers testified that they had smelled marijuana
   6   in the house and on the person.                They testified that
   7   the defendant yelled into his wife, "they're looking
   8   for the drugs, they're looking for the drugs."                     And
   9   they also testified that the wife stated that there
 10    was nothing illegal in the house that belonged to
 11    her.     I believe the State has made a submissible
 12    case to submit this to the jury.
 13               MR. EASTWOOD:         The wife's statement is
 14    hearsay, and more importantly even if you take the
 15    wife out of it, you still have the son, and the
 16    officer also testified that there was nothing
 17    special about command center, that basements have
 18    all sorts of names, man cave, bear pit, whatever you
 19    want to call it, that it's very common to have a rec
 20    room, den or place, and further he also testified
 21    that the computer is often a family asset used by
 22    multiple members of the family, so the mere
 23    proximity of the drugs to the computer does not
 24    imply actual constructive possession by the
 25    defendant alone.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 304 of 313 PageID #: 738
                                   Weinhaus, Vol. 2                          543




   1              JUDGE SUTHERLAND:            I have mixed feelings
   2   about the two controlled substance charges.                   I got
   3   reversed by the Court of Appeals a number of years
   4   ago on a case where officers went into a motel room
   5   where the defendant we were trying, that we did try,
   6   and his girlfriend were, and as soon as they entered
   7   the door the defendant is diving over to conceal
   8   something, and the Court of Appeals said joint
   9   possession, you don't know whose it was.                  I couldn't
 10    quite believe it.          This is a little different.            I'm
 11    going to deny it as to the marijuana charge, deny
 12    the Motion for Judgment of Acquittal.                 The fact that
 13    the officer testified that there was an odor of
 14    marijuana about defendant's person is sufficient to
 15    establish some use or at least constructive
 16    possession of marijuana.              The Morphine, however, is
 17    a little --
 18               MR. PARKS:       Of course the Morphine was found
 19    with the marijuana, Your Honor.
 20               MR. EASTWOOD:         Was found proximate to the
 21    marijuana in a common area of the house.
 22               JUDGE SUTHERLAND:            That's weak but I'm going
 23    to deny the Motion for Judgment of Acquittal on that
 24    as well.      I don't want to argue the tampering with a
 25    judicial officer portion of the motion for the
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 305 of 313 PageID #: 739
                                   Weinhaus, Vol. 2                          544




   1   defendant, but I've got some problems with that.
   2   You kind of argued this on your prior motions to
   3   dismiss that count, but I -- the pod cast was
   4   certainly offensive, rude and a lot of other things,
   5   but I've heard no evidence despite some testimony
   6   that he apparently showed up to Crawford County
   7   Courthouse, a public place, where he has a right to
   8   be, and the 911 center, which is not really a public
   9   place, but there's no evidence that he took any
 10    steps to actually put in motion his thoughts of
 11    executing people or whatever, maybe throw them out
 12    of office, whatever the case may be, and I think
 13    he's still under his First Amendment rights under
 14    that.
 15               MR. PARKS:       That one in the pod cast with
 16    the subtitles, he specifically said Judge Kelly
 17    Parker is one of the people that he was going to
 18    come and get, and you don't have to wait for the
 19    defendant to act.
 20               JUDGE SUTHERLAND:            No, you don't have to
 21    wait for him to show up at the courthouse with a
 22    shotgun, that's true, but he's got to do something.
 23               MR. COMBS:       There's been plenty of testimony
 24    of him making these threats all the time and making
 25    these radical political speeches and not following
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 306 of 313 PageID #: 740
                                   Weinhaus, Vol. 2                          545




   1   through.
   2              JUDGE SUTHERLAND:            I'm rather fond of judges
   3   not being threatened, I have this little thing about
   4   that.
   5              MR. EASTWOOD:         The other thing, Judge, is
   6   that there was no evidence of anything for him to
   7   interfere with in the course of his judicial duties.
   8   I understand the general threat resigned but there's
   9   not a case or controversy.
 10               JUDGE SUTHERLAND:            There were names in those
 11    annotations, as you referred to them.                  I don't do
 12    any of those websites, I stay off of those things,
 13    although my granddaughters live on them, that's
 14    another problem.         I just -- there just isn't
 15    anything there to support that charge.                 I don't want
 16    to say there's nothing, the pod cast is a start but
 17    there's go to be something more than just the pod
 18    cast.     So I'm going to grant defendant's Motion for
 19    Judgment of Acquittal as to Count 2, the charge of
 20    tampering with a judicial officer.                 Are we having an
 21    argument on the assault or attempted assault?
 22               MR. EASTWOOD:         I'd like to take them one at
 23    a time, if I may, Your Honor.                  There's obviously two
 24    sets of charges here, two troopers.                  As a threshold
 25    matter, it's not clear to me whether the State is
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 307 of 313 PageID #: 741
                                   Weinhaus, Vol. 2                          546




   1   trying to submit an assault or attempted assault
   2   case.     Maybe I'm fast forwarding to jury
   3   instructions and the jury needing to be instructed
   4   on attempt.       My argument here is that I think the
   5   only thing to support the element of a substantial
   6   step is the testimony of Folsom and Mertens
   7   themselves, there's nothing else.               Certainly none of
   8   the investigators, use of force experts, anyone like
   9   that, it all depends on the assumption of the
 10    testimony.       So that very thin -- maybe that thin
 11    piece of evidence gets them home because there's
 12    nothing else to corroborate it, but perhaps that
 13    does make it submissible, but then we go back to the
 14    testimony itself.          The testimony indicates that at
 15    no time did the defendant ever look at Mertens, did
 16    he ever act towards Mertens, in fact Mertens said,
 17    "I shot him because he was going for Sergeant
 18    Folsom, I did not feel threatened by him."                   And I
 19    think that's critical because even if we take the
 20    testimony as they say it is, under that construction
 21    there was no assault or attempted assault on
 22    Mertens.      In fact Mertens shot only to stop an
 23    attempted assault on Folsom, and what the State has
 24    done by doubling up on the charges here is really
 25    taking one act, if we take Sergeant Folsom and
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 308 of 313 PageID #: 742
                                   Weinhaus, Vol. 2                          547




   1   Corporal Mertens' version of the events, which is an
   2   attempt on Folsom and replicate it as to Mertens but
   3   the evidence isn't there.               And Mertens is the first
   4   person to tell you that, and Folsom's testimony also
   5   corroborates that story, and there's no other
   6   evidence to support evidence of an assault or
   7   attempted assault on Mertens.
   8              MR. PARKS:       Your Honor, they've got two
   9   officers both ordering the defendant to go to the
 10    ground.      Defendant yells you're going to have to
 11    shoot him.       Who knows whether if he would have got
 12    that gun out whether he would have shot Mertens
 13    first or Folsom first.             I think it's a submissible
 14    case that the jury can decide.
 15               JUDGE SUTHERLAND:            I have to agree with the
 16    State on that one.          The motion as to counts --
 17    actually that essentially would cover the armed
 18    criminal action counts as well, four, five, six and
 19    seven.
 20               MR. EASTWOOD:         And as an aside, Your Honor,
 21    I think that it's important that the jury receive
 22    proper instructions on attempt and that sort of
 23    thing here because -- or substantial step.                   I know
 24    we're not doing instructions now.
 25               JUDGE SUTHERLAND: Maybe in a few minutes.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 309 of 313 PageID #: 743
                                   Weinhaus, Vol. 2                          548




   1              MR. PARKS:       There is no substantial step in
   2   an assault of a law enforcement officer, it's this
   3   or that.
   4              MR. EASTWOOD:         I think attempt has to be
   5   defined.      The last one is resisting and interfering
   6   with arrest for a felony.               I just think No. 1,
   7   obviously the defendant was not arrested.                  I realize
   8   that's not the test, it's whether he was being
   9   detained or arrested.            I think there isn't
 10    sufficient evidence to show the defendant was not
 11    complying with the officers' orders.                 There's
 12    nothing -- there's no affirmative step.
 13               MR. COMBS:       He didn't have time.          He got
 14    shot four times.
 15               JUDGE SUTHERLAND:            If there's no shooting,
 16    officer says get on the ground, he doesn't get on
 17    the ground, he can be charged with failing to comply
 18    with a reasonable request.
 19               MR. EASTWOOD:         Correct but not with --
 20               JUDGE SUTHERLAND:            What I didn't hear, tell
 21    me if I'm wrong, I didn't hear anyone say, "I have a
 22    warrant for you, you're under arrest, we're taking
 23    you into custody," anything like that.
 24               MR. PARKS:       I don't think you have to do
 25    that when you're in a situation in which a gun is
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 310 of 313 PageID #: 744
                                   Weinhaus, Vol. 2                          549




   1   being drawn, Your Honor.              I mean you can only do so
   2   much.
   3              JUDGE SUTHERLAND:            I understand.
   4              MR. PARKS:       There was the testimony that he
   5   was under arrest by the officers.
   6              JUDGE SUTHERLAND:            He was arrested later but
   7   my question is how can you resist something that you
   8   don't know somebody is doing.
   9              MR. COMBS:       He thought he was getting his
 10    computers, he didn't know.
 11               JUDGE SUTHERLAND:            Maybe he came to hunt
 12    bear, you know, in more ways than one, but seems to
 13    me somebody -- before you can be charged with
 14    resisting arrest, you've got to -- even if he
 15    whipped out the handcuffs and he tried to grab his
 16    wrists and put them on and hadn't said anything,
 17    that might have been enough, but I haven't heard any
 18    evidence of any of that.              So I do grant the Motion
 19    for Judgment of Acquittal as to Count 8, the
 20    resisting or interfering with arrest for a felony
 21    charge.      Obviously I'll have to say something to the
 22    jurors tomorrow morning about that.                I think what
 23    I'll tell them is I've acquitted defendant on both
 24    of those counts as a matter of law, and if they want
 25    to know why, I'll talk to them after the trial is
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 311 of 313 PageID #: 745
                                   Weinhaus, Vol. 2                          550




   1   over with.
   2              MR. EASTWOOD:         Your Honor, as a procedural
   3   matter, obviously I will re-raise this motion at the
   4   close of defense evidence as to those aspects we're
   5   not trying.
   6              JUDGE SUTHERLAND:            I understand, we just
   7   won't need to argue them so long.               Mr. Parks has
   8   given me a set of instructions a long time ago and
   9   another set here.          I'd like to take a look at those
 10    right now since we've got a little time.
 11                    (TRIAL ADJOURNED FOR THE DAY)
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 312 of 313 PageID #: 746
                                   Weinhaus, Vol. 2                          551




   1   State of Missouri
   2                               SS.
   3   County of Franklin
   4          I, Kim Wrocklage, duly commissioned, qualified
   5   and authorized to administer oaths and to certify to
   6   depositions, do hereby certify that pursuant to
   7   agreement in the civil cause now pending and
   8   undetermined in the Circuit Court of Franklin
   9   County, State of Missouri, to be used in the trial
 10    of said cause in said court, I was attended at the
 11    offices of Franklin County Justice Center, 401 E.
 12    Main Street, Union, in the County of Franklin, State
 13    of Missouri on the 9th day of October, 2013.
 14           The said witnesses were sworn to testify the
 15    truth, the whole truth, and nothing but the truth in
 16    the case aforesaid and thereupon testified as is
 17    shown in the foregoing transcript.                Said testimony
 18    was reported by me in shorthand and caused to be
 19    transcribed into typewriting, and the foregoing
 20    pages correctly set forth the testimony of the
 21    aforementioned witnesses, together with the
 22    questions propounded by counsel and remarks and
 23    objections of counsel thereto, and is in all
 24    respects a full, true, correct and complete
 25    transcript.
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Case: 4:17-cv-01941-DDN Doc. #: 27-3 Filed: 12/22/17 Page: 313 of 313 PageID #: 747
                                   Weinhaus, Vol. 2                          552




   1          I further certify that I am not of counsel or
   2   attorney for either of the parties to said suit, not
   3   related to nor interested in any of the parties or
   4   their attorneys.
   5
   6          _______/s/ Kim Wrocklage, CCR No. 885_______
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